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               EXHIBIT 118
               EXHIBIT 1

  CNN Report at issue (CNN002006)
to be conventionally filed per Court
        Order (ECF No. 82)
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 1
 1                    IN
                      IN THE
                         THE UNITED
                             UNITED STATES
                                    STATES DISTRICT
                                           DISTRICT COURT
                                                    COURT

 2
 2                        SOUTHERN
                          SOUTHERN DISTRICT
                                   DISTRICT OF
                                            OF NEW
                                               NEW YORK
                                                   YORK

 3
 3     ________________________________

 4
 4     JOHN
       JOHN P. "JACK" FLYNN,
            P. "JACK"        ET AL,
                      FLYNN, ET AL,

5
5                     Plaintiffs,
                      Plaintiffs,

 6
 6            v.
              V.                                                   Index
                                                                   Index No.
                                                                         No.

 7
 7     CABLE
       CABLE NEWS
             NEWS NETWORK,
                  NETWORK, INC.,
                           INC.,                                   1:21cv02587
                                                                   1:21cv02587

 8
 8                    Defendant.
                      Defendant.                                   GHW
                                                                   GHW

 9
 9     ________________________________

10
10                           VIDEOTAPED
                             VIDEOTAPED DEPOSITION
                                        DEPOSITION OF
                                                   OF

11
11                                    JESSE
                                      JESSE BINNALL
                                            BINNALL

12
12     DATE:
       DATE:                 Monday, June
                             Monday,      26, 2023
                                     June 26, 2023

13
13     TIME:
       TIME:                 10:03
                             10:03 a.m.
                                   a.m.

14
14     LOCATION:
       LOCATION:             Remote
                             Remote Proceeding
                                    Proceeding

15
15                           Washington,
                             Washington, D.C. 20005
                                         D.C. 20005

16
16     REPORTED
       REPORTED BY:
                BY:          Matthew Yancey,
                             Matthew Yancey, Notary
                                             Notary Public
                                                    Public

17
17     JOB
       JOB NO.:
           NO.:              5974792
                             5974792

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                                      Veritext Legal
                                      Veritext Legal Solutions
                                                     Solutions
                   215-241-1000 -~ 610-434-8588
                   215-241-1000    610-434-8588 -~ 302-571-0510
                                                   302-571-0510 -~ 202-803-8830
                                                                   202-803-8830
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                                                                2  EXAMINATION:                               PAGE
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 2 ON
 2    BEHALF OF
   ON BEHALF OF PLAINTIFF
                PLAINTIFF JOHN P. "JACK"
                          JOHN P. "JACK" FLYNN:
                                         FLYNN:                 3
                                                                3    By
                                                                     By Ms.
                                                                         Ms. Bolger
                                                                               Bolger                    88
                                                                44
 3
 3    STEVEN
      STEVEN S. BISS, ESQUIRE
             S. BISS, ESQUIRE (by
                              (by videoconference)
                                  videoconference)
                                                                55              E  XHIBITS
                                                                                EXHIBITS
 4
 4    Steven S.
      Steven S. Biss
                Biss Law Offices
                     Law Offices                                6 NO.
                                                                6  NO.          DESCRIPTION
                                                                                DESCRIPTION                    PAGE
                                                                                                               PAGE
                                                                7 Exhibit
                                                                7  Exhibit 430
                                                                           430
 5
 5    300 West
      300 West Main
               Main Street,
                    Street, Suite 102
                            Suite 102
                                                                             Jesse
                                                                             Jesse Binnall
                                                                                    Binnall Expert
                                                                                            Expert Report
                                                                                                   Report 10  10
 6
 6    Charlottesville, VA
      Charlottesville, VA 22903
                          22903                                 8 Exhibit
                                                                8  Exhibit 431
                                                                           431
                                                                             Tracy
                                                                             Tracy Diaz   Objection Letter
                                                                                    Diaz Objection   Letter
 7
 7    stevenbiss@earthlink.net
      stevenbiss@earthlink.net
                                                                9
                                                                9           Re
                                                                            Re Flynn   v. CNN
                                                                                Flynn v.  CNN              21
                                                                                                           21
 88   (804) 501-8272
      (804) 501-8272                                           10
                                                               10 Exhibit
                                                                   Exhibit 432
                                                                           432
                                                                             Binnall  Tweet 4/30/2020
                                                                             Binnall Tweet   4/30/2020        29
                                                                                                              29
 9
 9
                                                               11
                                                               11 Exhibit
                                                                   Exhibit 433
                                                                           433
10
10 ON BEHALF OF
   ON BEHALF OF DEFENDANT
                DEFENDANT CABLE NEWS NETWORK,
                          CABLE NEWS NETWORK, INC.:
                                              INC.:                          Binnall  Tweet 1/24/2023
                                                                             Binnall Tweet   1/24/2023        33
                                                                                                              33
                                                               12
                                                               12 Exhibit
                                                                   Exhibit 434
                                                                           434
11
11    KATHERINE M.
      KATHERINE M. BOLGER,
                   BOLGER, ESQUIRE
                           ESQUIRE (by
                                   (by
                                                                             Binnall  Tweet 3/3/2023
                                                                             Binnall Tweet   3/3/2023        36
                                                                                                             36
12
12    videoconference)
      videoconference)                                         13
                                                               13 Exhibit
                                                                   Exhibit 435
                                                                           435
                                                                             Binnall  Tweet 3/3/2023
                                                                             Binnall Tweet   3/3/2023 --
13
13    Davis Wright
      Davis Wright Tremaine, LLP
                   Tremaine, LLP
                                                               14
                                                               14           Tweet
                                                                            Tweet From
                                                                                    From General
                                                                                          General Flynn
                                                                                                   Flynn
14
14    1251 Avenue
      1251 Avenue of the Americas,
                  of the Americas, 21st
                                   21st Floor
                                        Floor                  15
                                                               15           Dated
                                                                            Dated March    3rd
                                                                                    March 3rd             38
                                                                                                          38
                                                               16
                                                               16 Exhibit
                                                                   Exhibit 436
                                                                           436
15
15    New York,
      New       NY 10020
          York, NY 10020
                                                                             Binnall  Tweet 9/28/2020
                                                                             Binnall Tweet   9/28/2020        40
                                                                                                              40
16
16    katebolger@dwt.com
      katebolger@dwt.com                                       17
                                                               17 Exhibit
                                                                   Exhibit 437
                                                                           437
                                                                             Binnall  Tweet 7/3/2021
                                                                             Binnall Tweet   7/3/2021        41
                                                                                                             41
17
17    (212) 402-4068
      (212)402-4068
                                                               18
                                                               18 Exhibit
                                                                   Exhibit 438
                                                                           438
18
18                                                                           Binnall  Tweet 5/16/2022
                                                                             Binnall Tweet   5/16/2022 --
                                                               19
                                                               19           Dan
                                                                            Dan Rather
                                                                                 Rather               43
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19
19
                                                               20
                                                               20 Exhibit
                                                                   Exhibit 439
                                                                           439
20
20                                                                           Binnall  Tweet 3/26/2022
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                                                               21
                                                               21 Exhibit
                                                                   Exhibit 440
                                                                           440
21
21
                                                                             In
                                                                             In Re
                                                                                Re Steven
                                                                                    Steven Scott  Biss,
                                                                                            Scott Biss,
22
22                                                             22
                                                               22           2022
                                                                            2022 WLWL 1097470    (3/9/2022) 67
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                                                                             EXHIBITS        (Cont'd)
 2 ON
 2    BEHALF OF
   ON BEHALF OF DEFENDANT
                DEFENDANT CABLE
                          CABLE NEWS
                                NEWS NETWORK,
                                     NETWORK, INC.:
                                              INC.:
                                                                2 NO.
                                                                2  NO.         DESCRIPTION
                                                                               DESCRIPTION                 PAGE
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                                                                3 Exhibit
                                                                3  Exhibit 441
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 3
 3    MEENAKSHI KRISHNAN,
      MEENAKSHI KRISHNAN, ESQUIRE
                          ESQUIRE (by
                                  (by
                                                                             Lokhova  v. Halper,
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                                                                                                      F.
 4    videoconference)
 4    videoconference)
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                                                                                  3d 238  (E.D. Va.
                                                                                                Va. 2020)
                                                                                                     2020) 70
                                                                                                           70
 5
 5    Davis Wright
      Davis Wright Tremaine, LLP
                   Tremaine, LLP
                                                                55 Exhibit
                                                                   Exhibit 442
                                                                           442
 6
 6    1301 K
      1301 K Street, Northwest, Suite
             Street, Northwest, Suite 500
                                      500                                    Anderson v.
                                                                            Anderson   v. School  Board
                                                                                          School Board
 7
 7    Washington, D.C.
      Washington, D.C. 20005
                       20005                                    66          Gloucester County,
                                                                            Gloucester           2020 WL
                                                                                       County, 2020    WL
 88   meenakshikrishnan@dwt.com
      meenakshikrishnan@dwt.com                                 77          4719091
                                                                            4719091                 73
                                                                                                    73
 9
 9    (202) 973-4239
      (202) 973-4239
                                                                88 Exhibit
                                                                   Exhibit 443
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10
10
                                                                             Lokhova  v. Halper,
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                                                                                                       86
11 ALSO PRESENT:
        PRESENT:
                                                               10
11 ALSO
                                                               10
12    David Campbell,
            Campbell, Videographer (by
12    David           Videographer (by
                                                               11
                                                               11       DOCUMENTS R
                                                                        DOCUMENTS                 EQUESTED
                                                                                               REQUESTED
13
13    videoconference)
      videoconference)                                         12  NO.
                                                               12 NO.          DESCRIPTION
                                                                               DESCRIPTION                 PAGE
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14
14    Alexa Pastor,
      Alexa Pastor, Technician (by videoconference)
                    Technician (by videoconference)            13
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                                            Veritext Legal
                                            Veritext Legal Solutions
                                                           Solutions
                         215-241-1000 -~ 610-434-8588
                         215-241-1000    610-434-8588 -~ 302-571-0510
                                                         302-571-0510 ~ 202-803-8830
                                                                        202-803-8830
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 11              PROCEEDINGS
                 PROCEEDINGS                                                      11                   JESSE      BINNALL,
                                                                                                       JESSE BINNALL,
 22             THE
                THE VIDEOGRAPHER: We are
                    VIDEOGRAPHER: We are going
                                         going on
                                               on the
                                                  the                            22 called
                                                                                      called asas aa witness,
                                                                                                     witness, and and having      been first
                                                                                                                        having been      first duly   sworn
                                                                                                                                                duly sworn
 33 record
    record at
           at 10:03 a.m. on
              10:03 a.m. on June 26, 2023.
                            June 26, 2023. This
                                           This is Media
                                                is Media                          33 to
                                                                                      to tell
                                                                                         tell the
                                                                                              the truth,
                                                                                                    truth, the
                                                                                                             the whole
                                                                                                                  whole truth,
                                                                                                                           truth, and
                                                                                                                                    and nothing
                                                                                                                                         nothing but but
 44 unit
    unit number
         number 11 of the videorecorded
                   of the               deposition of
                          videorecorded deposition of Jesse
                                                      Jesse                       44 the
                                                                                      the truth,
                                                                                          truth, was
                                                                                                   was examined
                                                                                                          examined and   and testified
                                                                                                                               testified as
                                                                                                                                          as follows:
                                                                                                                                               follows:
 55 Binnall.
    Binnall. This
             This is taken in
                  is taken    the matter
                           in the matter of
                                         of John P.
                                            John P.                               55               THE     REPORTER: All
                                                                                                   THE REPORIER:                All right.
                                                                                                                                     right. Thank      you.
                                                                                                                                               Thank you.
 66 "Jack" Floyd [sic]
    "Jack" Floyd       -- John
                 [sic] --      P. "Jack"
                          John P.        Flynn, et
                                  "Jack" Flynn,    al, vs.
                                                et al, vs.                       66                You may
                                                                                                   You    may proceed.
                                                                                                                 proceed.
 7 Cable
 7 Cable News
         News Network,
              Network, Inc.
                       Inc. This
                            This is
                                 is aa remote
                                       remote Zoom
                                              Zoom video
                                                   video                          77                      EXAMINATION
                                                                                                         EXAMINATION
 8 deposition
 8 deposition in the Eastern
              in the Eastern time
                             time zone.
                                  zone.                                          8 8 BY
                                                                                      BY MS.
                                                                                           MS. BOLGER:
                                                                                                   BOLGER:
 99             My name
                My name is David Campbell
                        is David Campbell representing
                                          representing                             99     Q So
                                                                                          Q     So II say    Mr. Binnall
                                                                                                       say Mr.     Binnall butbut I've
                                                                                                                                   I've heard
                                                                                                                                         heard Mr.Mr.
10
10 Veritext, and II am
   Veritext, and    am the
                       the videographer. The court
                           videographer. The court                              10    Binnall and
                                                                                10 Binnall       and II want
                                                                                                         want to to get
                                                                                                                     get it
                                                                                                                          it right.
                                                                                                                             right. So So how
                                                                                                                                          how should
                                                                                                                                                  should II
11 reporter today
11 reporter today is Matt Yancey,
                  is Matt Yancey, also
                                  also with
                                       with Veritext.
                                            Veritext.                           11 refer
                                                                                11           to you,
                                                                                      refer to   you, sir?
                                                                                                        sir?
12
12              Counsel, at this
                Counsel, at this time
                                 time will
                                      will you
                                           you please
                                               please                           12
                                                                                12        A     Binnall is
                                                                                          A Binnall            -- is
                                                                                                            is -- is correct.
                                                                                                                     correct.
13 announce yourselves
13 announce yourselves for the record
                       for the record after
                                      after which
                                            which the
                                                  the                           13
                                                                                13        Q Okay.
                                                                                          Q     Okay. Great.
                                                                                                           Great. So      Mr. Binnall,
                                                                                                                     So Mr.     Binnall, as as II said,
                                                                                                                                                  said,
14
14 court reporter will
   court reporter will please
                       please swear
                              swear in the witness
                                    in the witness and
                                                   and we
                                                       we                       14
                                                                                14 I'm     Kate Bolger.
                                                                                      I'm Kate     Bolger. I'm I'm aa lawyer;
                                                                                                                       lawyer; II represent
                                                                                                                                     represent CNN CNN inin
15
15 can proceed.
   can proceed.                                                                 15    this litigation.
                                                                                15 this    litigation. II know        this is
                                                                                                              know this     is not   your first
                                                                                                                                not your    first rodeo
                                                                                                                                                   rodeo
16
16              MS. BOLGER:
                MS. BOLGER: Katherine
                            Katherine Bolger
                                      Bolger and
                                             and Meena
                                                 Meena                          16    when it
                                                                                16 when          comes to
                                                                                              it comes     to depositions.
                                                                                                               depositions. Have Have youyou actually
                                                                                                                                                actually ever
                                                                                                                                                          ever
17 Krishnan from
17 Krishnan      Davis Wright
            from Davis Wright Tremaine
                              Tremaine on behalf of
                                       on behalf    CNN.
                                                 of CNN.                        17    been aa deponent
                                                                                17 been        deponent before?
                                                                                                              before?
18
18              MR. BISS:
                MR. BISS: I'm
                          I'm Steve Biss. II represent
                              Steve Biss.    represent                          18
                                                                                18        A
                                                                                          A II was was thinking
                                                                                                         thinking about
                                                                                                                      about that,
                                                                                                                              that, and
                                                                                                                                      and II believe
                                                                                                                                             believe II
19 the plaintiffs.
19 the plaintiffs.                                                              19
                                                                                19 have
                                                                                      have had
                                                                                             had my      deposition taken
                                                                                                   my deposition        taken at at least  once. Of
                                                                                                                                    least once.      Of
20
20              MS. BOLGER:
                MS. BOLGER: II think
                               think that's
                                     that's it.
                                            it.                                 20 course,
                                                                                20    course, I've    taken many
                                                                                                 I've taken             depositions and
                                                                                                               many depositions          and there
                                                                                                                                               there was
                                                                                                                                                      was aa
21
21              THE REPORTER: All
                THE REPORTER: All right.
                                  right. Good
                                         Good                                   21 proceeding that I was a witness in that I believe II
                                                                                21    proceeding      that   I was   a witness     in  that  I believe
22 morning,
22 morning, everyone. Again, my
            everyone. Again, my name
                                name is Matt Yancey;
                                     is Matt Yancey; II                         22 gave
                                                                                22    gave aa deposition
                                                                                               deposition for  for at
                                                                                                                    at least    once.
                                                                                                                        least once.
                                                                      Page 7
                                                                      Page 7                                                                          Page 9
                                                                                                                                                      Page 9
  11 am
      am aa reporter      assigned by
            reporter assigned       by Veritext
                                       Veritext to to take
                                                      take the
                                                            the record
                                                                 record 11         QQ AndAnd what
                                                                                                what was
                                                                                                       was that
                                                                                                              that proceeding?
                                                                                                                      proceeding?
 22 ofof this
         this proceeding.
              proceeding.                                                  22      AA It It had
                                                                                            had toto do   with 4600
                                                                                                     do with     4600 DukeDuke Street,       which it
                                                                                                                                   Street, which    it
  33               II am
                      am aa notary  authorized to
                             notary authorized    to take
                                                     take                    33 was
                                                                                was aa condominium
                                                                                       condominium complex complex in         Alexandria, Virginia.
                                                                                                                          in Alexandria,      Virginia. II
  44 acknowledgments
      acknowledgments and      and administer
                                    administer oaths
                                                 oaths in   the District
                                                         in the  District 44 do     not remember
                                                                                do not  remember the   the exact       caption.
                                                                                                            exact caption.
  55 of
      of Columbia.
         Columbia. Parties Parties agree
                                   agree that
                                         that II will
                                                 will swear
                                                       swear inin the
                                                                  the        55    QQ Okay.
                                                                                         Okay. Well,
                                                                                                   Well, II don't
                                                                                                              don't need
                                                                                                                       need to to give   you the
                                                                                                                                  give you    the
 66 witness
      witness remotely.
                remotely.                                                   66 usual
                                                                                usual instructions      because II know
                                                                                       instructions because             know you you know
                                                                                                                                       know about
                                                                                                                                              about
  77               Additionally,    absent any
                    Additionally, absent     any objection
                                                  objection onon             7 depositions.
                                                                             7  depositions. But  But II will
                                                                                                         will give
                                                                                                                give youyou one     that's sort
                                                                                                                              one that's    sort of
                                                                                                                                                 of
 8 8 the
      the record      before the
          record before       the witness
                                  witness is   sworn, all
                                            is sworn,   all parties
                                                            parties         88 the
                                                                                the Kate
                                                                                    Kate Bolger
                                                                                            Bolger warning,
                                                                                                     warning, which which is  is that
                                                                                                                                 that II do
                                                                                                                                         do tend
                                                                                                                                             tend to
                                                                                                                                                   to
   99 and
      and the
           the witness
               witness understand
                            understand and
                                         and agree
                                               agree that
                                                      that any
                                                            any              99 speak
                                                                                speak very
                                                                                        very quickly.
                                                                                               quickly. It It is
                                                                                                               is aa function
                                                                                                                      function of  of being
                                                                                                                                      being from
                                                                                                                                              from
10    certified transcript
10 certified     transcript produced
                                produced from
                                           from the
                                                  the recordings
                                                       recordings ofof 10 10 NewNew York,
                                                                                      York, II think.
                                                                                                 think. So So ifif II get
                                                                                                                      get to
                                                                                                                           to quick,    you want
                                                                                                                               quick, you     want to
                                                                                                                                                    to
11    this proceeding:
11 this    proceeding:                                                    11
                                                                          11 slow     me down,
                                                                                slow me     down, II will.
                                                                                                      will. Give
                                                                                                               Give it,     you know,
                                                                                                                        it, you   know, thethe old
                                                                                                                                                old
12
12                -- is
                      is intended  for all
                         intended for  all uses
                                           uses permitted
                                                 permitted                12
                                                                          12 college      try to
                                                                                college try    to slow
                                                                                                  slow itit down.
                                                                                                            down.
13    under applicable
13 under     applicable procedural
                              procedural and
                                           and evidentiary
                                                evidentiary rules    and 13
                                                               rules and  13           So   what did
                                                                                        So what          you do
                                                                                                   did you     do to to prepare
                                                                                                                         prepare for     today's
                                                                                                                                    for today's
14
14 laws     in the     same   manner  as a   deposition
      laws in the same manner as a deposition recorded by recorded   by   14
                                                                          14    deposition?
                                                                                deposition?
15    stenographic means;
15 stenographic                   and
                         means; and                                       15
                                                                          15       AA II reviewed
                                                                                           reviewed my   my ---- my
                                                                                                                  my report.
                                                                                                                        report. AndAnd II also
                                                                                                                                            also
16
16                -- shall
                      shall constitute  written stipulation
                            constitute written    stipulation             16
                                                                          16 looked
                                                                                looked atat the
                                                                                             the amended
                                                                                                  amended complaint
                                                                                                               complaint in     in the
                                                                                                                                   the case.
                                                                                                                                        case. II did
                                                                                                                                                  did
17
17 of of such.
         such.                                                            17    have aa brief
                                                                          17 have        brief conversation
                                                                                                conversation with   with counsel
                                                                                                                            counsel forfor the
                                                                                                                                            the
18
18                 Thank you.
                   Thank     you. Hearing
                                   Hearing no no objection,
                                                 objection, II            18    plaintiffs as
                                                                          18 plaintiffs      as well.
                                                                                                well.
19    will now
19 will    now swearswear in   the witness.
                            in the witness.                               19
                                                                          19       QQ Mr.Mr. Biss
                                                                                                Biss that
                                                                                                     that is?
                                                                                                            is?
20
20                 Mr. Binnall,
                  Mr.     Binnall, please
                                   please raise   your right
                                            raise your   right            20
                                                                          20       AA That's
                                                                                         That's correct.
                                                                                                  correct.
21 hand.
21    hand.                                                               21
                                                                          21       QQ Okay.
                                                                                         Okay. Then        you're here
                                                                                                   Then you're        here today
                                                                                                                             today to to give
                                                                                                                                          give expert
                                                                                                                                                expert
22 WHEREUPON,
22    WHEREUPON,                                                          22 testimony
                                                                          22    testimony at  at the
                                                                                                 the Plaintiffs
                                                                                                     Plaintiff's request,
                                                                                                                      request, right?
                                                                                                                                  right?

                                                                                                                                       33 (Pages
                                                                                                                                          (Pages 66 -- 9)
                                                                                                                                                       9)
                                           Veritext Legal
                                           Veritext Legal Solutions
                                                          Solutions
                         215-241-1000 ~
                         215-241-1000 — 610-434-8588
                                        610-434-8588 -~ 302-571-0510
                                                        302-571-0510 ~ 202-803-8830
                                                                       202-803-8830
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                                                                           Page
                                                                           Page 10
                                                                                10                                                                                Page
                                                                                                                                                                  Page 12
                                                                                                                                                                       12
 11      A
         A     That's correct.
               That's correct.                                                           11      But II --
                                                                                                 But     -- II certainly
                                                                                                               certainly looked
                                                                                                                             looked at  at the
                                                                                                                                           the factors
                                                                                                                                                factors that
                                                                                                                                                           that
 22      Q
         Q     Okay. I'm
               Okay. I'm going to ask
                         going to ask --
                                      -- just
                                         just show
                                              show you
                                                   you                                  22 are
                                                                                             are applicable
                                                                                                 applicable in    in --
                                                                                                                      -- in  Rhode Island
                                                                                                                         in Rhode               law, and
                                                                                                                                        Island law,     and II also
                                                                                                                                                                also
 33 your
    your report
         report so we can
                so we     just identify
                      can just identify it
                                        it for the record
                                           for the record                                33 based
                                                                                             based itit on
                                                                                                        on mymy -- -- my    own experience
                                                                                                                       my own       experience litigating         cases,
                                                                                                                                                   litigating cases,
 44 and
    and then
        then I'm
             I'm going
                 going to
                       to ask
                          ask you
                              you some questions about
                                  some questions about it.
                                                       it.                               44 whether
                                                                                             whether it     be defamation
                                                                                                         it be   defamation cases  cases oror other
                                                                                                                                              other cases.
                                                                                                                                                       cases. AndAnd
 55 II can leave those
       can leave those portions
                       portions of the report
                                of the report relevant
                                              relevant to
                                                       to                                55 what
                                                                                             what isis --
                                                                                                       -- is
                                                                                                           is reasonable
                                                                                                               reasonable to    to incur
                                                                                                                                    incur asas far
                                                                                                                                               far as
                                                                                                                                                    as attorneys'
                                                                                                                                                        attorneys'
 66 my
    my questions
       questions on
                 on the
                    the screen
                        screen or we can
                               or we can talk
                                         talk generally
                                              generally                                 66 fees
                                                                                             fees and
                                                                                                   and what
                                                                                                         what is  is reasonable
                                                                                                                     reasonable as    as far
                                                                                                                                          far as
                                                                                                                                              as the
                                                                                                                                                  the work
                                                                                                                                                       work thatthat
 7 about
 7 about it, however we
         it, however we feel it works.
                        feel it works. The
                                       The purpose
                                           purpose                                       77 needs
                                                                                             needs toto be
                                                                                                         be done
                                                                                                              done in in order
                                                                                                                          order to to litigate
                                                                                                                                       litigate aa case
                                                                                                                                                   case like
                                                                                                                                                          like
 8 really
 8 really is just to
          is just to mark
                     mark the
                          the exhibit.
                              exhibit.                                                  8 8 this.
                                                                                             this.
 99              MS. BOLGER:
                 MS. BOLGER: So Alexa, can
                             So Alexa,     you put
                                       can you put tab
                                                   tab                                    99     Q And
                                                                                                 Q             you're not
                                                                                                       And you're              admitted to
                                                                                                                         not admitted       to the
                                                                                                                                               the Bar
                                                                                                                                                    Bar inin Rhode
                                                                                                                                                               Rhode
10 11 up?
10    up?                                                                              10
                                                                                       10 Island;
                                                                                             Island; right?
                                                                                                       right?
11
11               MS. PASTOR:
                 MS. PASTOR: Just
                             Just aa moment
                                     moment --
                                            --                                         11
                                                                                       11        A
                                                                                                 A No, No, ma'am.
                                                                                                              ma'am. II am  am not.
                                                                                                                                  not.
12 BY
12 BY MS.
      MS. BOLGER:
          BOLGER:                                                                      12
                                                                                       12        Q Okay.
                                                                                                 Q     Okay. And         what facts
                                                                                                                  And what        facts did
                                                                                                                                          did you
                                                                                                                                               you base
                                                                                                                                                     base your
                                                                                                                                                            your
13
13       Q
         Q     For the
               For the record,
                       record, this
                               this is
                                    is the
                                       the Plaintiffs
                                           Plaintiff's Rule
                                                       Rule                            13    conclusion on?
                                                                                       13 conclusion         on?
14 26(a)(s)
14 26(a)(s) Expert
            Expert Disclosure
                   Disclosure dated
                              dated January
                                    January 3, 2023, and
                                            3, 2023, and                               14
                                                                                       14        A
                                                                                                 A The        facts as
                                                                                                       The facts      as --
                                                                                                                          -- as
                                                                                                                             as fully
                                                                                                                                 fully described
                                                                                                                                          described in  in my
                                                                                                                                                           my
15 it
15    attaches your
   it attaches your expert
                    expert report.
                           report.                                                     15
                                                                                       15 report.
                                                                                             report. II certainly
                                                                                                          certainly did did look
                                                                                                                              look at at the
                                                                                                                                         the complaint.
                                                                                                                                              complaint. II did  did
16
16               (Exhibit 430
                 (Exhibit 430 was
                              was marked
                                  marked for
                                         for                                           16
                                                                                       16 review
                                                                                             review parts
                                                                                                       parts of of the
                                                                                                                    the docket.
                                                                                                                         docket. II looked
                                                                                                                                        looked at at some
                                                                                                                                                     some of   of the
                                                                                                                                                                  the
17
17               identification.)
                 identification.)                                                      17    facts that
                                                                                       17 facts     that were
                                                                                                          were available
                                                                                                                   available thatthat needed
                                                                                                                                        needed to to be
                                                                                                                                                      be litigated,
                                                                                                                                                          litigated,
18
18               MS. BOLGER:
                 MS. BOLGER: Alexa,
                             Alexa, if you just
                                    if you just scroll
                                                scroll                                 18
                                                                                       18 the motions that had to be litigated, and that in
                                                                                             the motions       that  had   to   be  litigated,   and   that   in
19 down
19      to the
   down to the third
               third page, you'll see
                     page, you'll see the
                                      the front of his
                                          front of his --
                                                       --                              19    addition to
                                                                                       19 addition       to everything
                                                                                                             everything else  else that's
                                                                                                                                     that's in
                                                                                                                                             in my
                                                                                                                                                my report.
                                                                                                                                                      report.
20 top
20 top of
       of his
          his expert report --
              expert report -- fourth
                               fourth page.
                                      page. Sorry.
                                            Sorry.                                     20
                                                                                       20        Q And
                                                                                                 Q     And did did you
                                                                                                                     you review
                                                                                                                           review any any depositions
                                                                                                                                            depositions in   in this
                                                                                                                                                                 this
21 There
21 There it
         it is.
            is.                                                                        21 case?
                                                                                       21    case?
22 BY
22 BY MS.
      MS. BOLGER:
          BOLGER:                                                                      22
                                                                                       22        A
                                                                                                 A No, No, II did
                                                                                                                did not.
                                                                                                                      not.
                                                                           Page
                                                                           Page 11
                                                                                11                                                                                Page
                                                                                                                                                                  Page 13
                                                                                                                                                                       13
  11      Q And
          Q            just for
                And just      for record
                                   record purposes,
                                             purposes, Mr.  Mr. Binnall,
                                                                 Binnall,         11      Q Do
                                                                                          Q     Do you,
                                                                                                      you, as as you
                                                                                                                   you sit    here, know
                                                                                                                         sit here,     know what  what documents
                                                                                                                                                          documents
 22 this
      this is  your expert
            is your   expert report;
                                 report; correct?
                                           correct?                             22 CNNCNN looked
                                                                                             looked at    at in
                                                                                                             in publishing
                                                                                                                  publishing your  your report
                                                                                                                                           report at   at issue
                                                                                                                                                          issue here?
                                                                                                                                                                 here?
  33      A
          A It     appears to
                It appears      to be
                                    be so,
                                       so, yes.
                                            yes. Just     the first
                                                    Just the   first               33     A Do
                                                                                          A     Do II -- -- I'm
                                                                                                            I'm sorry.
                                                                                                                   sorry. I'mI'm going
                                                                                                                                   going to  to ask
                                                                                                                                                  ask you
                                                                                                                                                        you toto
  44 page,
      page, but
              but yeah.
                   yeah.                                                         44 rephrase
                                                                                      rephrase thatthat question.
                                                                                                          question. Specifically
                                                                                                                          Specifically it         has to
                                                                                                                                               it has   to do
                                                                                                                                                            do
  55      Q Right.
          Q     Right. TakeTake my       word for
                                    my word     for it,
                                                      it, please,
                                                          please, that
                                                                    that           55 with
                                                                                      with the
                                                                                            the report
                                                                                                  report at  at issue    here.
                                                                                                                 issue here.
 66 the
      the rest   of it
           rest of  it is  there. And
                        is there.           what were
                                     And what       were youyou asked
                                                                  asked toto     66       Q So
                                                                                          Q          this is
                                                                                                So this     is aa defamation
                                                                                                                   defamation lawsuit lawsuit as   as you
                                                                                                                                                       you know.
                                                                                                                                                             know.
  77 opine
      opine on?
              on?                                                                  7
                                                                                   7      A Yes.
                                                                                          A     Yes.
 8 8      A
          A II waswas -- -- II was
                               was asked
                                     asked to to opine
                                                 opine on  on the
                                                              the                 88      Q Sorry,
                                                                                          Q     Sorry, it'sit's aa false   light lawsuit.
                                                                                                                    false light     lawsuit. As    As you
                                                                                                                                                        you
   99 reasonableness
      reasonableness of     of the
                                 the attorneys'
                                      attorneys' fees
                                                    fees incurred
                                                           incurred by by the
                                                                           the     99 know,
                                                                                      know, it    was aa defamation
                                                                                               it was       defamation lawsuit.lawsuit. It    It is   now aa false
                                                                                                                                                  is now       false
10    plaintiffs in
10 plaintiffs          this case,
                   in this    case, Jack     and Leslie
                                      Jack and    Leslie Fynn.
                                                             Fynn. AndAnd      10
                                                                               10 light
                                                                                      light lawsuit
                                                                                            lawsuit and   and it's
                                                                                                                it's about
                                                                                                                      about aa report
                                                                                                                                  report on on CNNCNN that that
11
11 forfor the
          the ---- the
                   the attorneys'
                         attorneys' fees
                                       fees that
                                              that they
                                                    they have      incurred
                                                            have incurred      11     aired in
                                                                               11 aired      in February
                                                                                                  February of         2021. Have
                                                                                                                 of 2021.       Have you you seenseen that
                                                                                                                                                         that report?
                                                                                                                                                               report?
12
12 andand will
            will incur
                  incur in     the process
                          in the    process of of this
                                                   this litigation.
                                                         litigation.           12
                                                                               12         A II --
                                                                                          A        -- II am   aware of
                                                                                                         am aware            the report.
                                                                                                                         of the    report. II believe
                                                                                                                                                   believe
13
13        Q Great.
          Q     Great. And And whatwhat was
                                          was your
                                                your expert
                                                        expert conclusion?
                                                                  conclusion? 13
                                                                               13 I'veI've actually
                                                                                           actually seen seen thethe video
                                                                                                                       video of  of it.
                                                                                                                                     it. II have
                                                                                                                                            have also also seen
                                                                                                                                                            seen
14
14        A
          A My  My expert
                      expert conclusion         is  that  the  arrangement
                                 conclusion is that the arrangement            14
                                                                               14     the
                                                                                      the --
                                                                                          --  the
                                                                                             the    text
                                                                                                    text   and
                                                                                                           and    the
                                                                                                                  the  chyron
                                                                                                                       chyron      and
                                                                                                                                   and    what
                                                                                                                                          what      not
                                                                                                                                                   not   involved
                                                                                                                                                         involved
15    that the
15 that     the plaintiffs
                 plaintiffs have       with their
                                have with     their counsel,
                                                     counsel, Mr. Mr. Biss,
                                                                        Biss, 15
                                                                               15 in     that, yes.
                                                                                      in that,  yes.
16
16 is is reasonable
         reasonable --   -- is
                             is aa reasonable     agreement and
                                   reasonable agreement           and that's
                                                                        that's 16
                                                                               16         Q Where
                                                                                          Q     Where did         you see
                                                                                                            did you           that?
                                                                                                                         see that?
17    to my    reasonable       degree    of  professional
17 to my reasonable degree of professional certainty.           certainty.     17
                                                                               17         A
                                                                                          A     I
                                                                                                I  saw
                                                                                                  saw     images
                                                                                                          images      of
                                                                                                                      of  it,
                                                                                                                          it, I
                                                                                                                              I  believe, in
                                                                                                                                 believe,          the
                                                                                                                                               in the
18
18        Q And
          Q            what is
                And what        is that
                                   that conclusion
                                         conclusion based based on?
                                                                  on?          18
                                                                               18 complaint
                                                                                      complaint and, and, youyou know,
                                                                                                                     know, II don't
                                                                                                                                 don't -- -- II honestly
                                                                                                                                                honestly don'tdon't
19
19        A
          A ThatThat is    based on
                        is based     on everything
                                         everything that that II put
                                                                 put in
                                                                      in       19     remember sitting
                                                                               19 remember           sitting here       today if
                                                                                                                 here today       if I've
                                                                                                                                      I've --
                                                                                                                                            -- if   I've seen
                                                                                                                                                 if I've  seen
20 the
20    the report.
           report. And,
                      And, of  of course,    the report
                                   course, the    report goes      into more
                                                            goes into          20 the
                                                                         more 20      the video.
                                                                                          video. I've I've certainly
                                                                                                             certainly seenseen aa lot lot of
                                                                                                                                           of similar
                                                                                                                                                 similar
21 detail
21    detail than
              than ---- than
                         than II can,    despite memory
                                   can, despite                  sitting
                                                    memory sitting             21 things
                                                                               21     things onon social      media and
                                                                                                    social media         and that's
                                                                                                                                that's just
                                                                                                                                         just in     the --
                                                                                                                                                in the    -- in
                                                                                                                                                             in
22 right
22    right here    with everything
             here with      everything in   in the
                                               the report.
                                                     report.                   22 the
                                                                               22     the public
                                                                                          public domain.
                                                                                                     domain. So      So II believe
                                                                                                                           believe II saw saw it, it, but
                                                                                                                                                       but II don't
                                                                                                                                                              don't

                                                                                                                                              44 (Pages
                                                                                                                                                 (Pages 10
                                                                                                                                                        10 -- 13)
                                                                                                                                                              13)
                                              Veritext Legal
                                              Veritext Legal Solutions
                                                             Solutions
                            215-241-1000 ~
                            215-241-1000 — 610-434-8588
                                           610-434-8588 -~ 302-571-0510
                                                           302-571-0510 ~ 202-803-8830
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                                                             Page
                                                             Page 14
                                                                  14                                                                    Page
                                                                                                                                        Page 16
                                                                                                                                             16
 11 remember,
    remember, and
              and II don't
                     don't remember
                           remember where
                                    where II saw
                                             saw it if II
                                                 it if                  11 gave expert opinion
                                                                           gave expert opinion --
                                                                                               -- expert
                                                                                                  expert opinion
                                                                                                         opinion on parliamentary
                                                                                                                 on parliamentary
 22 did.
    did.                                                                22 procedure
                                                                           procedure issues.
                                                                                     issues.
 33    Q
       Q    Okay. Do
            Okay. Do you
                     you remember what happens
                         remember what happens in
                                               in it?
                                                  it?                   33     II also
                                                                                  also have
                                                                                       have given expert testimony
                                                                                            given expert testimony on the rules
                                                                                                                   on the rules
 44    A
       A   II --
              -- II mean,
                    mean, if
                          if you're
                             you're discussing
                                    discussing the
                                               the video
                                                   video                44 of
                                                                           of the
                                                                              the Republican
                                                                                  Republican National
                                                                                             National Committee
                                                                                                      Committee before
                                                                                                                before as
                                                                                                                       as well.
                                                                                                                          well.
 55 itself of the
    itself of the report
                  report and
                         and the
                             the chyron,
                                 chyron, II can't give you
                                            can't give you              55     Q And
                                                                               Q And both
                                                                                     both of
                                                                                          of those
                                                                                             those circumstances -- I'm
                                                                                                   circumstances -- I'm
 66 aa word
       word for
            for description. I'm sure
                description. I'm sure there's
                                      there's something
                                              something II              66 sorry,
                                                                           sorry, II hadn't
                                                                                     hadn't realized
                                                                                            realized that
                                                                                                     that the
                                                                                                          the testimony
                                                                                                              testimony you
                                                                                                                        you gave
                                                                                                                            gave
 7 could
 7       -- review
   could -- review to
                   to refresh
                      refresh my
                              my recollection on it
                                 recollection on it                     7 about
                                                                        7 about the
                                                                                the Duke
                                                                                    Duke Street
                                                                                         Street apartment
                                                                                                apartment was
                                                                                                          was expert
                                                                                                              expert opinions,
                                                                                                                     opinions,
 8 exactly
 8         but II wouldn't
   exactly but    wouldn't want
                           want to.
                                to. And
                                    And II don't
                                           don't think
                                                 think                  8 so
                                                                        8 so II apologize
                                                                                apologize if
                                                                                          if II asked
                                                                                                asked that
                                                                                                      that question
                                                                                                           question twice.
                                                                                                                    twice.
 99 there
    there would
          would be
                be any
                   any beneficial
                       beneficial --
                                  -- benefit
                                     benefit to
                                             to me
                                                me trying
                                                   trying               99     So
                                                                               So in both of
                                                                                  in both of those
                                                                                             those circumstances, were you
                                                                                                   circumstances, were you
10 to
10 to recite it from
      recite it from memory.
                     memory.                                           10
                                                                       10 giving an expert
                                                                          giving an        opinion on
                                                                                    expert opinion on parliamentary
                                                                                                      parliamentary procedures?
                                                                                                                    procedures?
11
11     Q
       Q    Okay. II don't
            Okay.          need you
                     don't need you to
                                    to recite it from
                                       recite it from                  11
                                                                       11      A
                                                                               A    Effectively, yes.
                                                                                    Effectively, yes. The -- the
                                                                                                      The -- the Duke
                                                                                                                 Duke Street
                                                                                                                      Street on
                                                                                                                             on
12 memory.
12 memory. II was
              was just
                  just wondering
                       wondering on
                                 on aa high
                                       high level if you
                                            level if you               12 was certainly
                                                                       12 was           on parliamentary
                                                                              certainly on parliamentary procedure and II think
                                                                                                         procedure and    think
13 remember
13 remember what
            what happened
                 happened in the report
                          in the report at
                                        at issue in this
                                           issue in this               13
                                                                       13 effectively, the Republican
                                                                          effectively, the Republican National
                                                                                                      National Committee
                                                                                                               Committee one
                                                                                                                         one was
                                                                                                                             was
14 litigation?
14 litigation?                                                         14 -- was
                                                                       14 -- was also
                                                                                 also based
                                                                                      based on my --
                                                                                            on my -- my
                                                                                                     my knowledge
                                                                                                        knowledge as
                                                                                                                  as aa
15
15     A At
       A At aa high
               high level,
                    level, there
                           there was
                                 was aa video
                                        video report
                                              report                   15 parliamentarian in
                                                                       15 parliamentarian    addition to
                                                                                          in addition to my
                                                                                                         my --
                                                                                                            -- my
                                                                                                               my knowledge
                                                                                                                  knowledge of
                                                                                                                            of --
16 and
16 and aa chyron that accused
          chyron that accused members
                              members of the Flynn
                                      of the Flynn family
                                                   family              16
                                                                       16 -- of
                                                                             of party
                                                                                party rules.
                                                                                      rules. So
                                                                                             So II would
                                                                                                   would say effectively, yes,
                                                                                                         say effectively, yes,
17 of
17 of being supporters of
      being supporters of QAnon based on
                          QAnon based on aa video.
                                            video.                     17 that it
                                                                       17 that    was as
                                                                               it was as aa professional
                                                                                            professional parliamentarian.
                                                                                                         parliamentarian.
18
18     Q
       Q    Okay. Do
            Okay. Do you
                     you know -- this
                         know -- this was
                                      was my
                                          my original
                                             original                  18
                                                                       18      Q
                                                                               Q    Mr. Binnall,
                                                                                    Mr. Binnall, in
                                                                                                 in another
                                                                                                    another world
                                                                                                            world you
                                                                                                                  you and
                                                                                                                      and II have
                                                                                                                             have
19 question,
19           which II think
   question, which    think caused
                            caused this
                                   this foray
                                        foray into the
                                              into the                 19
                                                                       19 similarities.
                                                                          similarities. II was
                                                                                           was one
                                                                                               one aa parliamentarian at the
                                                                                                      parliamentarian at the
20 report.
20 report. Do
           Do you
              you know
                  know what
                       what documents
                            documents CNN
                                      CNN looked at
                                          looked at                    20 University
                                                                       20 University of Virginia, so
                                                                                     of Virginia,    there you
                                                                                                  so there you go.
                                                                                                               go.
21 before
21 before they
          they published
               published the
                         the report?
                             report?                                   21
                                                                       21      A
                                                                               A    Oh.
                                                                                    Oh.
22
22     A No,
       A No, II do not.
                do not.                                                22
                                                                       22      Q
                                                                               Q    So Mr. Binnall,
                                                                                    So Mr. Binnall, in
                                                                                                    in your
                                                                                                       your expertise as aa
                                                                                                            expertise as
                                                             Page
                                                             Page 15
                                                                  15                                                                    Page
                                                                                                                                        Page 17
                                                                                                                                             17
 11    Q
       Q    Okay. So
            Okay.    you're not
                  So you're not here to express
                                here to         any
                                        express any                     11 parliamentarian
                                                                           parliamentarian has   has nothing
                                                                                                       nothing to  to do
                                                                                                                      do with
                                                                                                                          with today's
                                                                                                                                today's expert
                                                                                                                                           expert
 22 opinion
    opinion on
            on the
               the meaning
                   meaning of the report;
                           of the report; right?
                                          right?                        2 report;
                                                                        2  report; right?
                                                                                     right?
 33    A
       A   Of CNN's
           Of CNN's report,
                    report, no, I'm not.
                            no, I'm not.                                33      A
                                                                                A No,No, ma'am.
                                                                                           ma'am. It       does not.
                                                                                                       It does    not.
 44    Q And
       Q And you're
             you're not
                    not here
                        here to
                             to express
                                express an opinion on
                                        an opinion on                   44      Q Okay.
                                                                                Q    Okay. In  In your
                                                                                                   your report,      and II can
                                                                                                           report, and      can show
                                                                                                                                 show youyou
 55 the
    the truth
        truth of
              of CNN's
                 CNN's report;
                       report; right?
                               right?                                   55 it's on page
                                                                           it's on  page 44 of   your report,
                                                                                              of your               you reference
                                                                                                          report, you    reference
 66    A No,
       A No, ma'am,
             ma'am, I'm
                    I'm not.
                        not.                                            6 litigating
                                                                        6  litigating many      attorneys' fees
                                                                                        many attorneys'         fees disputes.
                                                                                                                      disputes. What       were
                                                                                                                                   What were
 7
 7     Q Nor
       Q Nor are
             are you
                 you here
                     here to
                          to express
                             express an
                                     an opinion
                                        opinion on
                                                on                      7 those?
                                                                        7  those?
 8 CNN's
 8 CNN's intent
         intent in publishing the
                in publishing the report;
                                  report; right?
                                          right?                        8
                                                                        8       A    Let's see.
                                                                                A Let's     see. II have
                                                                                                      have -- -- most
                                                                                                                 most recently,
                                                                                                                        recently, I've
                                                                                                                                    I've
 99    A No,
       A No, ma'am.
             ma'am.                                                     99 been
                                                                           been involved
                                                                                   involved in in litigating
                                                                                                   litigating of of attorney's
                                                                                                                     attorney's fee
                                                                                                                                 fee dispute
                                                                                                                                       dispute
10
10     Q
       Q    Okay. So
            Okay.    as II understand
                  So as    understand it,
                                      it, you
                                          you are
                                              are here
                                                  here                 10
                                                                       10 involving      sanctions in
                                                                           involving sanctions         in Virginia     where our
                                                                                                           Virginia where      our client
                                                                                                                                     client has
                                                                                                                                             has
11 just
11 just to
        to talk
           talk about
                about the
                      the reasonableness of Mr.
                          reasonableness of Mr. Biss's
                                                Biss's                 11 asked
                                                                       11  asked for,
                                                                                    for, and
                                                                                         and actually
                                                                                               actually received
                                                                                                            received at at this
                                                                                                                           this point,
                                                                                                                                point,
12 fees;
12       is that
   fees; is that correct?
                 correct?                                              12  sanctions. And
                                                                       12 sanctions.      And so,     the issue
                                                                                                 so, the    issue ofof reasonableness
                                                                                                                       reasonableness of   of
13
13     A
       A    That's correct.
            That's correct.                                            13  attorneys' fees
                                                                       13 attorneys'     fees was
                                                                                               was at at stake.
                                                                                                          stake.
14
14     Q No
       Q No other
            other expert conclusions; right?
                  expert conclusions; right?                           14
                                                                       14       I've also  litigated    attorneys'
                                                                                I've also litigated attorneys' fees   fees issues
                                                                                                                            issues onon aa
15
15     A
       A    That's correct.
            That's correct.                                            15
                                                                       15 number
                                                                           number of  of matters     that have
                                                                                          matters that      have --   that have
                                                                                                                   -- that         settled. And
                                                                                                                            have settled.     And
16
16     Q
       Q    Okay. Have
            Okay. Have you
                       you ever been an
                           ever been an expert before?
                                        expert before?                 16  there's --
                                                                       16 there's    -- yeah,
                                                                                        yeah, II --
                                                                                                  -- much
                                                                                                      much of  of my   practice involves
                                                                                                                  my practice     involves
17
17     A
       A   II have.
              have.                                                    17
                                                                       17 Civil    Rights actions,
                                                                           Civil Rights     actions, suchsuch asas Section    1983   where
                                                                                                                    Section 1983 where
18
18     Q
       Q   In what
           In what circumstances?
                   circumstances?                                      18 attorneys'
                                                                       18  attorneys' fees
                                                                                         fees can
                                                                                               can bebe awarded
                                                                                                          awarded pursuant
                                                                                                                      pursuant to to 18
                                                                                                                                      18 --
                                                                                                                                          -- 42
                                                                                                                                             42
19
19     A As
       A As II --
               -- as
                  as II told
                        told you,
                             you, II think
                                     think earlier,
                                           earlier, II                 19  USC 1988.
                                                                       19 USC      1988. And
                                                                                           And so, so, the
                                                                                                        the attorneys'
                                                                                                             attorneys' feefee issue
                                                                                                                               issue comes
                                                                                                                                       comes up up
20 was
20 was an
       an expert
          expert in
                 in aa dispute
                       dispute regarding
                               regarding aa condominium
                                            condominium                20 substantially.
                                                                       20  substantially.
21 complex
21 complex at 4600 Duke
           at 4600 Duke Street
                        Street in Alexandria. That
                               in Alexandria.      was
                                              That was                 21
                                                                       21       There   was, you
                                                                                There was,     you know,
                                                                                                      know, an  an issue
                                                                                                                   issue inin recent   years
                                                                                                                              recent years
22 around
22 around about 2009, 2010,
          about 2009, 2010, II believe. And on
                               believe. And on that,
                                               that, II                22 that
                                                                       22  that comes
                                                                                  comes toto mind      where we
                                                                                              mind where         we successfully
                                                                                                                     successfully defeated
                                                                                                                                      defeated aa

                                                                                                                       55 (Pages
                                                                                                                          (Pages 14
                                                                                                                                 14 -- 17)
                                                                                                                                       17)
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                                                                    Page 18
                                                                         18                                                                      Page
                                                                                                                                                 Page 20
                                                                                                                                                      20
  11 claim
      claim of
             of aa defendant
                    defendant for  for attorneys'
                                         attorneys' fees
                                                       fees under
                                                              under section
                                                                      section     11     AA II should
                                                                                                 should saysay --
                                                                                                                -- should
                                                                                                                   should say say nine
                                                                                                                                    nine lawyers
                                                                                                                                           lawyers that
                                                                                                                                                    that
 22 1988.
      1988. Those
              Those are  are --  are ones
                              -- are          that come
                                       ones that     come to to mind
                                                                 mind right
                                                                        right    22 wewe engage
                                                                                          engage in in one
                                                                                                        one way
                                                                                                             way or     another.
                                                                                                                    or another.
  33 now.
      now.                                                                        33     Q Okay.
                                                                                         Q      Okay. AndAnd is    Mr. Greaves
                                                                                                               is Mr.    Greaves an   an associate,
                                                                                                                                          associate, aa
  44     Q What
         Q    What is       the name
                         is the  name of      the first
                                          of the   first litigation    you
                                                          litigation you          44 partner,
                                                                                      partner, oror of
                                                                                                    of counsel?
                                                                                                        counsel?
  55 discussed
      discussed which
                   which has       an ongoing
                              has an   ongoing sanctions
                                                    sanctions question?
                                                                  question?       55     AA He'sHe's aa --
                                                                                                        -- he's
                                                                                                           he's aa partner.
                                                                                                                   partner.
 66      A    Bella Gravida
         A Bella         Gravida vs.vs. Evans,
                                          Evans, II believe
                                                      believe is is the
                                                                    the          66           MS. BOLGER:
                                                                                              MS.   BOLGER: Okay.    Okay. You  You cancan put
                                                                                                                                            put --
                                                                                                                                                --
  77 name
      name ofof it  -- the
                it --   the caption.
                              caption. II --    yeah.
                                             -- yeah.                             77     you can
                                                                                         you    can take
                                                                                                     take down
                                                                                                           down Exhibit
                                                                                                                   Exhibit 1.   1.
 8 8     Q Okay.
         Q    Okay. Where  Where is is it
                                        it pending?
                                           pending?                              8 8 BY
                                                                                      BY MS.
                                                                                           MS. BOLGER:
                                                                                                  BOLGER:
   99    A    Fairfax County
         A Fairfax         County Circuit
                                       Circuit Court.
                                                  Court.                           99    Q Mr.
                                                                                         Q      Mr. Binnall,
                                                                                                     Binnall, are
                                                                                                                are you
                                                                                                                      you aware
                                                                                                                            aware thatthat
10
10       Q All
         Q    All right.
                     right. HowHow did      you come
                                       did you     come to to be
                                                               be retained?
                                                                  retained?     10
                                                                                10 Mr.Mr. Greaves
                                                                                           Greaves represented
                                                                                                       represented aa third-party
                                                                                                                          third-party in  in
11
11       A    Plaintiff for
         A Plaintiff         for counsel,
                                  counsel, Mr. Mr. Biss,
                                                     Biss, reached
                                                             reached outout     11    this very
                                                                                11 this    very matter?
                                                                                                  matter?
12
12 andand asked
           asked if if II could
                          could bebe engaged
                                       engaged as   as aa expert
                                                          expert in    this
                                                                   in this      12
                                                                                12       AA You You know,
                                                                                                      know, II ---- II don't
                                                                                                                       don't know
                                                                                                                               know thatthat
13
13 matter     and II agreed.
      matter and       agreed.                                                  13
                                                                                13 offoff the
                                                                                          the top
                                                                                               top of
                                                                                                    of my
                                                                                                        my head.
                                                                                                             head. That's       something
                                                                                                                       That's something
14
14       Q And
         Q    And your your rate
                               rate is
                                    is $650
                                        $650 an an hour?
                                                     hour?                      14    that II could
                                                                                14 that       could check
                                                                                                      check on,    but II don't
                                                                                                              on, but      don't know
                                                                                                                                   know
15
15       A    Yes, ma'am.
         A Yes,        ma'am.                                                   15    that.
                                                                                15 that.
16
16       Q How
         Q    How much  much have       you been
                                 have you      been paid?
                                                      paid?                     16
                                                                                16                MS. BOLGER:
                                                                                                  MS.   BOLGER: Okay.    Okay. Alexa,        can you
                                                                                                                                    Alexa, can    you put
                                                                                                                                                       put
17
17       A
         A II have
                 have not not sent
                                sent aa bill
                                        bill in
                                              in this
                                                  this case    yet. II
                                                        case yet.               17
                                                                                17 up up tab
                                                                                         tab 58    for me,
                                                                                               58 for        please?
                                                                                                       me, please?
18 have
18          not  done     anything
      have not done anything            so
                                        so  far.
                                            far.                                18
                                                                                18                MS. PASTOR:
                                                                                                  MS.   PASTOR: Just    Just aa ----
19
19       Q Okay.
         Q    Okay. How    How much
                                  much do       you expect
                                           do you     expect to to charge?
                                                                   charge?      19
                                                                                19 BY BY MS.
                                                                                           MS. BOLGER:
                                                                                                  BOLGER:
20
20       A
         A II -- -- II don't
                       don't know.
                                know. So       far, other
                                          So far,    other than
                                                             than               20
                                                                                20       Q This
                                                                                         Q            is the
                                                                                                This is  the --  as you'll
                                                                                                              -- as   you'll see,
                                                                                                                              see, I'm    going to
                                                                                                                                     I'm going   to
21 preparing
21    preparing forfor this
                         this deposition,
                               deposition, I've -- I have expended
                                                I've  -- I  have  expended      21 mark
                                                                                21    mark as as Exhibit
                                                                                                 Exhibit 431,
                                                                                                           431, aa letter    I  received    on October
                                                                                                                     letter I received on October
22 less
22         than ten
      less than   ten hours
                        hours on on this
                                     this case,
                                           case, and
                                                   and II have
                                                            have not
                                                                  not           22 10,
                                                                                22    10, 2022,    which as
                                                                                          2022, which       as you
                                                                                                               you seesee is   from Jason
                                                                                                                           is from     Jason Greaves
                                                                                                                                              Greaves OfOf
                                                                    Page
                                                                    Page 19
                                                                         19                                                                      Page
                                                                                                                                                 Page 21
                                                                                                                                                      21
  11 totaled
      totaled my
              my hours
                  hours forfor preparing     for this
                                 preparing for    this deposition
                                                        deposition        1 Counsel in the top right corner from the Binnall Law
 22 today.
      today. And
              And ofof course,
                       course, there's
                                   there's the
                                           the taking
                                                 taking ofof the
                                                             the          2 Group. The subject line is "Objection to subpoena
  33 deposition
      deposition today.
                  today.                                                  3 duces tecum issued to Tracy Diaz, Flynn vs. CNN, No.
  44     Q Okay.
         Q    Okay. AndAnd the the preparation     time for
                                    preparation time      for the
                                                              the         4 1:21-cv-2587 (S.D.N.Y.)." And it begins: "Dear
  55 deposition,
      deposition, do
                   do you
                       you expect
                              expect toto be
                                          be more
                                               more oror less
                                                         less than
                                                               than ten
                                                                     ten 5 Ms. Bolger, I represent Tracy Diaz regarding the
 66 hours?
      hours?                                                              6 unhinged subpoena you have issued to her in the above-
  77     A
         A ForFor the
                   the preparation
                        preparation timetime itit will
                                                  will be
                                                       be less.
                                                           less.          7 captioned case. The purpose of this letter is to raise
 8 8     Q Okay.
         Q    Okay.                                                       8 legal objections to the vastly overbroad and invasive
   99    A
         A AndAnd II certainly
                      certainly hope      the taking
                                    hope the   taking ----                9 third-party discovery requests - over 200 in total -
10
10       Q Sorry.
         Q    Sony. Certainly,        what?
                       Certainly, what?                                  10 that you seek to impose on Ms. Diaz. She will not be
11
11       A
         A AndAnd II hope
                      hope thethe taking
                                   taking of   the deposition
                                           of the   deposition as as     11 responding to those requests as written." Do you see
12    well, so
12 well,    so --
               --                                                        12 that?
13
13       Q You
         Q    You know,
                    know, I'm I'm known
                                   known forfor mymy long
                                                      long depositions
                                                             depositions 13           (Exhibit 431 was marked for
14
14 Mr.Mr. Binnall,
           Binnall, but
                     but II don't
                            don't think
                                    think I've
                                           I've got
                                                 got that
                                                      that much    for
                                                            much for     14           identification.)
15
15 youyou today,
           today, so
                  so I'm    sorry to
                      I'm sorry     to disappoint.
                                       disappoint.                       15    A Yes, I see that.
16
16           So you have
             So you   have aa colleague
                                 colleague named
                                              named Jason
                                                       Jason Greaves;
                                                               Greaves; 16      Q Okay. Were you aware that this letter was
17
17 right?
      right?                                                             17 sent to me?
18
18       A    Yes, that's
         A Yes,     that's right.
                             right.                                      18    A I -- I was aware that we represent -- and
19
19       Q Okay.
         Q    Okay. AndAnd how how many      folks are
                                     many folks      are in your law
                                                         in your  law 19 Jason specifically, represents Tracy Diaz. And I -- I
20 firm?
20    firm?                                                              20 believe that I -- I knew about this specific
21
21       A    Nine.
         A Nine.                                                         21 representation. I did not review this letter.
22
22       Q All
         Q    All partners
                  partners --  --                                        22     Q Okay. Sorry. I thought about it a minute

                                                                                                                                6 (Pages
                                                                                                                                6 (Pages 18
                                                                                                                                         18 -- 21)
                                                                                                                                               21)
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                                                             Page 22
                                                                  22                                                                 Page
                                                                                                                                     Page 24
                                                                                                                                          24
 11 ago,
    ago, you
         you said you didn't
             said you        remember it.
                      didn't remember     Has this
                                      it. Has this                      11    A
                                                                              A    Yes. Sidney
                                                                                   Yes.        was lead
                                                                                        Sidney was lead counsel
                                                                                                        counsel in the case.
                                                                                                                in the case.
 22 refreshed
    refreshed your
              your memory?
                   memory?                                              22    Q
                                                                              Q    Okay. And
                                                                                   Okay. And Molly
                                                                                             Molly McCann?
                                                                                                   McCann?
 33    A
       A      This is
              This is --
                      -- this
                         this has
                              has refreshed
                                  refreshed my
                                            my                          33    A
                                                                              A    Yes, ma'am.
                                                                                   Yes, ma'am.
 44 recollection
    recollection of
                 of course. A minute
                    course. A minute ago,
                                     ago, you
                                          you said
                                              said aa                   44    Q And
                                                                              Q And Ms.
                                                                                    Ms. McCann
                                                                                        McCann used to work
                                                                                               used to work at
                                                                                                            at Ms.
                                                                                                               Ms. Powell's
                                                                                                                   Powell's
 55 third-party.
    third-party. Now
                 Now that
                     that that
                          that third-party
                               third-party has
                                           has been
                                               been                     55 shop and now
                                                                           shop and now works
                                                                                        works at
                                                                                              at yours;
                                                                                                 yours; correct?
                                                                                                        correct?
 66 identified, it has
    identified, it has refreshed
                       refreshed my
                                 my recollection.
                                    recollection.                       66    A
                                                                              A    Yeah. That's
                                                                                   Yeah.        correct. She's
                                                                                         That's correct.       an Of
                                                                                                         She's an Of Counsel
                                                                                                                     Counsel
 7
 7     Q
       Q      Okay. Does
              Okay. Does your
                         your firm
                              firm represent
                                   represent Ms.
                                             Ms. Diaz
                                                 Diaz in
                                                      in                7 in
                                                                        7    my shop.
                                                                          in my shop.
 8 aa bunch
 8    bunch of
            of contexts? In other
               contexts? In       words, is
                            other words, is she
                                            she aa regular
                                                   regular              8
                                                                        8     Q And
                                                                              Q And what
                                                                                    what is your opinion
                                                                                         is your opinion of
                                                                                                         of General Flynn?
                                                                                                            General Flynn?
 99 client?
    client?                                                             99    A
                                                                              A    He's aa great
                                                                                   He's          American.
                                                                                           great American.
10
10     A
       A      II believe
                 believe we
                         we --
                            -- we
                               we represent her in
                                  represent her    more
                                                in more                10
                                                                       10     Q And
                                                                              Q And have
                                                                                    have you
                                                                                         you met
                                                                                             met members
                                                                                                 members of his family?
                                                                                                         of his family?
11 than
11 than one
        one matter.
            matter.                                                    11
                                                                       11     A
                                                                              A    Yes, II have.
                                                                                   Yes,    have.
12
12              MS. BOLGER:
                MS. BOLGER: Okay.
                            Okay. You
                                  You can -- Alexa,
                                      can -- Alexa,                    12
                                                                       12     Q
                                                                              Q    Who have
                                                                                   Who have you
                                                                                            you met?
                                                                                                met?
13 take
13 take that
        that down,
             down, please. Thank you
                   please. Thank you very much.
                                     very much.                        13
                                                                       13     A
                                                                              A    I've met
                                                                                   I've met aa number
                                                                                               number of
                                                                                                      of members
                                                                                                         members of
                                                                                                                 of his
                                                                                                                    his family.
                                                                                                                        family.
14 BY
14 BY MS.
      MS. BOLGER:
          BOLGER:                                                      14 Over four
                                                                       14 Over four years,
                                                                                    years, I've
                                                                                           I've met
                                                                                                met aa number
                                                                                                       number of them. So
                                                                                                              of them.    rather
                                                                                                                       So rather
15
15     Q
       Q      You also
              You also represent
                       represent General
                                 General Glynn;
                                         Glynn; correct?
                                                correct?               15 than just
                                                                       15 than just give
                                                                                    give you
                                                                                         you aa laundry
                                                                                                laundry list, who specifically
                                                                                                        list, who specifically
16
16     A
       A      Yes, ma'am.
              Yes, ma'am.                                              16 are you
                                                                       16 are you wondering
                                                                                  wondering about?
                                                                                            about?
17
17     Q And
       Q And how
             how long
                 long have
                      have you
                           you done
                               done that?
                                    that?                              17
                                                                       17     Q
                                                                              Q    Well, II would
                                                                                   Well,    would take
                                                                                                  take the
                                                                                                       the laundry
                                                                                                           laundry list. But
                                                                                                                   list. But
18
18     A
       A      Since June
              Since      of 2019.
                    June of 2019.                                      18 have you
                                                                       18 have you met
                                                                                   met Joe Flynn?
                                                                                       Joe Flynn?
19
19     Q And
       Q And obviously
             obviously without
                       without revealing
                               revealing any client
                                         any client                    19
                                                                       19     A
                                                                              A    Yes.
                                                                                   Yes.
20 communications,
20                 which I'm
   communications, which I'm not
                             not interested
                                 interested in at all,
                                            in at all,                 20
                                                                       20     Q
                                                                              Q    Have you
                                                                                   Have you met
                                                                                            met Barbara
                                                                                                Barbara Flynn
                                                                                                        Flynn Redgate?
                                                                                                              Redgate?
21 how
21 how did it come
       did it come to
                   to pass that you
                      pass that you ended up representing
                                    ended up representing              21
                                                                       21     A Yes.
                                                                              A Yes.
22 General
22         Flynn?
   General Flynn?                                                      22
                                                                       22     Q
                                                                              Q    Have you
                                                                                   Have you met
                                                                                            met Jack Flynn?
                                                                                                Jack Flynn?
                                                             Page
                                                             Page 23
                                                                  23                                                                 Page
                                                                                                                                     Page 25
                                                                                                                                          25
 11    A
       A      II was
                 was engaged to help
                     engaged to help him
                                     him regarding the case
                                         regarding the case             11     A    Yes.
                                                                               A Yes.
 22 that
    that was
         was ultimately
             ultimately --
                        -- the
                           the Department
                               Department of
                                          of Justice
                                             Justice                    2
                                                                        2      Q Have
                                                                               Q    Have you  you met   Leslie Flynn?
                                                                                                   met Leslie    Flynn?
 33 ultimately
    ultimately moved
               moved to
                     to dismiss
                        dismiss the
                                the case against him
                                    case against him and
                                                     and                33     A    Yes, II believe
                                                                               A Yes,          believe so.
                                                                                                        so.
 44 where
    where President
          President Trump then pardoned
                    Trump then pardoned him
                                        him on
                                            on --
                                               -- brought
                                                  brought               44     Q Have
                                                                               Q    Have you  you met
                                                                                                   met Valerie    Flynn? It's
                                                                                                        Valerie Flynn?       It's Joe
                                                                                                                                  Joe
 55 by
    by the
       the special
           special counsel.
                   counsel.                                             55 Flynn's
                                                                           Flynn's wife
                                                                                     wife among
                                                                                             among other
                                                                                                      other --
                                                                                                             --
 66    Q
       Q      So you were
              So you were engaged
                          engaged to
                                  to represent
                                     represent General
                                               General                  6
                                                                        6      A    Yes. Yes.
                                                                               A Yes.         Yes. Yes.
                                                                                                     Yes. That's
                                                                                                            That's right.
                                                                                                                     right. I've
                                                                                                                             I've met
                                                                                                                                   met
 7 Flynn
 7 Flynn in the actual
         in the actual criminal prosecution; correct?
                       criminal prosecution; correct?                   7 Valerie,
                                                                        7              yes.
                                                                           Valerie, yes.
 8
 8     A
       A      Correct, yes.
              Correct, yes. In
                            In the
                               the criminal
                                   criminal case.
                                            case.                       8
                                                                        8      Q And
                                                                               Q    And how       about Lori
                                                                                             how about    Lori Flynn?
                                                                                                                 Flynn?
 99    Q
       Q      And you
              And you were
                      were engaged -- and
                           engaged -- and forgive me if
                                          forgive me if                 99     A    Yes.
                                                                               A Yes.
10 I've
10 I've got
        got my
            my timing
               timing wrong
                      wrong --
                            -- after
                               after General Flynn took
                                     General Flynn took                10
                                                                       10      Q And
                                                                               Q    And wherewhere have    you met
                                                                                                     have you          the Flynns?
                                                                                                                 met the   Flynns?
11 the
11 the plea
       plea deal;
            deal; right?
                  right?                                               11
                                                                       11      A
                                                                               A I've
                                                                                    I've met     them at
                                                                                            met them    at my   office. II have
                                                                                                           my office.       have met   them
                                                                                                                                   met them
12
12     A
       A      That --
              That -- it was after
                      it was after the
                                   the --
                                       -- the
                                          the plea and so
                                              plea and so              12  at other
                                                                       12 at  other locations.
                                                                                      locations. II have
                                                                                                      have met     them at
                                                                                                             met them     at political
                                                                                                                             political
13 we
13 we represented
      represented him
                  him --
                      -- yes,
                         yes, after
                              after that
                                    that point.
                                         point. The
                                                The plea
                                                    plea               13
                                                                       13 events.
                                                                           events. I've
                                                                                      I've seen    them on
                                                                                             seen them    on aa number
                                                                                                                number of  of occasions
                                                                                                                               occasions over
                                                                                                                                          over
14 was
14 was something that was
       something that was handled by Covington
                          handled by           and
                                     Covington and                     14  the last
                                                                       14 the  last four
                                                                                     four years.
                                                                                             years.
15 Burling.
15 Burling. And
            And once he ended
                once he       the representation
                        ended the                of
                                  representation of                    15
                                                                       15      Q And
                                                                               Q             you've mentioned
                                                                                    And you've       mentioned at   at your
                                                                                                                       your office.
                                                                                                                             office. And
                                                                                                                                       And
16 Covington
16 Covington and
             and Burling,
                 Burling, that's
                          that's when
                                 when we
                                      we were
                                         were brought
                                              brought in.
                                                      in.              16  again, I'm
                                                                       16 again,   I'm not
                                                                                         not looking
                                                                                               looking toto intrude
                                                                                                            intrude on on attorney
                                                                                                                          attorney client
                                                                                                                                     client
17
17     Q
       Q      Okay. And
              Okay. And the
                        the "we" you're referring
                            "we" you're referring to
                                                  to is
                                                     is --             17  communications, but
                                                                       17 communications,          but have    you   represented
                                                                                                        have you represented any of any of the
                                                                                                                                            the
18 -- I'm
18    I'm sorry, Mr. Birmall,
          sorry, Mr. Binnall, I'm
                              I'm in
                                  in between
                                     between glasses.
                                             glasses. So
                                                      So               18 individual
                                                                       18                Flynn family
                                                                           individual Flynn       family members
                                                                                                           members II just
                                                                                                                         just mentioned?
                                                                                                                                mentioned?
19 II apologize
19    apologize for making weird
                for making weird head
                                 head bobbing
                                      bobbing noise
                                              noise at
                                                    at                 19
                                                                       19      A
                                                                               A II -- -- II would
                                                                                             would say
                                                                                                     say that
                                                                                                          that we
                                                                                                                we have    an attorney
                                                                                                                     have an    attorney
20 you.
20 you.                                                                20 client
                                                                       20  client relationship
                                                                                  relationship with with Lori
                                                                                                          Lori Flynn.
                                                                                                                 Flynn. And
                                                                                                                          And II dodo not
                                                                                                                                      not
21
21     Your co-counsel were
       Your co-counsel were Sidney Powell; is
                            Sidney Powell;    that
                                           is that                     21 believe,
                                                                       21  believe, sitting
                                                                                      sitting here    today, that
                                                                                                here today,    that we
                                                                                                                     we have
                                                                                                                         have had    an
                                                                                                                                 had an
22 right?
22 right? Your
          Your co-counsel was Sidney
               co-counsel was        Powell?
                              Sidney Powell?                           22 attorney
                                                                       22  attorney client
                                                                                       client relationship     with any
                                                                                                relationship with     any of
                                                                                                                           of those
                                                                                                                               those other
                                                                                                                                      other

                                                                                                                     7 (Pages
                                                                                                                     7 (Pages 22
                                                                                                                              22 -- 25)
                                                                                                                                    25)
                                          Veritext Legal
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                                                         Solutions
                        215-241-1000 ~
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                                                                                                                                                  28
 1 individuals, certainly not in their individual                            11 that
                                                                                 that money
                                                                                      money was  was coming      through --
                                                                                                      coming through        -- my    understanding
                                                                                                                                my understanding
 2 capacity.                                                                22 without
                                                                                 without guessing,
                                                                                           guessing, but but my    understanding is
                                                                                                              my understanding         is that
                                                                                                                                          that --
                                                                                                                                                --
 3    Q What do you mean by that? What do you mean                           33 well,
                                                                                 well, actually,
                                                                                       actually, you you know,
                                                                                                          know, what?
                                                                                                                   what? I'm I'm not
                                                                                                                                   not going   to
                                                                                                                                        going to
 4 by "certainly not in their capacity"? They are                            44 guess.
                                                                                 guess. I'll   just say
                                                                                          I'll just  say that
                                                                                                          that the
                                                                                                               the checks
                                                                                                                    checks camecame from
                                                                                                                                       from lead
                                                                                                                                             lead
 5 individuals. You represent some Flynn family                              55 counsel
                                                                                 counsel in    that case.
                                                                                           in that   case.
 6 something? You know, some kind of business or                            66       Q Okay.
                                                                                     Q    Okay. And  And lead    counsel in
                                                                                                           lead counsel         the case
                                                                                                                            in the   case was
                                                                                                                                           was
 7 non-profit and you're saying that you don't represent                     77 Sidney    Powell?
                                                                                 Sidney Powell?
 8 them personally, but you do represent the non-profit?                    8 8      A    Yes, ma'am.
                                                                                     A Yes,       ma'am.
 9      A I'm saying, you know, whether I have --                             99     Q And
                                                                                     Q    And how how much     was your
                                                                                                        much was     your lawlaw firm
                                                                                                                                   firm paid?
                                                                                                                                         paid?
10 without doing a full conflict search right now and so,                  10
                                                                           10        A
                                                                                     A Oh,Oh, II don't
                                                                                                   don't know,
                                                                                                         know, ma'am.
                                                                                                                  ma'am. II couldn't
                                                                                                                                couldn't tell
                                                                                                                                           tell
11 answering your question as truthfully, what I'm trying                  11
                                                                           11 youyou sitting
                                                                                      sitting here    today how
                                                                                                here today    how much
                                                                                                                    much the the total
                                                                                                                                   total bills
                                                                                                                                         bills were
                                                                                                                                               were
12 to -- to think specifically in my head is whether we                    12
                                                                           12 in    that case.
                                                                                 in that case.
13 have an attorney client relationship with any entities                  13
                                                                           13        Q Can
                                                                                     Q    Can youyou give
                                                                                                       give me
                                                                                                             me aa ballpark
                                                                                                                    ballpark figure?
                                                                                                                                figure? WasWas it it
14 on which they may be a client representative. And I                     14
                                                                           14 more      than $50?
                                                                                 more than     $50?
15 don't know that sitting here today whether that would                   15
                                                                           15        A
                                                                                     A It It certainly
                                                                                             certainly waswas more    than $50.
                                                                                                               more than      $50. There
                                                                                                                                      There ----
16 be the case.                                                            16    there was
                                                                           16 there    was aa lot    --
                                                                                                 lot --
17      But I -- as far as my memory right here without                    17
                                                                           17        Q Was
                                                                                     Q    Was it  it more   than half
                                                                                                     more than          --
                                                                                                                  half --
18 thinking of any particular matters, I do not think                      18
                                                                           18        A
                                                                                     A I'm      sorry?
                                                                                          I'm sorry?
19 that other than General Flynn and Lori Flynn, that we                   19
                                                                           19        Q Was
                                                                                     Q    Was it  it more   than half
                                                                                                     more than    half aa million    dollars?
                                                                                                                           million dollars?
20 have an attorney client relationship with any other                     20
                                                                           20        A
                                                                                     A II dodo not    believe so,
                                                                                                 not believe    so, no.
                                                                                                                    no.
21 Flynn family member.                                                    21
                                                                           21        Q Okay. Somewhere between 250
                                                                                     Q    Okay.      Somewhere      between            and 500?
                                                                                                                                 250 and    500?
22    Q Okay. And when did President Trump pardon                          22
                                                                           22        A    Don't know.
                                                                                     A Don't       know. Don't
                                                                                                             Don't know
                                                                                                                    know as  as I'm
                                                                                                                                 I'm sitting
                                                                                                                                      sitting here
                                                                                                                                               here
                                                                 Page
                                                                 Page 27
                                                                      27                                                                     Page
                                                                                                                                             Page 29
                                                                                                                                                  29
  11 General    Flynn to
      General Flynn     to the
                            the best
                                 best of   your memory?
                                       of your   memory?                      11 today.
                                                                                 today. I'dI'd have
                                                                                               have toto --
                                                                                                         -- I'd
                                                                                                            I'd have
                                                                                                                 have toto look
                                                                                                                           look at at our
                                                                                                                                      our
 22       A
          A About      Thanksgiving of
               About Thanksgiving          of 2020.
                                              2020.                          22 billing,
                                                                                 billing, of
                                                                                           of course,
                                                                                               course, toto tell
                                                                                                            tell you
                                                                                                                  you how
                                                                                                                       how muchmuch it    was.
                                                                                                                                       it was.
  33      Q Okay.
          Q    Okay. So      you represented
                        So you    represented him       from June
                                                  him from     June ofof      33     Q And
                                                                                     Q     And youyou billed
                                                                                                       billed Ms.
                                                                                                                Ms. Powell
                                                                                                                     Powell directly?
                                                                                                                                directly?
  44 2019
      2019 toto about
                about Thanksgiving
                        Thanksgiving of    of 2020
                                              2020 in in the
                                                         the criminal
                                                              criminal        44     AA We       sent the
                                                                                           We sent    the invoices
                                                                                                           invoices to to her,   and she
                                                                                                                           her, and    she paid
                                                                                                                                             paid
  55 litigation;   correct?
      litigation; correct?                                                    55 them.
                                                                                 them.
 66       A
          A II believe
                 believe that
                          that the
                                the judge
                                     judge inin that
                                                 that case
                                                       case                  66      Q Okay.
                                                                                     Q     Okay. Are      you still
                                                                                                    Are you     still in
                                                                                                                      in touch
                                                                                                                         touch with
                                                                                                                                  with Ms.
                                                                                                                                         Ms.
  77 formerly
      formerly dismissed
                 dismissed the the matter    after the
                                    matter after    the pardon
                                                         pardon on on         77 Powell?
                                                                                 Powell?
 8 8 about
      about December
              December 8th      of 2020.
                           8th of   2020. And      so, it
                                             And so,       was at
                                                        it was   at that
                                                                    that     8 8     AA II have
                                                                                             have not   talked to
                                                                                                    not talked    to Ms.
                                                                                                                     Ms. Powell
                                                                                                                           Powell in  in over
                                                                                                                                          over aa
   99 point
      point that
             that II would
                     would say
                             say that
                                  that matter
                                        matter concluded
                                                 concluded afterafter the
                                                                      the 99 year.
                                                                                 year.
10
10 --    the order
      -- the order dismissing
                     dismissing thethe case    was --
                                        case was     -- was
                                                        was entered.
                                                              entered.      10
                                                                            10       Q Again,
                                                                                     Q              without getting
                                                                                           Again, without       getting into
                                                                                                                          into attorney
                                                                                                                                attorney client
                                                                                                                                             client
11
11        There
          There may
                  may have     been some
                        have been     some -- -- and
                                                 and II can
                                                        can almost
                                                              almost        11   communications, any
                                                                            11 communications,          any particular
                                                                                                              particular reason
                                                                                                                            reason youyou haven't
                                                                                                                                             haven't
12    guarantee that
12 guarantee       that there
                        there was
                                was probably
                                     probably follow
                                                  follow onon work
                                                                work that
                                                                       that 12   spoken to
                                                                            12 spoken      to Ms.
                                                                                               Ms. Powell?
                                                                                                    Powell?
13    probably needed
13 probably       needed toto be
                               be done
                                   done toto wind
                                             wind down       that
                                                     down that              13
                                                                            13       AA No,No, ma'am.
                                                                                                 ma'am.
14    litigation,  but that  was   the  effective   end
14 litigation, but that was the effective end day. It     day.   It         14
                                                                            14                MS.
                                                                                             MS.    BOLGER: Alexa,
                                                                                                   BOLGER:          Alexa, would
                                                                                                                              would youyou mind
                                                                                                                                              mind
15
15 waswas when
           when thethe --
                       -- when
                          when thethe order
                                       order ofof dismissal
                                                   dismissal waswas         15   putting up
                                                                            15 putting     up tab
                                                                                                tab 42  for me?
                                                                                                    42 for   me?
16
16 entered.
      entered.                                                              16
                                                                            16                MS. PASTOR:
                                                                                             MS.    PASTOR: Just   Just aa --
                                                                                                                            --
17
17        Q    Okay.    Were    you  paid   for
          Q Okay. Were you paid for that work?   that  work?                17
                                                                            17   BY
                                                                                 BY    MS.
                                                                                       MS.   BOLGER:
                                                                                             BOLGER:
18
18        A    Yes, ma'am.
          A Yes,      ma'am.                                                18
                                                                            18       Q Just
                                                                                     Q           the next
                                                                                           Just the  next page,     please. Just
                                                                                                            page, please.             for the
                                                                                                                               Just for    the
19
19        Q And
          Q          were you
               And were     you paid
                                  paid from
                                        from thethe legal
                                                     legal defense
                                                            defense         19
                                                                            19 record,     Exhibit 432
                                                                                 record, Exhibit     432 isis aa printout
                                                                                                                 printout of of aa tweet
                                                                                                                                   tweet youyou made.
                                                                                                                                                 made.
20 fund
20    fund that
            that General     Flynn established?
                  General Flynn      established?                           20
                                                                            20                (Exhibit 432
                                                                                             (Exhibit          was marked
                                                                                                         432 was     marked for for
21
21        A
          A II believe
                 believe so.
                          so. II think
                                  think that's
                                         that's --
                                                 -- II was
                                                       was paid
                                                            paid            21
                                                                            21                identification.)
                                                                                              identification.)
22 primarily
22    primarily through
                  through lead     counsel, and
                             lead counsel,     and II believe
                                                       believe that
                                                                 that       22
                                                                            22       II creeped
                                                                                        creeped onon your
                                                                                                      your tweeting,
                                                                                                             tweeting, Mr. Mr. Binnall.
                                                                                                                                 Binnall. And And

                                                                                                                            88 (Pages
                                                                                                                               (Pages 26
                                                                                                                                      26 -- 29)
                                                                                                                                            29)
                                          Veritext Legal
                                          Veritext Legal Solutions
                                                         Solutions
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                                                       302-571-0510 ~ 202-803-8830
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                                                             Page 30
                                                             Page 30                                                                 Page 32
                                                                                                                                     Page 32
  11 you'll
     you'll see
            see that
                that here's
                     here's aa tweet
                               tweet that
                                     that --
                                          -- the
                                             the initial
                                                 initial                11 trying
                                                                           trying to
                                                                                  to leverage
                                                                                      leverage him        against his
                                                                                                   him against     his --  against his
                                                                                                                       -- against   his
  22 tweet
     tweet is
           is from the President
              from the President saying
                                 saying "What
                                        "What happened to
                                              happened to               2 family.
                                                                        2  family.
  33 General Michael Glynn,
     General Michael Glynn, aa war
                               war hero,
                                   hero, should never be
                                         should never be                33    QQ Okay.
                                                                                    Okay.
  44 allowed
     allowed to
             to happen to aa citizen
                happen to            of the
                             citizen of the United
                                            United States
                                                   States               44     A
                                                                               A Very
                                                                                    Very sorry.
                                                                                            sorry.
  55 again!"
     again!"                                                            55    QQ Your
                                                                                    Your firm
                                                                                            firm also
                                                                                                   also represented
                                                                                                          represented General      Flynn in
                                                                                                                         General Flynn     in
  66    And you
        And you retweeted
                retweeted it and said
                          it and said --
                                      -- or
                                         or II guess your
                                               guess your               6 aa defamation
                                                                        6    defamation lawsuit         against aa person
                                                                                             lawsuit against        person named     Everett
                                                                                                                             named Everett
  7 quote
  7       tweeted it
    quote tweeted    and said:
                  it and said: "The President knows
                               "The President knows that
                                                    that                7 Stern;
                                                                        7  Stern; correct?
                                                                                  correct?
  8 General
  8         Flynn is
    General Flynn    one of
                  is one of the
                            the finest men that
                                finest men that you'll
                                                you'll                  8
                                                                        8      A
                                                                               A That's       correct.
                                                                                    That's correct.
  99 ever meet in
     ever meet in your
                  your life. He always
                       life. He always put his country
                                       put his country                  99    QQ And       what was
                                                                                    And what       was that
                                                                                                         that defamation     lawsuit about?
                                                                                                               defamation lawsuit      about?
 10 before
 10 before himself.
           himself. That he and
                    That he and his
                                his family
                                    family should have
                                           should have                 10
                                                                       10      A
                                                                               A AndAnd to to be
                                                                                               be --  to be
                                                                                                   -- to  be sure
                                                                                                             sure that
                                                                                                                   that II am
                                                                                                                           am clear   on
                                                                                                                               clear on
 11 been
 11 been put
         put through
             through this
                     this hell
                          hell is an infuriating
                               is an             disgrace.
                                     infuriating disgrace.             11 this,
                                                                       11  this, my  firm represented
                                                                                 my firm     represented him him in   the Flynn
                                                                                                                   in the  Flynn vs.
                                                                                                                                   vs. Stern
                                                                                                                                       Stern
 12 It
 12 It should
       should never
              never happen
                    happen again."
                           again." Do
                                   Do you
                                      you see
                                          see that?
                                              that?                    12  case. I,
                                                                       12 case.   I, myself,
                                                                                     myself, waswas notnot counsel
                                                                                                            counsel ofof record   in that
                                                                                                                          record in  that
 13
 13     A
        A      It should
               It        never ever
                  should never      happen again,
                               ever happen again, yes.
                                                  yes.                 13  case. But
                                                                       13 case.   But itit had
                                                                                           had toto --
                                                                                                     -- it
                                                                                                        it had  to do
                                                                                                           had to      with defamatory
                                                                                                                   do with   defamatory
 14
 14     Q
        Q      Sorry. II forgot
               Sorry.           the "ever."
                         forgot the "ever." II apologize.
                                               apologize.              14  statements made
                                                                       14 statements     made by  by Mr.
                                                                                                      Mr. Stern    against General
                                                                                                            Stern against              Flynn,
                                                                                                                             General Flynn,
 15 II creeped
 15            wrongly on
       creeped wrongly on your
                          your tweeting,
                               tweeting, Mr.
                                         Mr. Birmall.
                                             Binnall. II               15  accusing him
                                                                       15 accusing    him of of aa number
                                                                                                   number of  of things.
                                                                                                                  things. And
                                                                                                                            And II don't
                                                                                                                                    don't --
                                                                                                                                          -- II
 16 apologize.
 16 apologize.                                                         16  couldn't tell
                                                                       16 couldn't   tell you
                                                                                           you based
                                                                                                 based on  on my
                                                                                                              my memory       alone and
                                                                                                                   memory alone      and what
                                                                                                                                          what
 17
 17     A No
        A No worries.
             worries.                                                  17  the averments
                                                                       17 the  averments were were in in that
                                                                                                          that complaint.
                                                                                                               complaint. II could
                                                                                                                               could
 18
 18     Q
        Q      Do you
               Do you agree
                      agree with
                            with that
                                 that sentiment?
                                      sentiment?                       18 certainly
                                                                       18  certainly refresh
                                                                                      refresh my       recollection.
                                                                                                 my recollection.
 19
 19     A
        A      Yes, II do.
               Yes,    do.                                             19
                                                                       19     QQ Okay.
                                                                                    Okay.
 20
 20     Q
        Q      Why did
               Why     you include
                   did you         his family
                           include his family in the tweet?
                                              in the tweet?            20
                                                                       20             MS. BOLGER:
                                                                                      MS.     BOLGER: Alexa,  Alexa, would
                                                                                                                       would you
                                                                                                                               you mind
                                                                                                                                     mind
 21
 21     A II included
        A    included his
                      his family in that
                          family in that --
                                         -- in that
                                            in that                    21  please  putting    up  tab
                                                                       21 please putting up tab 49?     49?
 22 tweet
 22 tweet because what he
          because what he and
                          and his
                              his family
                                  family went
                                         went through
                                              through was
                                                      was              22
                                                                       22             It's very
                                                                                      It's  very exciting
                                                                                                   exciting waiting
                                                                                                               waiting for
                                                                                                                        for the
                                                                                                                             the
                                                             Page 31
                                                             Page 31                                                                 Page 33
                                                                                                                                     Page 33
  11 --
     -- was
        was quite incredible. There's
            quite incredible. There's specific things in
                                      specific things in                11 exhibits to load.
                                                                           exhibits to       It's like
                                                                                       load. It's      a, you
                                                                                                  like a, you know,
                                                                                                              know, on the edge
                                                                                                                    on the edge
  22 the
     the litigation that involved
         litigation that          his fam@
                         involved his family and
                                             and what
                                                 what the
                                                      the               22 of
                                                                           of your
                                                                              your seat kind of
                                                                                   seat kind of thing.
                                                                                                thing.
  33 Special Counsel's Office
     Special Counsel's Office did
                              did inappropriately with his
                                  inappropriately with his              33 BY
                                                                           BY MS.
                                                                              MS. BOLGER:
                                                                                  BOLGER:
  44 family.
     family.                                                            44    Q
                                                                              Q     Okay. This
                                                                                    Okay. This is Exhibit 433.
                                                                                               is Exhibit 433. It
                                                                                                               It
  55    Q
        Q      Can you
               Can you tell
                       tell me
                            me more
                               more about
                                    about that,
                                          that, please?
                                                please?                 55 is another printout
                                                                           is another printout of
                                                                                               of aa tweet.
                                                                                                     tweet.
  66    A
        A      Sure.
               Sure. The
                     The Special Counsel's Office
                         Special Counsel's Office                       66           (Exhibit 433
                                                                                     (Exhibit 433 was
                                                                                                  was marked
                                                                                                      marked for
                                                                                                             for
  7 threatened
  7 threatened to
               to prosecute
                  prosecute his
                            his son.
                                son. And
                                     And overtly,
                                         overtly, they
                                                  they --
                                                       --               7
                                                                        7            identification.)
                                                                                     identification.)
  8 it
  8    was very
    it was very clear that they
                clear that they --
                                -- did
                                   did that
                                       that to
                                            to convince
                                               convince                 8
                                                                        8            MS. BOLGER:
                                                                                     MS. BOLGER: If
                                                                                                 If you
                                                                                                    you can
                                                                                                        can look at the
                                                                                                            look at the
  99 General Flynn to
     General Flynn to give
                      give them
                           them aa proffer. And within
                                   proffer. And within the
                                                       the              99 next
                                                                           next --
                                                                                -- go
                                                                                   go to
                                                                                      to the
                                                                                         the next
                                                                                             next page, Alexa.
                                                                                                  page, Alexa.
 10 course
 10        of our
    course of     representation, it
              our representation, it came out that
                                     came out that the
                                                   the                 10 BY MS.
                                                                       10 BY MS. BOLGER:
                                                                                 BOLGER:
 11 Special
 11         Counsel's Office
    Special Counsel's Office and the --
                             and the -- General Flynn's
                                        General Flynn's                11
                                                                       11     Q
                                                                              Q     Okay. So
                                                                                    Okay.    here is
                                                                                          So here    the --
                                                                                                  is the -- your
                                                                                                            your tweet
                                                                                                                 tweet was:
                                                                                                                       was:
 12 counsel
 12         had aa handshake
    counsel had    handshake agreement
                             agreement to
                                       to not
                                          not prosecute
                                              prosecute                12
                                                                       12 "Note to the
                                                                          "Note to the left:
                                                                                       left: the
                                                                                             the days
                                                                                                 days of
                                                                                                      of being
                                                                                                         being free to impugn
                                                                                                               free to impugn
 13 Michael
 13 Michael Flynn
            Flynn Jr., if General
                  Jr., if         Flynn would
                          General Flynn would --
                                              -- would
                                                 would                 13
                                                                       13 General Flynn's good
                                                                          General Flynn's good character are over.
                                                                                               character are       Today,
                                                                                                             over. Today,
 14 plead
 14 plead guilty to the
          guilty to the one
                        one count under 18
                            count under 18 USC
                                           USC 1001.
                                               1001.                   14
                                                                       14 @GenFlynn
                                                                          @GenFlynn settled his defamation
                                                                                    settled his defamation lawsuit
                                                                                                           lawsuit against
                                                                                                                   against
 15
 15     Handshake deals,
        Handshake        things that
                  deals, things that aren't
                                     aren't put
                                            put out
                                                out in
                                                    in aa              15 Everett Stern
                                                                       15 Everett Stem for
                                                                                        for $150K. From here
                                                                                            $150K. From here forward, if you
                                                                                                             forward, if you
 16 plea
 16 plea agreement
         agreement are
                   are absolutely
                       absolutely inappropriate. It's
                                  inappropriate. It's                  16 want to
                                                                       16 want to defame
                                                                                  defame an American her,
                                                                                         an American      have your
                                                                                                     her, have your checkbook
                                                                                                                    checkbook
 17 something
 17           that the
    something that the Special
                       Special Counsel's
                               Counsel's Office
                                         Office knew,
                                                knew,                  17 ready."
                                                                       17 ready."
 18 Covington
 18 Covington and
              and Burling
                  Burling knew.
                          knew. It
                                It was
                                   was something that was
                                       something that was              18
                                                                       18     And General
                                                                              And         Flynn quotes
                                                                                  General Flynn        you saying:
                                                                                                quotes you saying: "@jbinnall
                                                                                                                   "@jbinnall
 19 --
 19 -- that
       that was
            was absolutely
                absolutely inappropriate
                           inappropriate for
                                         for them
                                             them to
                                                  to do
                                                     do                19
                                                                       19 You're right, those
                                                                          You're right, those days are over.
                                                                                              days are over. Thank you and
                                                                                                             Thank you and your
                                                                                                                           your
 20 that.
 20 that.                                                              20 entire
                                                                       20        team of
                                                                          entire team of warriors
                                                                                         warriors willing
                                                                                                  willing to
                                                                                                          to wage
                                                                                                             wage these
                                                                                                                  these
 21
 21     So that's aa --
        So that's    -- II think,
                           think, one
                                  one of
                                      of the
                                         the biggest
                                             biggest                   21 necessary
                                                                       21 necessary legal battles." Do
                                                                                    legal battles." Do you
                                                                                                       you see that?
                                                                                                           see that?
 22 examples
 22          of what
    examples of what his
                     his family had to
                         family had to endure
                                       endure with
                                              with them
                                                   them                22
                                                                       22     A
                                                                              A     Yes.
                                                                                    Yes.

                                                                                                                     99 (Pages
                                                                                                                        (Pages 30
                                                                                                                               30 -- 33)
                                                                                                                                     33)
                                           Veritext Legal
                                           Veritext Legal Solutions
                                                          Solutions
                         215-241-1000 ~
                         215-241-1000 — 610-434-8588
                                        610-434-8588 -~ 302-571-0510
                                                        302-571-0510 ~ 202-803-8830
                                                                       202-803-8830
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                                                                 Page 34
                                                                 Page 34                                                                      Page 36
                                                                                                                                              Page 36
   11     Q Okay.
          Q    Okay. Did Did youyou have
                                      have aa agreement
                                               agreement withwith the
                                                                    the     11 tab.
                                                                               tab. Can
                                                                                    Can you
                                                                                        you see
                                                                                            see what
                                                                                                what the
                                                                                                     the next
                                                                                                         next page
                                                                                                              page is
                                                                                                                   is just
                                                                                                                      just to
                                                                                                                           to make
                                                                                                                              make
  22 Plaintiffs
       Plaintiff's counsel
                   counsel thatthat you
                                     you guys
                                          guys were
                                                 were allowed
                                                         allowed to to      22 sure
                                                                               sure II got this right?
                                                                                       got this right? Yeah.
                                                                                                       Yeah. That's right.
                                                                                                             That's right.
   33 tweet
       tweet about
              about the
                     the dollar
                           dollar amount?
                                    amount?                                 33 BY
                                                                               BY MS.
                                                                                  MS. BOLGER:
                                                                                      BOLGER:
   44     A
          A There
               There -- -- actually,
                           actually, there
                                        there was
                                               was aa specific
                                                       specific             44     Q
                                                                                   Q    Okay. So
                                                                                        Okay. So for the record,
                                                                                                 for the record, Exhibit
                                                                                                                 Exhibit 434
                                                                                                                         434 is
                                                                                                                             is
   55 agreement
       agreement that
                    that there
                          there would
                                  would not     be aa confidentiality
                                            not be    confidentiality       55 another
                                                                               another tweet
                                                                                       tweet of
                                                                                             of yours,
                                                                                                yours, Mr.
                                                                                                       Mr. Birmall,
                                                                                                           Binnall, which
                                                                                                                    which says
                                                                                                                          says "The
                                                                                                                               "The
  66 agreement
       agreement in     that --
                    in that   -- in  that settlement.
                                 in that  settlement.                       66 Binnall
                                                                               Binnall Law
                                                                                       Law Group (@BinnallLaw) just
                                                                                           Group (@BirmallLaw) just filed
                                                                                                                    filed aa $50
                                                                                                                             $50
   77     Q And
          Q    And youyou don't
                            don't remember
                                    remember whatwhat thethe alleged
                                                              alleged       7 million
                                                                            7 million lawsuit to hold
                                                                                      lawsuit to hold the
                                                                                                      the government
                                                                                                          government accountable
                                                                                                                     accountable for
                                                                                                                                 for
  8 8 defamatory
       defamatory claims
                     claims were?
                                were?                                       8 their
                                                                            8 their politically
                                                                                    politically motivated
                                                                                                motivated persecution
                                                                                                          persecution of
                                                                                                                      of an
                                                                                                                         an American
                                                                                                                            American
    99    A
          A II could
                 could refresh
                          refresh mymy recollection
                                         recollection on  on it.
                                                             it. If
                                                                  If        99 hero,
                                                                               hero, @GenFlynn." And then
                                                                                     @GenFlynn." And then it
                                                                                                          it says,
                                                                                                             says, "Read
                                                                                                                   "Read it here."
                                                                                                                         it here."
 10
 10 youyou give
            give me
                  me moment,
                       moment, I'd      be happy
                                    I'd be           to.
                                             happy to.                     10
                                                                           10      And then
                                                                                   And then if you see,
                                                                                            if you      you then
                                                                                                   see, you then reply
                                                                                                                 reply to
                                                                                                                       to your
                                                                                                                          your tweet
                                                                                                                               tweet
 11
 11       Q II can
          Q      can do
                      do that
                           that too.
                                 too. II just
                                          just wondered
                                                wondered if     you
                                                             if you        11
                                                                           11 saying:
                                                                              saying: "What the Deep
                                                                                      "What the Deep State did to
                                                                                                     State did to General Flynn
                                                                                                                  General Flynn
 12
 12 remembered
       remembered it      at the
                       it at the top
                                  top of
                                       of your
                                           your head.
                                                 head. Okay.
                                                           Okay.           12
                                                                           12 should never be
                                                                              should never be done to another
                                                                                              done to another American,
                                                                                                              American, ever. 'As aa
                                                                                                                        ever. 'As
 13
 13               MS. BOLGER:
                  MS.    BOLGER: Alexa,           you can
                                         Alexa, you     can put   that
                                                             put that      13 result of
                                                                           13 result    this unjustifiable,
                                                                                     of this unjustifiable, outrageous,
                                                                                                            outrageous, and
                                                                                                                        and
 14
 14 oneone down.
            down.                                                          14 malicious prosecution
                                                                           14 malicious prosecution of General Flynn
                                                                                                    of General Flynn and
                                                                                                                     and the
                                                                                                                         the abuse
                                                                                                                             abuse
 15
 15 BY BY MS.
            MS. BOLGER:
                 BOLGER:                                                   15 of process
                                                                           15 of         engaged in
                                                                                 process engaged    to carry
                                                                                                 in to       it out
                                                                                                       carry it out by
                                                                                                                    by FBI
                                                                                                                       FBI agents,
                                                                                                                           agents,
 16
 16       Q Okay.
          Q    Okay. So       you also
                         So you     also represent
                                          represent General       Flynn
                                                       General Flynn       16 FBI leadership,"
                                                                           16 FBI              the next
                                                                                  leadership," the next tweet,
                                                                                                        tweet, "Justice Department
                                                                                                               "Justice Department
 17
 17 in in his
          his current   lawsuit against
              current lawsuit      against The    United States;
                                              The United     States;       17 prosecutors, and
                                                                           17 prosecutors, and the
                                                                                               the highest-ranking[]
                                                                                                   highest-ranking[] officials
                                                                                                                     officials in
                                                                                                                               in
 18
 18 right?
       right?                                                              18 the Obama
                                                                           18 the Obama administration,
                                                                                        administration, punitive
                                                                                                        punitive damages are not
                                                                                                                 damages are not
 19
 19       A    Yes, ma'am.
          A Yes,      ma'am.                                               19 only warranted
                                                                           19 only warranted but
                                                                                             but essential.' Accountability is
                                                                                                 essential.' Accountability is
 20
 20       Q Are
          Q          you involved
               Are you     involved in      that personally
                                        in that  personally or  or is
                                                                   is it
                                                                      it   20 coming."
                                                                           20          Correct? And
                                                                              coming." Correct? And you
                                                                                                    you tweeted
                                                                                                        tweeted that
                                                                                                                that out?
                                                                                                                     out?
 21 just
 21    just your
            your colleagues?
                  colleagues?                                              21
                                                                           21              (Exhibit 434
                                                                                           (Exhibit 434 was
                                                                                                        was marked
                                                                                                            marked for
                                                                                                                   for
 22
 22       A
          A II amam not    counsel of
                      not counsel      of record   on that
                                           record on   that case.
                                                             case.         22
                                                                           22              identification.)
                                                                                           identification.)
                                                                 Page 35
                                                                 Page 35                                                                      Page 37
                                                                                                                                              Page 37
  11 And
     And whether
         whether or
                 or not
                    not II will
                           will make
                                make an
                                     an appearance
                                        appearance in that
                                                   in that                   11      A     Yeah. And
                                                                                     A Yeah.                that's --
                                                                                                      And that's       the --
                                                                                                                   -- the  -- aa bunch
                                                                                                                                 bunch of      that
                                                                                                                                          of that
  22 case, pro hac
     case, pro hac vice has not
                   vice has not been
                                been determined yet. II
                                     determined yet.                        22 is   from the
                                                                                 is from    the "As
                                                                                                 "As aa result"
                                                                                                          result" until   "essential" is
                                                                                                                  until "essential"      is aa
  33 certainly
     certainly am aware of
               am aware    that case.
                        of that case.                                        33 partial
                                                                                 partial quote      from the
                                                                                           quote from      the lawsuit.
                                                                                                                lawsuit.
  44     Q And
         Q And what's
               what's that
                      that case
                           case about?
                                about?                                       44      Q I'm
                                                                                     Q           sorry. You're
                                                                                           I'm sorry.      You're right.
                                                                                                                   right. II should
                                                                                                                               should have
                                                                                                                                        have put put
  55    A
        A     That case
              That      is about
                   case is about the
                                 the wrongful
                                     wrongful actions
                                              actions                        55 the
                                                                                 the quotes
                                                                                      quotes in     there. Okay.
                                                                                                in there.    Okay. WhatWhat is is the
                                                                                                                                  the status
                                                                                                                                      status of  of
  66 taken
     taken by the Department
           by the Department of
                             of Justice
                                Justice in the Crossfire
                                        in the Crossfire                    66 that
                                                                                 that litigation?
                                                                                       litigation?
  7 Hurricane
  7 Hurricane and
              and Crossfire
                  Crossfire Razor
                            Razor investigations against
                                  investigations against                     77      A
                                                                                     A There
                                                                                           There was was aa motion
                                                                                                             motion to to transfer
                                                                                                                          transfer venue
                                                                                                                                     venue by   by the
                                                                                                                                                    the
  8 General
  8         Flynn and
    General Flynn and continuing
                      continuing on
                                 on into the Special
                                    into the Special                        8 8 government.
                                                                                 government. That    That motion     was denied.
                                                                                                            motion was     denied. We  We areare not
                                                                                                                                                   not
  99 Counsel
     Counsel investigation
             investigation and
                           and the
                               the wrongful
                                   wrongful prosecution
                                            prosecution of
                                                        of                    99 waiting
                                                                                 waiting for for the
                                                                                                 the government's
                                                                                                       government's response
                                                                                                                         response to to that
                                                                                                                                         that lawsuit.
                                                                                                                                                lawsuit.
 10 him.
 10 him.                                                                   10
                                                                           10        Q Okay.
                                                                                     Q     Okay.
 11
 11      Q
         Q    You all
              You all filed
                      filed that
                            that in Florida; right?
                                 in Florida; right?                        11
                                                                           11                  MS. BOLGER:
                                                                                               MS.    BOLGER: And   And Alexa,
                                                                                                                           Alexa, youyou can      close
                                                                                                                                           can close
 12
 12     A
        A     Yes, ma'am.
              Yes, ma'am.                                                  12    that one
                                                                           12 that     one down.
                                                                                              down. And And if   you wouldn't
                                                                                                              if you   wouldn't mind
                                                                                                                                   mind putting
                                                                                                                                           putting up up
 13
 13      Q And
         Q And who's
               who's the
                     the judge?
                         judge? Do
                                Do you
                                   you know?
                                       know?                               13
                                                                           13 tabtab 51.
                                                                                      51.
 14
 14     A
        A    II would
                would --
                      -- II would
                            would not
                                  not want
                                      want to
                                           to off
                                              off the
                                                  the top
                                                      top                  14
                                                                           14 BY BY MS.
                                                                                      MS. BOLGER:
                                                                                              BOLGER:
 15 of
 15 of my
       my head
          head try
               try to
                   to remember the names.
                      remember the names. I'm
                                          I'm notoriously
                                              notoriously                  15
                                                                           15        Q Okay.
                                                                                     Q     Okay. For   For the
                                                                                                           the record,    tab 51,
                                                                                                                record, tab         which is
                                                                                                                               51, which      is
 16 bad
 16 bad at remembering names
        at remembering names and
                             and even worse at
                                 even worse at repeating
                                               repeating                   16    Exhibit --
                                                                           16 Exhibit       --
 17 them
 17 them accurately.
         accurately. So I'd want
                     So I'd want to
                                 to refresh my
                                    refresh my                             17
                                                                           17                  MS. BOLGER:
                                                                                               MS.    BOLGER: Can   Can youyou gogo --  sorry,
                                                                                                                                     -- sorry,
 18 recollection
 18 recollection on
                 on that
                    that rather
                         rather than
                                than say
                                     say it from memory.
                                         it from memory.                   18 Alexa.
                                                                           18    Alexa. What         exhibit number?
                                                                                            What exhibit       number?
 19
 19      Q
         Q    Okay.
              Okay.                                                        19
                                                                           19 BY BY MS.
                                                                                      MS. BOLGER:
                                                                                              BOLGER:
 20
 20             MS. BOLGER:
                MS. BOLGER: Alexa,
                            Alexa, would
                                   would you
                                         you mind
                                             mind                          20
                                                                           20        Q 435
                                                                                     Q     435 is is aa tweet
                                                                                                        tweet from
                                                                                                               from General
                                                                                                                      General
 21 putting
 21 putting up tab 50?
            up tab 50?                                                     21 Flynn
                                                                           21    Flynn dated       March 3rd.
                                                                                          dated March             It says:
                                                                                                            3rd. It   says: "This
                                                                                                                              "This isis
 22
 22             II may
                   may have
                       have just
                            just given
                                 given you
                                       you the
                                           the wrong
                                               wrong                       22 aa timely,
                                                                           22      timely, precise
                                                                                               precise and
                                                                                                         and important
                                                                                                              important filing
                                                                                                                            filing for
                                                                                                                                    for

                                                                                                                           10 (Pages 34
                                                                                                                           10 (Pages 34 -- 37)
                                                                                                                                           37)
                                           Veritext Legal
                                           Veritext Legal Solutions
                                                          Solutions
                         215-241-1000 ~
                         215-241-1000 — 610-434-8588
                                        610-434-8588 -~ 302-571-0510
                                                        302-571-0510 ~ 202-803-8830
                                                                       202-803-8830
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                                                                  Page 38
                                                                  Page 38                                                                     Page
                                                                                                                                              Page 40
                                                                                                                                                   40
  11 all
     all Americans.
         Americans. This      level of
                        This level   of corruption
                                        corruption                       11 decide    are important
                                                                             decide are   important to to talk
                                                                                                           talk about.
                                                                                                                 about. I'dI'd probably
                                                                                                                                probably dodo
  2 and
  2  and understanding
          understanding [sic]
                            [sic] of
                                  of our
                                     our rule  of law
                                          rule of  law                 22 that
                                                                             that with
                                                                                   with --
                                                                                        -- treat
                                                                                           treat that
                                                                                                 that the
                                                                                                       the same
                                                                                                            same as as --
                                                                                                                        -- as
                                                                                                                           as most
                                                                                                                               most other
                                                                                                                                      other
  33 cannot
     cannot stand.
             stand. OnOn behalf
                          behalf of   the entire
                                   of the  entire                         33 news
                                                                             news organizations.
                                                                                    organizations.
  44 Flynn
     Flynn family,
            family, wewe thank
                          thank you
                                  you @jbinnall
                                       @jbinnall lawlaw                 44       Q Okay.
                                                                                 Q    Okay.
  55 group
     group and
            and team
                  team for
                        for your
                             your exceptional
                                   exceptional work.
                                                  work.                   55            MS. BOLGER:
                                                                                        MS.   BOLGER: Alexa,  Alexa, can      you put
                                                                                                                        can you     put up
                                                                                                                                         up tab
                                                                                                                                            tab
  6 #FightLikeAFlynn."
  6  #FightLikeAFlynn." Do     Do you
                                   you see
                                         see that?
                                             that?                      66 4343 for  me?
                                                                                 for me?
  7
  7             (Exhibit 435
                (Exhibit        was marked
                           435 was             for
                                      marked for                          7 BY
                                                                          7  BY MS.
                                                                                  MS. BOLGER:
                                                                                        BOLGER:
  8
  8             identification.)
                identification.)                                         88      Q This
                                                                                 Q    This is
                                                                                            is Exhibit
                                                                                               Exhibit 436.
                                                                                                         436. It It is,
                                                                                                                    is, again,
                                                                                                                        again, aa
  99     A   Yes, ma'am.
         A Yes,     ma'am.                                                99 printout
                                                                             printout of
                                                                                       of aa tweet.
                                                                                             tweet. The     tweet, which
                                                                                                      The tweet,     which is     dated
                                                                                                                               is dated
 10
 10      Q Okay.
         Q   Okay. DidDid you
                            you know
                                 know he    was going
                                         he was   going tweet   that? 10
                                                          tweet that? 10 September
                                                                             September 28, 28, 2020,
                                                                                               2020, reads
                                                                                                       reads "Ha!
                                                                                                               "Ha! II love
                                                                                                                          love itit when
                                                                                                                                    when #Biden
                                                                                                                                           #Biden
 11
 11      A   No, ma'am.
         A No,     ma'am.                                             11
                                                                      11 is,     three flames,
                                                                             is, three flames, byby aa freshman
                                                                                                       freshman in       college (but
                                                                                                                     in college     (but
 12
 12      Q Okay.
         Q   Okay.                                                    12     obviously not
                                                                      12 obviously        not to
                                                                                              to one
                                                                                                 one toto mess
                                                                                                          mess with,
                                                                                                                  with, just
                                                                                                                          just ask
                                                                                                                                ask Fake
                                                                                                                                      Fake News
                                                                                                                                            News
 13
 13             MS. BOLGER:
                MS.   BOLGER: All    All right.  You can
                                         right. You    can put
                                                            put       13
                                                                      13 CNN CNN and     the Amazon
                                                                                    and the   Amazon Washington
                                                                                                         Washington Post)."Post)." Do Do you
                                                                                                                                          you see
                                                                                                                                               see
 14  that one
 14 that  one down.
               down.                                                  14     that?
                                                                      14 that?
 15  BY MS.
 15 BY    MS. BOLGER
               BOLGER                                                 15
                                                                      15                (Exhibit 436
                                                                                        (Exhibit   436 was
                                                                                                         was marked
                                                                                                               marked for  for
 16
 16      Q Okay.
         Q   Okay. Hold
                      Hold on.on. You
                                   You also
                                         also --- at least
                                              --- at least were
                                                           were       16
                                                                      16                identification.)
                                                                                        identification.)
 17  defending Sidney
 17 defending              Powell in
                  Sidney Powell     in the
                                       the Dominion
                                            Dominion lawsuit
                                                         lawsuit      17
                                                                      17         A Yes,
                                                                                 A    Yes, ma'am.
                                                                                            ma'am.
 18 against
 18  against defending
             defending the the Republic;
                               Republic; correct?
                                            correct?                  18
                                                                      18         Q Okay.
                                                                                 Q    Okay. Do Do you
                                                                                                   you often     call other
                                                                                                         often call            news
                                                                                                                       other news
 19
 19      A
         A Actually,
             Actually, no.
                         no. That's
                               That's not   correct. II never
                                       not correct.     never         19     organizations "Fake
                                                                      19 organizations        "Fake News,"
                                                                                                      News," or  or just
                                                                                                                     just CNN?
                                                                                                                           CNN?
 20 represented
 20  represented Sidney.
                    Sidney. II briefly
                                briefly represented
                                         represented defending
                                                        defending 20  20         A Oh,
                                                                                 A    Oh, I've
                                                                                           I've --
                                                                                                -- I'm
                                                                                                   I'm sure
                                                                                                        sure I've
                                                                                                               I've referred
                                                                                                                     referred to to other
                                                                                                                                     other
 21 the
 21  the Republic
         Republic as as an
                        an entity  in that  case.
                            entity in that case.                      21 news organizations as "Fake News." Now, II actually
                                                                      21     news   organizations    as  "Fake    News."      Now,      actually
 22
 22      Q Sorry.
         Q   Sorry. II apologize.
                        apologize. So      what was
                                      So what    was your
                                                       your           22 don't
                                                                      22     don't remember
                                                                                    remember whatwhat ---- oh,  that was
                                                                                                           oh, that   was in in regards
                                                                                                                                regards toto
                                                                  Page 39
                                                                  Page 39                                                                     Page
                                                                                                                                              Page 41
                                                                                                                                                   41
  11 representation
     representation of
                    of defending
                       defending the
                                 the Republic?
                                     Republic?                                11 Nicholas
                                                                                 Nicholas Sandmann.
                                                                                          Sandmann. Yeah.
                                                                                                    Yeah.
  22     A
         A    II --
                 -- briefly
                    briefly entered
                            entered aa notice
                                       notice of appearance
                                              of appearance                   22     Q
                                                                                     Q    Okay.
                                                                                          Okay.
  33 in that case.
     in that case. II never
                      never actually
                            actually did
                                     did any
                                         any substantive
                                             substantive                      33             MS. BOLGER:
                                                                                             MS. BOLGER: Can we put
                                                                                                         Can we     up tab
                                                                                                                put up tab 44,
                                                                                                                           44,
  44 work
     work that
          that II can remember in
                  can remember    that case.
                               in that case.                                  44 please?
                                                                                 please?
  55     II was
            was replaced
                replaced by
                         by other counsel in
                            other counsel    that case
                                          in that case that
                                                       that                   55 BY
                                                                                 BY MS.
                                                                                    MS. BOLGER:
                                                                                        BOLGER:
  66 have
     have been
          been litigating
               litigating it
                          it for
                             for aa couple
                                    couple years
                                           years now.
                                                 now.                         66     Q
                                                                                     Q    Okay. This
                                                                                          Okay. This is Exhibit 437,
                                                                                                     is Exhibit 437, tab
                                                                                                                     tab 44
                                                                                                                         44 in the
                                                                                                                            in the
  7
  7      Q
         Q    What counsel?
              What counsel?                                                   7 folder,
                                                                              7         which is
                                                                                folder, which is aa tweet
                                                                                                    tweet from
                                                                                                          from Mr.
                                                                                                               Mr. Binnall
                                                                                                                   Binnall dated
                                                                                                                           dated July
                                                                                                                                 July
  8
  8      A
         A    II think
                 think Larry
                       Larry Joseph was aa lawyer
                             Joseph was    lawyer for that
                                                  for that                    8 3,
                                                                              8    2021, which
                                                                                3, 2021, which is
                                                                                               is aa quote tweet. II think
                                                                                                     quote tweet.    think that's
                                                                                                                           that's the
                                                                                                                                  the
  99 case.
     case. II don't know if
              don't know    he still
                         if he still is, and II don't
                                     is, and    don't know
                                                      know                    99 terminology.
                                                                                 terminology.
 10 what
 10 what other
         other lawyers are involved.
               lawyers are involved.                                         10
                                                                             10              (Exhibit 437
                                                                                             (Exhibit 437 was
                                                                                                          was marked
                                                                                                              marked for
                                                                                                                     for
 11
 11      Q
         Q    I'm sorry.
              I'm sorry.                                                     11
                                                                             11              identification.)
                                                                                             identification.)
 12
 12      A No,
         A No, you're
               you're fine.
                      fine.                                                  12
                                                                             12      The LivePDDave tweeted
                                                                                     The LivePDDave tweeted out
                                                                                                            out "Vernon
                                                                                                                "Vernon Jones
                                                                                                                        Jones
 13
 13      Q
         Q    You're not
              You're not the
                         the biggest
                             biggest fan
                                     fan of CNN to
                                         of CNN to put
                                                   put it
                                                       it                    13 absolutely destroys
                                                                             13 absolutely          hack CNN
                                                                                           destroys hack CNN Reporter!
                                                                                                             Reporter! Laughing
                                                                                                                       Laughing crying
                                                                                                                                crying
 14 bluntly;
 14 bluntly; correct?
             correct?                                                        14
                                                                             14 face". And you
                                                                                face". And you say
                                                                                               say "This is how
                                                                                                   "This is     conservatives need
                                                                                                            how conservatives need to
                                                                                                                                   to
 15
 15      A Actually,
         A Actually, it
                     it --
                        -- it depends. It
                           it depends. It depends
                                          depends                            15 handle CNN.
                                                                             15 handle CNN. I'm
                                                                                            I'm sold.
                                                                                                sold. @RepVernonJones is the
                                                                                                      @RepVernonJones is the real
                                                                                                                             real
 16 when.
 16 when. II think
             think CNN has --
                   CNN has -- has
                              has improved
                                  improved substantially
                                           substantially                     16
                                                                             16 deal." Do you
                                                                                deal." Do you see that?
                                                                                              see that?
 17 in
 17    -- in
    in --    recent years.
          in recent years. II --
                              -- II certainly didn't like
                                    certainly didn't like aa                 17
                                                                             17     A
                                                                                    A      Yes.
                                                                                           Yes.
 18 number
 18 number of
           of the
              the coverage that was
                  coverage that was coming
                                    coming from CNN in
                                           from CNN in --
                                                       --                    18
                                                                             18      Q And
                                                                                     Q And you
                                                                                           you did
                                                                                               did tweet
                                                                                                   tweet that
                                                                                                         that out?
                                                                                                              out?
 19 in
 19 in past years. But
       past years. But II think
                          think there's
                                there's an
                                        an effort to --
                                           effort to -- to
                                                        to                   19
                                                                             19     A
                                                                                    A      Yeah. And
                                                                                           Yeah. And II --
                                                                                                        -- you
                                                                                                           you need
                                                                                                               need to
                                                                                                                    to actually,
                                                                                                                       actually, II
 20 correct
 20         course at
    correct course at least somewhat in
                      least somewhat    the light.
                                     in the light.                           20 believe,
                                                                             20 believe, watch
                                                                                         watch the
                                                                                               the video to --
                                                                                                   video to -- to
                                                                                                               to understand
                                                                                                                  understand the
                                                                                                                             the
 21
 21      II may
            may very well agree
                very well agree with
                                with many
                                     many of
                                          of the
                                             the opinions
                                                 opinions                    21 context
                                                                             21         there. But
                                                                                context there. But --
                                                                                                   -- and
                                                                                                      and of
                                                                                                          of course, the context
                                                                                                             course, the         is
                                                                                                                         context is
 22 that
 22 that come down on
         come down on some of the
                      some of the issues they --
                                  issues they -- they
                                                 they                        22 important.
                                                                             22            But yes,
                                                                                important. But yes, that's
                                                                                                    that's --
                                                                                                           -- that's
                                                                                                              that's right.
                                                                                                                     right.

                                                                                                                           11 (Pages 38
                                                                                                                           11 (Pages 38 -- 41)
                                                                                                                                           41)
                                             Veritext Legal
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                                                              Page
                                                              Page 42
                                                                   42                                                                  Page
                                                                                                                                       Page 44
                                                                                                                                            44
  11    Q
        Q   Why is
            Why    the context
                is the context important in this
                               important in this case?
                                                 case?                   11 Harvey
                                                                            Harvey and and Binnall;
                                                                                            Binnall; is is that
                                                                                                            that right?
                                                                                                                 right?
  22    A
        A   You know,
            You know, II don't
                         don't remember
                               remember exactly off the
                                        exactly off the                  2
                                                                         2      A
                                                                                A Yes,Yes, ma'am.
                                                                                            ma'am.
  33 top
     top of
         of my
            my head
               head what
                    what Vernon
                         Vernon Jones did there,
                                Jones did there, but
                                                 but II                  33     Q Okay.
                                                                                Q     Okay. What
                                                                                               What was was Harvey
                                                                                                              Harvey and and Binnall?
                                                                                                                              Binnall?
  44 remember
     remember it
              it was
                 was something
                     something along
                               along the
                                     the lines of not
                                         lines of not                    44     A
                                                                                A It     was aa law
                                                                                      It was           firm.
                                                                                                law firm.
  55 accepting
     accepting the
               the premise
                   premise of
                           of aa --
                                 -- of
                                    of aa question that was
                                          question that was              55     Q Who
                                                                                Q     Who waswas the
                                                                                                   the Harvey?
                                                                                                         Harvey?
  66 --
     -- that
        that was
             was posed
                 posed to him where
                       to him where the
                                    the premise
                                        premise was
                                                was                      6
                                                                         6      A     Phillip Harvey.
                                                                                A Phillip      Harvey.
  7 incorrect.
  7 incorrect.                                                           7
                                                                         7      Q Are
                                                                                Q          you still
                                                                                      Are you    still --
                                                                                                        -- is
                                                                                                           is he
                                                                                                              he still  a partner
                                                                                                                  still a          of
                                                                                                                          partner of
  8
  8     Q
        Q   Okay.
            Okay.                                                        8 yours?
                                                                         8  yours?
  99    A And
        A And so,
              so, it was --
                  it was -- he
                            he was
                               was very succinct in
                                   very succinct in                      99     A
                                                                                A He  He is
                                                                                          is not
                                                                                             not aa partner
                                                                                                     partner of of mine.
                                                                                                                    mine. HeHe is  still aa
                                                                                                                                is still
 10 that
 10 that way
         way he
             he --
                -- he -- and
                   he -- and II think,
                                think, effective in the
                                       effective in the way
                                                        way             10  good friend
                                                                        10 good    friend and
                                                                                            and aa co-tenant
                                                                                                    co-tenant of  of mine.
                                                                                                                      mine.
 11 that
 11 that he handled aa particular
         he handled    particular question, especially
                                  question, especially                  11
                                                                        11      Q And
                                                                                Q           when did
                                                                                      And when            you guys
                                                                                                     did you    guys split
                                                                                                                       split up  for lack
                                                                                                                             up for  lack of   a
                                                                                                                                            of a
 12 still
 12 still in that era
          in that     of CNN.
                  era of CNN.                                           12  better term?
                                                                        12 better   term?
 13
 13     Q
        Q   Okay.
            Okay.                                                       13
                                                                        13      A
                                                                                A The      firm split
                                                                                      The firm    split in
                                                                                                         in March
                                                                                                              March 1st
                                                                                                                      1st of
                                                                                                                           of 2021.
                                                                                                                              2021.
 14
 14           MS. BOLGER:
              MS. BOLGER: You
                          You can close that
                              can close that tab
                                             tab                        14
                                                                        14      Q Okay.
                                                                                Q     Okay.
 15 now.
 15 now. And
         And then
             then if you wouldn't
                  if you wouldn't mind
                                  mind putting
                                       putting up
                                               up tab
                                                  tab 48.
                                                      48.               15
                                                                        15               MS. BOLGER:
                                                                                         MS.  BOLGER: I'm      I'm going
                                                                                                                    going toto ask
                                                                                                                               ask Alexa
                                                                                                                                    Alexa to to
 16 BY
 16 BY MS.
       MS. BOLGER:
           BOLGER:                                                      16  put up
                                                                        16 put   up tab
                                                                                     tab 47.
                                                                                          47.
 17
 17     Q And
        Q And Exhibit
              Exhibit 438
                      438 is another tweet
                          is another tweet of yours
                                           of yours                     17  BY MS.
                                                                        17 BY    MS. BOLGER:
                                                                                        BOLGER:
 18 and
 18 and it's about Dan
        it's about Dan Rather
                       Rather tweets
                              tweets something
                                     something about:
                                               about:                   18
                                                                        18      Q Tab
                                                                                Q     Tab 47,   which is
                                                                                           47, which          Exhibit 439
                                                                                                          is Exhibit    439 is  a tweet,
                                                                                                                             is a tweet,
 19 "Good
 19 "Good for the @washingtonpost
          for the                 and @farhip
                  @washingtonpost and @farhip for being
                                              for being                 19  also by
                                                                        19 also   by Mr.
                                                                                      Mr. Binnall,
                                                                                           Binnall, which
                                                                                                        which is is dated
                                                                                                                    dated March
                                                                                                                            March 26,
                                                                                                                                    26, 2022,
                                                                                                                                          2022,
 20 direct
 20        about where
    direct about where this
                       this vile
                            vile hatred
                                 hatred can be found,
                                        can be        and
                                               found, and               20 which
                                                                        20  which says:
                                                                                     says: "Our
                                                                                             "Our firm
                                                                                                     firm is   growing! If
                                                                                                            is growing!        you are
                                                                                                                            If you  are oror you
                                                                                                                                             you
 21 who
 21 who was
        was spewing
            spewing it. More of
                    it. More    this candor
                             of this        by the
                                     candor by the press,
                                                   press,               21 know
                                                                        21  know an an America
                                                                                        America FirstFirst paralegal
                                                                                                             paralegal with
                                                                                                                         with experience
                                                                                                                               experience in  in
 22 please."
 22 please." And
             And then
                 then it has aa link
                      it has         to the
                                link to the Washington
                                            Washington                  22 litigation,
                                                                        22               willing to
                                                                            litigation, willing     to work
                                                                                                        work in    the DC
                                                                                                               in the   DC area,
                                                                                                                             area, please
                                                                                                                                   please
                                                              Page
                                                              Page 43
                                                                   43                                                                  Page
                                                                                                                                       Page 45
                                                                                                                                            45
  11 Post
     Post article.
          article. To which you
                   To which you responded
                                responded "It makes
                                          "It makes                      11 send me aa DM.
                                                                            send me    DM. Come
                                                                                           Come work
                                                                                                work with
                                                                                                     with the
                                                                                                          the best
                                                                                                              best MAGA
                                                                                                                   MAGA lawyers in
                                                                                                                        lawyers in
  22 since," but II think
     since," but    think you
                          you meant,
                              meant, sense --
                                     sense --                            22 the
                                                                            the business!
                                                                                business! @BinnallLaw."
                                                                                          @BirmallLaw."
  33    A
        A   Yeah.
            Yeah.                                                        33        (Exhibit 439
                                                                                   (Exhibit 439 was
                                                                                                was marked
                                                                                                    marked for
                                                                                                           for
  44    Q
        Q   -- "that
            -- "that aa guy whose open
                        guy whose      bias led
                                  open bias     to him
                                            led to him                   44        identification.)
                                                                                   identification.)
  55 being
     being fired
           fired for
                 for disseminating
                     disseminating fake
                                   fake news would praise
                                        news would praise                55    What is
                                                                               What is an
                                                                                       an America
                                                                                          America First
                                                                                                  First paralegal?
                                                                                                        paralegal?
  66 biased
     biased fake news. @DanRather
            fake news.            you are
                       @DanRather you are -- and
                                             and always
                                                 always will
                                                        will             66    A
                                                                               A    II think
                                                                                       think specifically
                                                                                             specifically II was
                                                                                                             was talking
                                                                                                                 talking there
                                                                                                                         there
  7 be
  7 be -- aa consistent
             consistent liberal hack. You
                        liberal hack.     were never
                                      You were never aa                  7 about
                                                                         7 about aa paralegal who believes
                                                                                    paralegal who believes in the America
                                                                                                           in the America First
                                                                                                                          First
  8 'news
  8 'news man."
          man.'" Do
                 Do you
                    you see that?
                        see that?                                        8 agenda.
                                                                         8 agenda.
  99          (Exhibit 438
              (Exhibit 438 was
                           was marked
                               marked for
                                      for                                99    Q
                                                                               Q    What is
                                                                                    What    the America
                                                                                         is the America First
                                                                                                        First agenda?
                                                                                                              agenda?
 10
 10           identification.)
              identification.)                                          10
                                                                        10     A
                                                                               A    Oh, II mean,
                                                                                    Oh,    mean, it's -- there's
                                                                                                 it's -- there's aa number
                                                                                                                    number of
                                                                                                                           of
 11
 11     A
        A   Yes, ma'am.
            Yes, ma'am.                                                 11 aspects to
                                                                        11 aspects to the
                                                                                      the America
                                                                                          America First
                                                                                                  First agenda,
                                                                                                        agenda, but
                                                                                                                but it
                                                                                                                    it II think
                                                                                                                          think
 12
 12     Q
        Q   Do you
            Do you remember
                   remember tweeting
                            tweeting that
                                     that out?
                                          out?                          12 boils down
                                                                        12 boils down to
                                                                                      to putting America first.
                                                                                         putting America first.
 13
 13     A
        A   Vaguely, yes.
            Vaguely, yes. II am
                             am not
                                not aa fan of --
                                       fan of -- of
                                                 of Dan
                                                    Dan                 13
                                                                        13     Q
                                                                               Q    Would you
                                                                                    Would you agree with my
                                                                                              agree with my assertion
                                                                                                            assertion that
                                                                                                                      that it
                                                                                                                           it is
                                                                                                                              is
 14 Rather
 14 Rather in
           in my
              my personal
                 personal politics.
                          politics. So yes, II remember,
                                    So yes,    remember,                14 an agenda
                                                                        14 an agenda that
                                                                                     that is sort of
                                                                                          is sort of created and propagated
                                                                                                     created and            by
                                                                                                                 propagated by
 15 vaguely,
 15          doing that.
    vaguely, doing that.                                                15 President Trump?
                                                                        15 President Trump?
 16
 16     Q
        Q   Okay.
            Okay.                                                       16
                                                                        16     A
                                                                               A    II don't
                                                                                       don't know
                                                                                             know that
                                                                                                  that you
                                                                                                       you would
                                                                                                           would say
                                                                                                                 say that
                                                                                                                     that it
                                                                                                                          it was
                                                                                                                             was
 17
 17     MS. BOLGER:
        MS. BOLGER: You
                    You can take that
                        can take that down.
                                      down.                             17
                                                                        17 created
                                                                           created by President Trump,
                                                                                   by President Trump, but
                                                                                                       but II would
                                                                                                              would --
                                                                                                                    -- II would
                                                                                                                          would
 18
 18     BY MS.
        BY MS. BOLGER:
               BOLGER:                                                  18
                                                                        18 certainly
                                                                           certainly say that --
                                                                                     say that -- that
                                                                                                 that he
                                                                                                      he is
                                                                                                         is the
                                                                                                            the leader
                                                                                                                leader in the
                                                                                                                       in the
 19
 19     Q
        Q   So you are
            So you are currently
                       currently aa --
                                    -- II guess,
                                          guess, would
                                                 would you
                                                       you              19 America First
                                                                        19 America First movement
                                                                                         movement now.
                                                                                                  now.
 20 describe
 20          yourself as
    describe yourself as the
                         the founder
                             founder of
                                     of Binnall
                                        Binnall Law
                                                Law Group?
                                                    Group?              20
                                                                        20     Q
                                                                               Q    Do you
                                                                                    Do you consider
                                                                                           consider the
                                                                                                    the Flynn
                                                                                                        Flynn family to be
                                                                                                              family to    part
                                                                                                                        be part
 21
 21     A
        A   Yes, ma'am.
            Yes, ma'am.                                                 21 of
                                                                        21 of the
                                                                              the America
                                                                                  America First
                                                                                          First movement?
                                                                                                movement?
 22
 22     Q
        Q   Okay. And
            Okay. And you
                      you were
                          were formerly affiliated with
                               formerly affiliated with                 22
                                                                        22     A
                                                                               A    You'd have
                                                                                    You'd have to
                                                                                               to ask
                                                                                                  ask them,
                                                                                                      them, but
                                                                                                            but II would
                                                                                                                   would --
                                                                                                                         -- yeah.
                                                                                                                            yeah.

                                                                                                                     12 (Pages 42
                                                                                                                     12 (Pages 42 -- 45)
                                                                                                                                     45)
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                                                                        Page
                                                                        Page 46
                                                                             46                                                                        Page
                                                                                                                                                       Page 48
                                                                                                                                                            48
  11 II suspect --
        suspect --                                                                    11 is  that being
                                                                                          is that  being inin Washington,
                                                                                                              Washington, D.C.,  D.C., especially
                                                                                                                                        especially when when itit
  22     Q
         Q     Well, II can't
               Well,    can't ask them what
                              ask them what you
                                            you would
                                                would think.
                                                      think.                         22 comes
                                                                                          comes to to staff,  we have
                                                                                                       staff, we           to be
                                                                                                                     have to   be careful
                                                                                                                                  careful about
                                                                                                                                           about who who wewe
  33 I'm
     I'm just
         just asking
              asking what
                     what you
                          you would
                              would think
                                    think --
                                          --                                          33 hire.
                                                                                          hire. And     while we
                                                                                                  And while      we dodo hire,   you know,
                                                                                                                          hire, you            people of
                                                                                                                                      know, people        of
  44     A
         A     II would
                  would suspect
                        suspect the
                                the answer
                                    answer to
                                           to be, yes.
                                              be, yes.                                44 various
                                                                                          various political
                                                                                                     political beliefs,
                                                                                                                 beliefs, wewe have   to be
                                                                                                                                 have to  be very
                                                                                                                                              very careful
                                                                                                                                                      careful
  55             MS. BOLGER:
                 MS. BOLGER: Okay.
                             Okay. You
                                   You can take that
                                       can take that                                  55 that
                                                                                          that we
                                                                                                we don't
                                                                                                     don't have
                                                                                                            have leaks.
                                                                                                                    leaks. And     so, that's
                                                                                                                             And so,   that's another
                                                                                                                                                another
  66 down, Alexa.
     down, Alexa.                                                                    66 thing
                                                                                          thing that
                                                                                                  that we
                                                                                                        we take
                                                                                                            take into    consideration for
                                                                                                                    into consideration     for our
                                                                                                                                                 our hiring
                                                                                                                                                      hiring
  7 BY
  7 BY MS.
       MS. BOLGER:
           BOLGER:                                                                    77 decisions.
                                                                                          decisions.
  8
  8      Q
         Q     Why only
               Why      an America
                   only an America First
                                   First paralegal?
                                         paralegal? It's
                                                    It's aa                          8 8      Q You
                                                                                              Q     You think
                                                                                                          think people
                                                                                                                   people whowho aren't
                                                                                                                                   aren't consistent
                                                                                                                                          consistent with with
  99 real
     real specific
          specific request.
                   request.                                                            99 your
                                                                                          your political    agenda would
                                                                                                 political agenda       would more
                                                                                                                                 more likely
                                                                                                                                       likely leak?
                                                                                                                                                 leak?
 10
 10      A
         A     Yeah. Well,
               Yeah. Well, II mean,
                              mean, that
                                    that was
                                         was during
                                             during aa                              10
                                                                                    10        A
                                                                                              A Yes,Yes, ma'am.
                                                                                                           ma'am.
 11 period
 11 period when
           when law firms were
                law firms were specifically
                               specifically refusing
                                            refusing to
                                                     to                             11
                                                                                    11        Q Because
                                                                                              Q     Because they're
                                                                                                                they're not
                                                                                                                          not America     First, you're
                                                                                                                                America First,      you're aa
 12 hire
 12 hire people associated with
         people associated with the
                                the America
                                    America First
                                            First movement
                                                  movement                          12
                                                                                    12 bigbig liar   and aa cheat?
                                                                                               liar and     cheat?
 13 for
 13     bigger law
    for bigger law firms.
                   firms. That provided us
                          That provided us an
                                           an excellent
                                              excellent                             13
                                                                                    13        A
                                                                                              A No, No, ma'am.
                                                                                                          ma'am. II didn't
                                                                                                                       didn't say
                                                                                                                                say that.
                                                                                                                                    that.
 14 opportunity
 14 opportunity to
                to take
                   take advantage
                        advantage of
                                  of the
                                     the fact that big
                                         fact that big                              14
                                                                                    14        Q Why
                                                                                              Q     Why is is it
                                                                                                              it that
                                                                                                                 that you
                                                                                                                       you think
                                                                                                                              think they're
                                                                                                                                    they're more
                                                                                                                                              more likely
                                                                                                                                                       likely
 15 firms
 15       were effectively
    firms were             discriminating against
               effectively discriminating against people
                                                  people                            15
                                                                                    15 to to leak   then?
                                                                                             leak then?
 16 on
 16 on --
       -- on
          on that
             that basis.
                  basis. And
                         And so, we --
                             so, we -- we
                                       we could
                                          could and
                                                and quite
                                                    quite                           16
                                                                                    16        A     Because Washington,
                                                                                              A Because         Washington, D.C.  D.C. is
                                                                                                                                        is very
                                                                                                                                           very politically
                                                                                                                                                   politically
 17 frankly
 17         we did
    frankly we     hire some
               did hire      really great
                        some really great people
                                          people as
                                                 as result
                                                    result                          17    polarized. We
                                                                                    17 polarized.        We represent
                                                                                                              represent people       that --
                                                                                                                            people that       that polarize
                                                                                                                                          -- that    polarize
 18 of
 18 of that.
       that.                                                                        18    people    and  emotions
                                                                                    18 people and emotions run         run   high.
                                                                                                                             high.  And   that   is something
                                                                                                                                    And that is something
 19
 19      Q
         Q     What was
               What was in 2022 that
                        in 2022 that tweet.
                                     tweet. What big firm
                                            What big firm                           19    that II would
                                                                                    19 that       would be be foolish
                                                                                                               foolish ifif II was
                                                                                                                               was not
                                                                                                                                    not concerned
                                                                                                                                        concerned about. about.
 20 --
 20 --                                                                              20 And
                                                                                    20    And II wouldn't
                                                                                                   wouldn't -- -- II would
                                                                                                                     would not     be doing
                                                                                                                              not be  doing my       clients aa
                                                                                                                                               my clients
 21
 21      A
         A     '22 or
               '22 or 2021.
                      2021.                                                         21    fair service.    Because      of  course,  when
                                                                                    21 fair service. Because of course, when it comes to     it comes     to
 22
 22      Q
         Q     II believe
                  believe it was --
                          it was --                                                 22 paralegals,
                                                                                    22    paralegals, they're
                                                                                                         they're not    licensed professionals.
                                                                                                                    not licensed    professionals. You   You
                                                                        Page
                                                                        Page 47
                                                                             47                                                                        Page
                                                                                                                                                       Page 49
                                                                                                                                                            49
   11      A
           A CanCan you you putput it  back up
                                    it back         just to
                                                up just   to verify?
                                                              verify?                11 can't
                                                                                        can't pull their license
                                                                                              pull their license like you could
                                                                                                                 like you could if an attorney
                                                                                                                                if an attorney
  22       Q Yup.
           Q    Yup.                                                                 22 were
                                                                                        were to
                                                                                             to go
                                                                                                go out and leak.
                                                                                                   out and leak. So yeah. That
                                                                                                                 So yeah. That is -- that
                                                                                                                               is -- that is
                                                                                                                                          is
   33               MS. BOLGER:
                    MS.     BOLGER: Put      Put itit back
                                                      back up.
                                                             up.                     33 aa concern that II have,
                                                                                           concern that          and II think
                                                                                                           have, and    think that
                                                                                                                              that would
                                                                                                                                   would not
                                                                                                                                         not be
                                                                                                                                             be aa
   44 BY
       BY MS.
            MS. BOLGER:
                   BOLGER:                                                           44 unique
                                                                                        unique concern.
                                                                                               concern.
   55      Q Yeah.
           Q    Yeah. It       was March
                            It was    March 2022.2022.                               55     Q
                                                                                            Q    II printed
                                                                                                    printed out
                                                                                                            out some
                                                                                                                some of your Federal
                                                                                                                     of your Federal Court
                                                                                                                                     Court
  66       A    Okay.
           A Okay.                                                                   66 cases. And it
                                                                                        cases. And it appears
                                                                                                      appears not
                                                                                                              not to
                                                                                                                  to be
                                                                                                                     be not
                                                                                                                        not to
                                                                                                                            to --
                                                                                                                               -- point
                                                                                                                                  point out
                                                                                                                                        out
   77      Q So
           Q    So I'mI'm wondering
                            wondering what  what law       firm --
                                                     law firm     --                 7 that
                                                                                     7 that you
                                                                                            you often
                                                                                                often represent former President
                                                                                                      represent former President Trump;
                                                                                                                                 Trump;
  8 8      A    Yeah, so,
           A Yeah,         so, still  -- still
                                still --         the same.
                                          still the   same. That       was
                                                                That was             8 correct?
                                                                                     8 correct?
    99 -- that was
       -- that was still
                       still an
                             an era    on, like
                                  era on,    like II said,
                                                      said, where,
                                                             where, II               99     A
                                                                                            A    Yes.
                                                                                                 Yes.
 10
 10 mean,
       mean, II think
                  think that's
                           that's continuing
                                   continuing today,today, II think,
                                                                think, asas         10
                                                                                    10      Q
                                                                                            Q    Okay. I'm
                                                                                                 Okay. I'm just
                                                                                                           just going
                                                                                                                going to
                                                                                                                      to ask
                                                                                                                         ask you
                                                                                                                             you about
                                                                                                                                 about aa
 11    well after
 11 well     after the
                     the new      congress came
                          new congress          came into      session and
                                                        into session      and       11
                                                                                    11 couple of the
                                                                                       couple of the litigations. What was
                                                                                                     litigations. What was the
                                                                                                                           the --
                                                                                                                               -- well,
                                                                                                                                  well, the
                                                                                                                                        the
 12    firms realized,
 12 firms     realized, II think,
                               think, that
                                        that they
                                               they had
                                                      had aa lack
                                                              lack ofof             12 Donald Trump
                                                                                    12 Donald Trump vs. Hillary Clinton,
                                                                                                    vs. Hillary Clinton, what
                                                                                                                         what was
                                                                                                                              was that
                                                                                                                                  that one?
                                                                                                                                       one?
 13    people with
 13 people      with connections
                        connections to     to the
                                               the new
                                                     new majority
                                                           majority and and the
                                                                             the    13
                                                                                    13      A
                                                                                            A    We were
                                                                                                 We were --
                                                                                                         -- that
                                                                                                            that is an appeal
                                                                                                                 is an appeal case
                                                                                                                              case that
                                                                                                                                   that we
                                                                                                                                        we
 14    House    of  Representatives,          that
 14 House of Representatives, that may have changed  may    have   changed          14 represent President
                                                                                    14 represent President Trump and his
                                                                                                           Trump and his attorneys
                                                                                                                         attorneys on that
                                                                                                                                   on that
 15    somewhat.
 15 somewhat.                                                                       15 have to
                                                                                    15 have to do with sanctions.
                                                                                               do with            That would
                                                                                                       sanctions. That would be another
                                                                                                                             be another
 16
 16        But at
           But  at that
                    that point,
                           point, nothing
                                     nothing can  can change
                                                       change and and big
                                                                       big law
                                                                            law     16
                                                                                    16 example of litigating
                                                                                       example of            attorneys' fees,
                                                                                                  litigating attorneys' fees, where
                                                                                                                              where we
                                                                                                                                    we came
                                                                                                                                       came
 17    had  still  refused     to  hire  --  was   still
 17 had still refused to hire -- was still refusing to    refusing    to            17
                                                                                    17 in
                                                                                       in after
                                                                                          after sanctions -- or
                                                                                                sanctions -- or after the case
                                                                                                                after the      was dismissed
                                                                                                                          case was dismissed
 18 hire
 18         people on
       hire people          the basis
                        on the    basis ofof politics.
                                              politics. And       certainly,
                                                            And certainly,          18 to litigate
                                                                                    18 to          the case
                                                                                          litigate the case on
                                                                                                            on appeal.
                                                                                                               appeal.
 19    they were
 19 they     were refusing
                      refusing --  -- still
                                      still refuse     today to
                                             refuse today      to accept
                                                                   accept           19
                                                                                    19      Q
                                                                                            Q    Okay. Was
                                                                                                 Okay. Was someone sanctioned in
                                                                                                           someone sanctioned in that
                                                                                                                                 that case?
                                                                                                                                      case?
 20 clients
 20    clients associated
                associated with  with the
                                        the --    with the
                                              -- with    the American
                                                              American FirstFirst   20
                                                                                    20      A
                                                                                            A    Yes, ma'am.
                                                                                                 Yes, ma'am.
 21 movement.
 21    movement.                                                                    21
                                                                                    21      Q
                                                                                            Q    Who was
                                                                                                 Who was sanctioned?
                                                                                                         sanctioned?
 22
 22        The   other aspect
           The other      aspect that
                                    that --   that I'm
                                           -- that   I'm not
                                                          not shy    about
                                                                shy about           22
                                                                                    22      A
                                                                                            A    President Trump
                                                                                                 President Trump and
                                                                                                                 and his
                                                                                                                     his attorneys.
                                                                                                                         attorneys.

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                                                                                                                                      52
  11    Q And
        Q And was
              was that
                  that --
                       -- his
                          his attorney,
                              attorney, Alina
                                        Alina Hobba
                                              Hobba in
                                                    in                 11    A
                                                                             A   Understand.
                                                                                 Understand.
  22 that
     that one?
          one?                                                         22    Q Anyway,
                                                                             Q Anyway, that
                                                                                       that was
                                                                                            was purely
                                                                                                purely aa lawyerly question.
                                                                                                          lawyerly question.
  33    A
        A    She --
             She -- she
                    she is one of
                        is one    the --
                               of the -- one of the
                                         one of the                    33 Michigan
                                                                          Michigan Welfare
                                                                                   Welfare Rights
                                                                                           Rights Organization
                                                                                                  Organization vs.
                                                                                                               vs. Trump, what's
                                                                                                                   Trump, what's
  44 appellants
     appellants in
                in that
                   that case, yes.
                        case, yes.                                     44 that
                                                                          that one?
                                                                               one?
  55    Q
        Q    Okay. What
             Okay. What was
                        was the
                            the Conrad
                                Conrad Smith
                                       Smith vs. Donald
                                             vs. Donald                55    A
                                                                             A   That is
                                                                                 That is aa case that was
                                                                                            case that was filed,
                                                                                                          filed, II believe
                                                                                                                    believe in
                                                                                                                            in
  66 Trump litigation?
     Trump litigation?                                                 66 November
                                                                          November of 2020 against
                                                                                   of 2020 against President
                                                                                                   President Trump. That is
                                                                                                             Trump. That is
  7
  7     A
        A    That was
             That was ongoing
                      ongoing litigation in the
                              litigation in the United
                                                United                 7 pending
                                                                       7 pending --
                                                                                 -- well,
                                                                                    well, actually,
                                                                                          actually, that
                                                                                                    that one
                                                                                                         one is
                                                                                                             is also
                                                                                                                also on appeal
                                                                                                                     on appeal
  8 States
  8        District Court
    States District Court for the District
                          for the District of Columbia
                                           of Columbia                 8 for
                                                                       8     absolute immunity
                                                                         for absolute immunity issues as well.
                                                                                               issues as well.
  99 where
     where you
           you have
               have aa number
                       number of plaintiffs who
                              of plaintiffs who are
                                                are suing
                                                    suing              99    Q
                                                                             Q   That one
                                                                                 That     also related
                                                                                      one also related to
                                                                                                       to January 6th?
                                                                                                          January 6th?
 10 President
 10 President Trump and --
              Trump and -- and
                           and other defendants. And
                               other defendants. And the
                                                     the              10
                                                                      10     A Actually,
                                                                             A Actually, no.
                                                                                         no. That one's not
                                                                                             That one's not related
                                                                                                            related to
                                                                                                                    to
 11 issue
 11       that --
    issue that -- that
                  that issue is also
                       issue is also before
                                     before the
                                            the D.C.
                                                D.C.                  11
                                                                      11 January 6. It
                                                                         January 6. It is
                                                                                       is related to the
                                                                                          related to the 2020
                                                                                                         2020 election, but
                                                                                                              election, but
 12 Circuit
 12 Circuit Court of Appeals
            Court of Appeals right
                             right now
                                   now on
                                       on aa constitutional
                                             constitutional           12 not specifically
                                                                      12 not specifically January 6th. It
                                                                                          January 6th. It was
                                                                                                          was filed well
                                                                                                              filed well
 13 issue.
 13 issue. Specifically the issue
           Specifically the       of presidential
                            issue of presidential                     13 before January
                                                                      13 before         6th.
                                                                                January 6th.
 14 immunity.
 14 immunity.                                                         14
                                                                      14     They did file
                                                                             They did      another amended
                                                                                      file another amended complaint
                                                                                                           complaint in that
                                                                                                                     in that
 15
 15     Q
        Q    Okay. Is
             Okay. Is that
                      that related
                           related to
                                   to January 6?
                                      January 6?                      15
                                                                      15 case,
                                                                         case, II believe,
                                                                                  believe, aa second
                                                                                              second amended
                                                                                                     amended complaint.
                                                                                                             complaint. And
                                                                                                                        And
 16
 16     A
        A    Yes, ma'am.
             Yes, ma'am.                                              16 whether that
                                                                      16 whether that second amended complaint
                                                                                      second amended complaint mentions
                                                                                                               mentions January
                                                                                                                        January
 17
 17     Q And
        Q And then
              then you
                   you represented,
                       represented, II think,
                                       think, President
                                              President               17 6th is
                                                                      17 6th is not
                                                                                not something
                                                                                    something II could
                                                                                                 could tell
                                                                                                       tell you
                                                                                                            you off
                                                                                                                off of
                                                                                                                    of memory,
                                                                                                                       memory,
 18 Trump
 18       is Garza
    Trump is Garza vs.
                   vs. Trump?
                       Trump?                                         18 because the
                                                                      18 because the primary
                                                                                     primary issue
                                                                                             issue that
                                                                                                   that we
                                                                                                        we are
                                                                                                           are litigating in
                                                                                                               litigating in
 19
 19     A
        A    Yes.
             Yes.                                                     19 that case
                                                                      19 that case is presidential immunity.
                                                                                   is presidential immunity. And
                                                                                                             And so,
                                                                                                                 so, II
 20
 20     Q
        Q    What was
             What was that
                      that one?
                           one?                                       20 couldn't
                                                                      20          tell you
                                                                         couldn't tell you off the top
                                                                                           off the top of
                                                                                                       of my
                                                                                                          my head
                                                                                                             head if
                                                                                                                  if in
                                                                                                                     in the
                                                                                                                        the
 21
 21     A The
        A The Garza
              Garza vs.
                    vs. Trump matter is
                        Trump matter    -- has
                                     is -- has to
                                               to do
                                                  do                  21 most
                                                                      21 most recent
                                                                              recent iteration
                                                                                     iteration of that complaint
                                                                                               of that           it discusses
                                                                                                       complaint it discusses
 22 with
 22 with aa --
            -- it's
               it's another
                    another case that is
                            case that is similar to the
                                         similar to the               22 January
                                                                      22         6th.
                                                                         January 6th.
                                                            Page
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                                                                 51                                                              Page
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                                                                                                                                      53
  11 Smith
     Smith litigation and is
           litigation and is also
                             also going
                                  going to
                                        to litigate the
                                           litigate the                11    Q
                                                                             Q   Okay. There
                                                                                 Okay. There seems to be
                                                                                             seems to be two
                                                                                                         two affiliated
                                                                                                             affiliated
  22 issue of presidential
     issue of presidential immunity.
                           immunity.                                   22 cases, Marcus Moore
                                                                          cases, Marcus Moore and
                                                                                              and Bobby
                                                                                                  Bobby Tabron. but II think
                                                                                                        Tabron. but    think they
                                                                                                                             they
  33    Q
        Q    You also
             You also represent,
                      represent, II assume,
                                    assume, Alina
                                            Alina Hobba,
                                                  Hobba,               33 may
                                                                          may all
                                                                              all be
                                                                                  be the
                                                                                     the same cases about
                                                                                         same cases about the
                                                                                                          the 2020
                                                                                                              2020 election; is
                                                                                                                   election; is
  44 in the Charles
     in the         Dolan litigation.
            Charles Dolan             And II realize
                          litigation. And    realize that
                                                     that              44 that
                                                                          that right?
                                                                               right?
  55 that's
     that's not
            not President
                President Trump, but is
                          Trump, but is that
                                        that Dolan
                                             Dolan as
                                                   as in
                                                      in               55    A
                                                                             A   Those are
                                                                                 Those are actually
                                                                                           actually January 6th related
                                                                                                    January 6th related cases
                                                                                                                        cases
  66 the
     the guy
         guy who
             who owns the New
                 owns the New York Knicks, do
                              York Knicks, do you
                                              you know?
                                                  know?                66 that
                                                                          that are
                                                                               are currently being held
                                                                                   currently being held in
                                                                                                        in advance
                                                                                                           advance in the D.C.
                                                                                                                   in the D.C.
  7
  7     A
        A    So
             So II believe
                   believe you're
                           you're actually
                                  actually talking
                                           talking about
                                                   about               7 Circuit,
                                                                       7 Circuit, while
                                                                                  while the
                                                                                        the D.C.
                                                                                            D.C. Circuit
                                                                                                 Circuit considers the
                                                                                                         considers the
  8 the
  8 the case
        case that
             that we
                  we already
                     already discussed, the Trump
                             discussed, the Trump vs.
                                                  vs.                  8 Blassingame
                                                                       8 Blassingame case, which is
                                                                                     case, which is consolidated with aa couple
                                                                                                    consolidated with    couple
  99 Clinton
     Clinton case.
             case.                                                     99 other
                                                                          other cases
                                                                                cases on
                                                                                      on that
                                                                                         that presidential
                                                                                              presidential immunity
                                                                                                           immunity issue.
                                                                                                                    issue.
 10
 10     Q
        Q    II have
                have aa separate
                        separate listing
                                 listing for Hobba vs.
                                         for Hobba vs.                10
                                                                      10     Q And
                                                                             Q And what
                                                                                   what is the allegation
                                                                                        is the allegation of
                                                                                                          of the
                                                                                                             the
 11 Dolan.
 11 Dolan. It
           It doesn't
              doesn't matter
                      matter that
                             that much.
                                  much. I'm
                                        I'm interested
                                            interested                11 Blassingame case?
                                                                      11 Blassingame case?
 12 in
 12    --
    in --                                                             12
                                                                      12     A
                                                                             A   You know,
                                                                                 You know, the
                                                                                           the allegations
                                                                                               allegations speak for
                                                                                                           speak for
 13
 13     A
        A    I'm not
             I'm not --
                     -- I'm
                        I'm not
                            not --
                                -- I'm
                                   I'm not
                                       not aware
                                           aware of
                                                 of aa                13 themselves. But
                                                                      13 themselves. But I'd
                                                                                         I'd say the --
                                                                                             say the -- the
                                                                                                        the overall issue is
                                                                                                            overall issue is
 14 case
 14 case styled as Hobba
         styled as Hobba vs. Dolan. And
                         vs. Dolan. And the
                                        the only -- the
                                            only -- the               14 the President
                                                                      14 the President of
                                                                                       of the
                                                                                          the United
                                                                                              United States absolute immune
                                                                                                     States absolute immune
 15 only
 15 only case
         case that's
              that's coming to mind
                     coming to mind that
                                    that II represent
                                            represent Ms.
                                                      Ms.             15
                                                                      15 from
                                                                         from aa civil
                                                                                 civil lawsuit
                                                                                       lawsuit based
                                                                                               based on
                                                                                                     on aa speech of public
                                                                                                           speech of public
 16 Hobba
 16 Hobba in
          in is the --
             is the -- is the Clinton
                       is the Clinton --
                                      -- Trump
                                         Trump vs. Clinton
                                               vs. Clinton            16
                                                                      16 importance?
                                                                         importance?
 17 case.
 17 case.                                                             17
                                                                      17     Q
                                                                             Q   Okay. And
                                                                                 Okay. And you
                                                                                           you take
                                                                                               take aa position
                                                                                                       position that
                                                                                                                that he
                                                                                                                     he is?
                                                                                                                        is?
 18
 18     Q As
        Q As you
             you may
                 may know,
                     know, or
                           or may
                              may not
                                  not know,
                                      know, Mr.
                                            Mr.                       18
                                                                      18     A
                                                                             A   Yes, ma'am.
                                                                                 Yes, ma'am.
 19 Birmall,
 19 Binnall, Charles
             Charles Dolan
                     Dolan keeps
                           keeps kicking
                                 kicking people out of
                                         people out of                19
                                                                      19     Q
                                                                             Q   Okay. What
                                                                                 Okay. What was
                                                                                            was the
                                                                                                the Bennie
                                                                                                    Bennie Thompson
                                                                                                           Thompson
 20 Madison
 20 Madison Square Garden who
            Square Garden who he
                              he doesn't
                                 doesn't like based on
                                         like based on                20 litigation?
                                                                      20             Benni Thompson
                                                                         litigation? Benni Thompson vs. Donald Trump?
                                                                                                    vs. Donald Trump?
 21 facial
 21 facial recognition technology, and
           recognition technology, and II wondered
                                          wondered if that
                                                   if that            21
                                                                      21     A
                                                                             A   Okay. So
                                                                                 Okay. So Thompson
                                                                                          Thompson vs.
                                                                                                   vs. Trump
                                                                                                       Trump is one of
                                                                                                             is one of the
                                                                                                                       the
 22 was
 22 was that
        that case.
             case.                                                    22 cases
                                                                      22       that is
                                                                         cases that    consolidated with
                                                                                    is consolidated with Blassingame,
                                                                                                         Blassingame, and
                                                                                                                      and it's
                                                                                                                          it's

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                                                                                                                                                       56
  11 actually
     actually no
              no longer
                 longer Thompson because once
                        Thompson because once --
                                              -- once
                                                 once                            11 issue
                                                                                    issue ofof presidential
                                                                                               presidential immunity.
                                                                                                                  immunity.
  22 Bennie
       Bennie Thompson
                Thompson was  was appointed
                                   appointed Chairman
                                                  Chairman of       the January
                                                                 of the January  2
                                                                                 2       Q What
                                                                                         Q    What is  is representative
                                                                                                           representative Swalwell
                                                                                                                               Swalwell and  and others
                                                                                                                                                  others
    33 6th
       6th Committee,
            Committee, he he dismissed
                              dismissed his his claims    with prejudice
                                                 claims with      prejudice      33 accused
                                                                                    accused Trump
                                                                                                Trump of   of doing?
                                                                                                               doing?
   44 in  that case,
       in that case, so
                      so the
                         the caption
                              caption isis now
                                           now something
                                                  something                      44      A
                                                                                         A II think
                                                                                                think he's
                                                                                                         he's a a lone
                                                                                                                  lone plaintiff    in that,
                                                                                                                         plaintiff in   that, but
                                                                                                                                               but
    55 different.
       different. II don't
                     don't remember
                            remember who  who thethe second
                                                      second plaintiff
                                                                plaintiff        55 it's also --
                                                                                    it's also     you know,
                                                                                               -- you    know, the the issue   before the
                                                                                                                        issue before     the court
                                                                                                                                               court is
                                                                                                                                                     is
   66 on
       on that
           that was,
                was, but
                      but II couldn't  tell you
                             couldn't tell   you who
                                                   who itit is.
                                                            is. But
                                                                  But            6 the
                                                                                 6  the same
                                                                                         same as as whether
                                                                                                      whether aa speech
                                                                                                                     speech ofof public
                                                                                                                                  public importance
                                                                                                                                            importance is is
    7 regardless,
    7  regardless, that
                    that again,
                          again, is
                                  is January
                                     January 6th 6th related.
                                                      related.                   7 entitled
                                                                                 7  entitled toto --
                                                                                                   -- by
                                                                                                       by the
                                                                                                            the President
                                                                                                                 President ofof the
                                                                                                                                 the United
                                                                                                                                      United States
                                                                                                                                                 States
    8
    8      Q That's
           Q    That's related
                        related to
                                 to getting
                                    getting to to access
                                                  access toto Trump
                                                               Trump             8 is
                                                                                 8     entitled to
                                                                                    is entitled   to absolute
                                                                                                       absolute immunity.
                                                                                                                    immunity.
    99 --
       -- President
          President Trump's     documents; correct?
                     Trump's documents;          correct?                        99      Q Okay.
                                                                                         Q    Okay. And  And whatwhat about
                                                                                                                        about ---- I'm   almost done
                                                                                                                                   I'm almost     done ----
 10
 10        A No,
           A    No, ma'am.
                     ma'am. That
                               That is   -- that
                                      is -- that is
                                                  is aa different
                                                        different               10  Kirkland vs.
                                                                                10 Kirkland      vs. Trump?
                                                                                                       Trump?
 11
 11 case.
       case. That's   why II made
              That's why      made very
                                      very clear    to make
                                             clear to   make thethe             11
                                                                                11       A    Kirkland vs.
                                                                                         A Kirkland          vs. Trump,
                                                                                                                  Trump, II believe,
                                                                                                                              believe, is     one of
                                                                                                                                          is one  of the
                                                                                                                                                      the
 12
 12 distinction     between Thompson
       distinction between     Thompson vs.    vs. Trump
                                                   Trump as  as opposed
                                                                 opposed toto   12  other cases
                                                                                12 other    cases that
                                                                                                     that is
                                                                                                           is currently
                                                                                                               currently being
                                                                                                                           being held
                                                                                                                                    held inin advance
                                                                                                                                               advance
 13
 13 Trump
       Trump vs.vs. Thompson.
                    Thompson.                                                   13  until the
                                                                                13 until   the Blassingame
                                                                                                Blassingame decision decision comes
                                                                                                                                comes down.
                                                                                                                                          down.
 14
 14        Q Okay.
           Q    Okay. AndAnd Trump
                               Trump vs.vs. Thompson
                                             Thompson is        the one
                                                            is the   one        14
                                                                                14       Q And
                                                                                         Q            what's the
                                                                                              And what's        the allegation?
                                                                                                                     allegation?
 15    that was
 15 that    was related
                 related toto blocking
                              blocking thethe disclosure
                                               disclosure of of                 15
                                                                                15       A
                                                                                         A Same         allegation.
                                                                                              Same allegation.
 16    President Trump's
 16 President      Trump's documents;         right?
                              documents; right?                                 16
                                                                                16       Q So
                                                                                         Q         the --
                                                                                              So the     --
 17
 17        A Yeah.
           A    Yeah. That     was an
                         That was   an executive
                                        executive privilege
                                                       privilege                17
                                                                                17       A
                                                                                         A All      those are
                                                                                              All those      are --
                                                                                                                  -- are
                                                                                                                      are the
                                                                                                                          the same
                                                                                                                               same issue,      and --
                                                                                                                                       issue, and   --
 18
 18 lawsuit     and had
       lawsuit and   had toto do
                              do with
                                  with executive
                                        executive privilege
                                                       privilege and
                                                                   and the
                                                                        the     18
                                                                                18  which
                                                                                    which    is,
                                                                                             is, I
                                                                                                 I  mean,
                                                                                                    mean,     effectively,   there   --  there   might
                                                                                                              effectively, there -- there might be       be
 19    Presidential Records
 19 Presidential      Records Act.
                                 Act.                                           19  some factual
                                                                                19 some     factual distinctions
                                                                                                       distinctions thatthat the
                                                                                                                              the D.C.
                                                                                                                                   D.C. Circuit
                                                                                                                                           Circuit may
                                                                                                                                                    may
 20
 20        Q Are
           Q    Are either   of the
                     either of  the Thompson        litigations
                                     Thompson litigations                       20 have
                                                                                20  have toto consider
                                                                                               consider depending
                                                                                                             depending on       which way
                                                                                                                           on which      way that
                                                                                                                                                that it goes,
                                                                                                                                                     it goes
 21 concluded?
 21    concluded?                                                               21  but  I wouldn't      want    to  guess  as  at what
                                                                                21 but I wouldn't want to guess as at what that might be   that  might   be
 22
 22        A The
           A    The --
                     -- the
                        the Trump
                             Trump vs.vs. Thompson
                                           Thompson case         regarding
                                                          case regarding        22 right
                                                                                22  right now.
                                                                                           now. They're
                                                                                                    They're --      these are
                                                                                                                 -- these  are all
                                                                                                                                all --  all cases
                                                                                                                                    -- all         that
                                                                                                                                             cases that
                                                                    Page
                                                                    Page 55
                                                                         55                                                                       Page
                                                                                                                                                  Page 57
                                                                                                                                                       57
  11 the
     the executive
         executive privilege
                   privilege and
                             and the
                                 the Presidential
                                     Presidential Records
                                                  Records                        11 have
                                                                                    have to
                                                                                         to do with whether
                                                                                            do with whether aa speech of public
                                                                                                               speech of public importance
                                                                                                                                importance
  22 act
     act is concluded.
         is concluded.                                                          22 by
                                                                                   by the
                                                                                      the President
                                                                                          President of
                                                                                                    of the
                                                                                                       the United
                                                                                                           United State
                                                                                                                  State is
                                                                                                                        is entitled to
                                                                                                                           entitled to
  33     Q
         Q    Okay. And
              Okay. And what
                        what was
                             was the
                                 the conclusion?
                                     conclusion?                                 33 absolute
                                                                                    absolute immunity.
                                                                                             immunity.
  44     A
         A    The Supreme
              The         Court of
                  Supreme Court    the United
                                of the United States
                                              States                            44     Q
                                                                                       Q    Okay. The
                                                                                            Okay.     docket reads
                                                                                                  The docket reads defendants
                                                                                                                   defendants --
                                                                                                                              -- that
                                                                                                                                 that
  55 denied our application
     denied our application for
                            for emergency
                                emergency relief and
                                          relief and                             55 the
                                                                                    the allegation
                                                                                        allegation is
                                                                                                   is "Defendant's wrongful conduct
                                                                                                      "Defendant's wrongful conduct
  66 subsequently denied suit.
     subsequently denied suit.                                                  66 inciting
                                                                                   inciting aa riot
                                                                                               riot by
                                                                                                    by his
                                                                                                       his followers
                                                                                                           followers in
                                                                                                                     in attempt
                                                                                                                        attempt to
                                                                                                                                to
  7
  7      Q And
         Q And so
               so the
                  the documents
                      documents were
                                were turned
                                     turned over;
                                            over;                                7 overturn
                                                                                 7 overturn the
                                                                                            the results of the
                                                                                                results of the 2020
                                                                                                               2020 presidential
                                                                                                                    presidential
  8 right?
  8 right?                                                                       8 election."
                                                                                 8 election." That's
                                                                                              That's how the court
                                                                                                     how the       characterizes the
                                                                                                             court characterizes the
  99     I'm sorry.
         I'm sorry. II didn't hear you.
                       didn't hear you. Can
                                        Can you
                                            you answer
                                                answer                           99 allegations.
                                                                                    allegations. Does
                                                                                                 Does that
                                                                                                      that seem
                                                                                                           seem aa correct
                                                                                                                   correct way
                                                                                                                           way to
                                                                                                                               to
 10 again?
 10 again?                                                                     10
                                                                               10 characterize the allegations?
                                                                                  characterize the allegations? II understand
                                                                                                                   understand you
                                                                                                                              you
 11
 11      A
         A    Correct.
              Correct.                                                         11
                                                                               11 disagree with them.
                                                                                  disagree with them.
 12
 12      Q
         Q    Okay. Sorry.
              Okay.        For some
                    Sorry. For      reason, Mr.
                               some reason, Mr. Binnall,
                                                Binnall,                       12
                                                                               12      A
                                                                                       A    II wouldn't
                                                                                               wouldn't want
                                                                                                        want to
                                                                                                             to characterize
                                                                                                                characterize the
                                                                                                                             the
 13 sometimes
 13           there's aa delay
    sometimes there's    delay in your answer,
                               in your answer, so
                                               so II                           13 allegations. II think
                                                                               13 allegations.    think they
                                                                                                        they speak
                                                                                                             speak for themselves. So
                                                                                                                   for themselves. So
 14 apologize.
 14 apologize.                                                                 14
                                                                               14 if that's the
                                                                                  if that's the way
                                                                                                way that
                                                                                                    that the
                                                                                                         the docket
                                                                                                             docket reads,
                                                                                                                    reads, I'll
                                                                                                                           I'll take
                                                                                                                                take
 15
 15      And the
         And the Bennie
                 Bennie Thompson
                        Thompson vs.
                                 vs. Trump matter is
                                     Trump matter is still
                                                     still                     15 your word
                                                                               15 your word for
                                                                                            for it.
                                                                                                it.
 16 going
 16 going on; correct? With
          on; correct? With aa different
                               different name.
                                         name.                                 16
                                                                               16      Q
                                                                                       Q    Okay. And
                                                                                            Okay. And you
                                                                                                      you were
                                                                                                          were involved in litigations
                                                                                                               involved in litigations
 17
 17      A
         A    Without Bennie
              Without Bennie Thompson,
                             Thompson, yes.
                                       yes.                                    17 on behalf
                                                                               17 on behalf of
                                                                                            of the
                                                                                               the Trump campaign in
                                                                                                   Trump campaign in Nevada;
                                                                                                                     Nevada; correct?
                                                                                                                             correct?
 18
 18      Q
         Q    Okay. What
              Okay. What is
                         is the
                            the Erik
                                Erik Swalwell
                                     Swalwell vs. Donald
                                              vs. Donald                       18
                                                                               18      A
                                                                                       A    Yes, ma'am.
                                                                                            Yes, ma'am.
 19 Trump
 19       matter?
    Trump matter?                                                              19
                                                                               19      Q And
                                                                                       Q And what
                                                                                             what were
                                                                                                  were those
                                                                                                       those litigations
                                                                                                             litigations about?
                                                                                                                         about?
 20
 20      A
         A    That's another
              That's another case that has
                             case that has been
                                           been                                20
                                                                               20      A
                                                                                       A    II was
                                                                                               was involved
                                                                                                   involved in
                                                                                                            in aa number
                                                                                                                  number of
                                                                                                                         of allegation
                                                                                                                            allegation --
                                                                                                                                       --
 21 consolidated
 21              with the
    consolidated with the Blassingame
                          Blassingame case
                                      case and
                                           and is
                                               is                              21 aa number
                                                                               21    number of
                                                                                            of litigations
                                                                                               litigations in Nevada. One
                                                                                                           in Nevada. One had
                                                                                                                          had to
                                                                                                                              to do
                                                                                                                                 do with
                                                                                                                                    with
 22 currently
 22           under submission
    currently under submission at
                               at the
                                  the D.C.
                                      D.C. Circuit
                                           Circuit on
                                                   on that
                                                      that                     22 access
                                                                               22 access to
                                                                                         to poll watchers, and
                                                                                            poll watchers, and that
                                                                                                               that was
                                                                                                                    was brought
                                                                                                                        brought before
                                                                                                                                before

                                                                                                                               15 (Pages 54
                                                                                                                               15 (Pages 54 -- 57)
                                                                                                                                               57)
                                            Veritext Legal
                                            Veritext Legal Solutions
                                                           Solutions
                          215-241-1000 ~
                          215-241-1000 — 610-434-8588
                                         610-434-8588 -~ 302-571-0510
                                                         302-571-0510 ~ 202-803-8830
                                                                        202-803-8830
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                                                                                                                                                60
  11 the
     the election
         election to
                  to try
                     try to
                         to ensure
                            ensure that
                                   that there
                                        there would
                                              would be
                                                    be the
                                                       the                11 November
                                                                             November 2020  2020 through
                                                                                                    through December
                                                                                                                 December 2022.  2022.
  22 ability
     ability of
             of poll watchers to
                poll watchers to --
                                 -- to
                                    to actually
                                       actually see ballots
                                                see ballots               2
                                                                          2      A
                                                                                 A If If --   if that's
                                                                                          -- if  that's --
                                                                                                        -- II mean,
                                                                                                               mean, II -- -- II couldn't
                                                                                                                                 couldn't
  33 through
     through the
             the entire
                 entire process
                        process to
                                to try
                                   try to
                                       to avoid
                                          avoid aa situation
                                                   situation              33 sit
                                                                             sit here
                                                                                 here right
                                                                                       right now      and tell
                                                                                                now and     tell you
                                                                                                                   you thethe exact    dollar
                                                                                                                               exact dollar
  44 where
     where the
           the results
               results couldn't
                       couldn't be
                                be relied
                                   relied on.
                                          on.                             44 amount.
                                                                             amount. If   If that's
                                                                                             that's what
                                                                                                     what thethe numbers
                                                                                                                   numbers show         and it's
                                                                                                                                 show and     it's
  55    And another
        And another case was post-election.
                    case was post-election. And
                                            And we
                                                we                        55 correctly
                                                                             correctly added,
                                                                                          added, II have
                                                                                                      have no  no reason
                                                                                                                   reason to to ---- to
                                                                                                                                     to disagree
                                                                                                                                        disagree
  66 brought
     brought forward
             forward aa number
                        number of
                               of allegations
                                  allegations of
                                              of misconduct
                                                 misconduct               6 with
                                                                          6  with that,
                                                                                    that, subject
                                                                                           subject toto me,
                                                                                                        me, of  of course,
                                                                                                                     course, adding
                                                                                                                                adding up up the
                                                                                                                                             the
  7 including
  7           -- including
    including -- including the
                           the bribing of individuals
                               bribing of             on
                                          individuals on                  7 totals
                                                                          7  totals myself.
                                                                                     myself.
  8 Native
  8 Native American
           American reservations to vote
                    reservations to      and brought
                                    vote and brought that
                                                     that                 8
                                                                          8      Q Okay.
                                                                                 Q    Okay. Well,        Mr. Binnall,
                                                                                                  Well, Mr.      Binnall, II diddid gogo to
                                                                                                                                         to law
                                                                                                                                            law
  99 up
     up in addition to
        in addition to other
                       other issues.
                             issues.                                      99 school,
                                                                             school, so     who knows
                                                                                       so who      knows if  if II know
                                                                                                                   know my  my math,      but II did
                                                                                                                                  math, but      did
 10
 10     We also
        We also litigated during that
                litigated during that case
                                      case leaving the
                                           leaving the                   10  genuinely try.
                                                                         10 genuinely      try.
 11 polls
 11 polls open
          open aa little bit later
                  little bit       because the
                             later because the machines
                                               machines in
                                                        in               11
                                                                         11      A    Yeah.
                                                                                 A Yeah.
 12 certain
 12         precincts on
    certain precincts on election day did
                         election day     not work
                                      did not work for
                                                   for                   12
                                                                         12      Q Okay.
                                                                                 Q    Okay. Who         were your
                                                                                                  Who were        your local      counsel in
                                                                                                                          local counsel     in that
                                                                                                                                                that
 13 hours
 13 hours when
          when the
               the polls
                   polls were
                         were opened.
                              opened. And
                                      And we
                                          we were
                                             were                        13  case?
                                                                         13 case?
 14 successful
 14            on getting
    successful on getting the
                          the polls
                              polls open
                                    open for
                                         for some amount
                                             some amount                 14
                                                                         14      A
                                                                                 A In      what case?
                                                                                      In what      case?
 15 of
 15 of time
       time after
            after they
                  they were
                       were supposed to --
                            supposed to -- they
                                           they were
                                                were                     15
                                                                         15      Q Sorry.
                                                                                 Q     Sorry. In     Nevada.
                                                                                                  In Nevada.
 16 supposed
 16          to close.
    supposed to close.                                                   16
                                                                         16      A    Local counsel
                                                                                 A Local        counsel waswas Shana
                                                                                                                   Shan. Weir.
                                                                                                                             Weir.
 17
 17     II believe
           believe there
                   there may
                         may have
                             have been
                                  been one
                                       one or
                                           or two
                                              two other
                                                  other                  17
                                                                         17      Q You
                                                                                 Q    You also also testified
                                                                                                    testified in  in congress
                                                                                                                      congress aboutabout
 18 cases
 18 cases II was
             was involved
                 involved in.
                          in. II was
                                 was in Nevada for
                                     in Nevada     about an
                                               for about an              18 election
                                                                         18             irregularities, to
                                                                             election irregularities,       to put     it mildly;    correctly?
                                                                                                                 put it mildly; correctly?
 19 eight
 19       week period.
    eight week period.                                                   19
                                                                         19      A    Yes, ma'am.
                                                                                 A Yes,        ma'am. II did.
                                                                                                            did.
 20
 20     Q
        Q   How did
            How did it come to
                    it come to be
                               be that
                                  that you
                                       you were
                                           were in
                                                in                       20
                                                                         20      Q II took
                                                                                 Q       took aa look    at the
                                                                                                   look at    the --   at your
                                                                                                                    -- at  your testimony.
                                                                                                                                   testimony.
 21 Nevada?
 21 Nevada? Were
            Were you
                 you sort
                     sort of designated as
                          of designated as the
                                           the Trump
                                               Trump                     21  I just  have   a  question    for    you
                                                                         21 I just have a question for you which is thatwhich     is that you
                                                                                                                                           you say,
                                                                                                                                                 say,
 22 campaign
 22          guy in
    campaign guy    Nevada? I'm
                 in Nevada? I'm sure there's aa more
                                sure there's    more                     22 and
                                                                         22  and the
                                                                                  the thing
                                                                                       thing youyou say
                                                                                                     say "Our
                                                                                                           "Our team team began
                                                                                                                            began chasing
                                                                                                                                      chasing down
                                                                                                                                                 down
                                                               Page
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                                                                    59                                                                     Page
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                                                                                                                                                61
  11 formal way of
     formal way of saying that, but
                   saying that, but was
                                    was that
                                        that your
                                             your role?
                                                  role?                   11 every
                                                                             every lead and here's
                                                                                   lead and here's what
                                                                                                   what we
                                                                                                        we found."
                                                                                                           found." II can
                                                                                                                      can put it up
                                                                                                                          put it up
  22    A
        A   Yeah. No,
            Yeah. No, II mean,
                         mean, that's
                               that's --
                                      -- that's
                                         that's right.
                                                right.                    22 on
                                                                             on the
                                                                                the screen,
                                                                                    screen, but my question
                                                                                            but my question is going to
                                                                                                            is going to be
                                                                                                                        be who
                                                                                                                           who was
                                                                                                                               was
  33 II was
        was --
            -- II was
                  was engaged
                      engaged by
                              by the
                                 the --
                                     -- by
                                        by the
                                           the Trump
                                               Trump                      33 your
                                                                             your team?
                                                                                  team? Was
                                                                                        Was that
                                                                                            that your
                                                                                                 your --
                                                                                                      -- in
                                                                                                         in your
                                                                                                            your law
                                                                                                                 law firm
                                                                                                                     firm or
                                                                                                                          or
  44 campaign. Nevada was,
     campaign. Nevada was, of
                           of course,
                              course, aa swing
                                         swing state,
                                               state, and
                                                      and                 44 another
                                                                             another team
                                                                                     team that
                                                                                          that you
                                                                                               you had
                                                                                                   had assembled?
                                                                                                       assembled?
  55 so
     so II was
           was engaged
               engaged by the Trump
                       by the       campaign as
                              Trump campaign as outside
                                                outside                   55     A
                                                                                 A    That was
                                                                                      That was the
                                                                                               the Nevada
                                                                                                   Nevada Election
                                                                                                          Election Day
                                                                                                                   Day operations
                                                                                                                       operations
  66 counsel.
     counsel.                                                             66 team.
                                                                             team. And
                                                                                   And there
                                                                                       there was
                                                                                             was aa number
                                                                                                    number of
                                                                                                           of volunteers that were
                                                                                                              volunteers that were
  7
  7     Q
        Q   How did
            How     you come
                did you      to be
                        come to be engaged by the
                                   engaged by the Trump
                                                  Trump                   7 on
                                                                          7 on that
                                                                               that team.
                                                                                    team. There
                                                                                          There was
                                                                                                was --
                                                                                                    -- there
                                                                                                       there was
                                                                                                             was some
                                                                                                                 some staff,
                                                                                                                      staff,
  8 campaign?
  8           Was it
    campaign? Was it before
                     before or after you
                            or after you were
                                         were retained
                                              retained by
                                                       by                 8 local
                                                                          8       counsel, other
                                                                            local counsel, other counsel that had
                                                                                                 counsel that had volunteered or
                                                                                                                  volunteered or
  99 General Flynn?
     General Flynn?                                                       99 otherwise
                                                                             otherwise engaged.
                                                                                       engaged. And
                                                                                                And so,
                                                                                                    so, there
                                                                                                        there were
                                                                                                              were --
                                                                                                                   -- there
                                                                                                                      there were
                                                                                                                            were aa
 10
 10     A
        A   So
            So II was
                  was engaged by the
                      engaged by the Trump
                                     Trump campaign
                                           campaign in
                                                    in                   10 number of
                                                                         10 number of people.
                                                                                      people. You
                                                                                              You know, most of
                                                                                                  know, most of them
                                                                                                                them just
                                                                                                                     just hard
                                                                                                                          hard
 11 2016
 11 2016 for
         for the
             the first time. And
                 first time. And so,
                                 so, that
                                     that was
                                          was on
                                              on                         11 working Americans
                                                                         11 working Americans who
                                                                                              who believe
                                                                                                  believe in what they
                                                                                                          in what they were
                                                                                                                       were doing,
                                                                                                                            doing,
 12 parliamentary
 12 parliamentary procedure matters primarily.
                  procedure matters            But II was
                                    primarily. But    was                12 but they
                                                                         12 but they came
                                                                                     came out and volunteered
                                                                                          out and             their time.
                                                                                                  volunteered their time.
 13 engaged
 13         going back
    engaged going back to
                       to 2016.
                          2016. And
                                And then
                                    then II was
                                            was engaged
                                                engaged                  13
                                                                         13      Q
                                                                                 Q    Okay. Was
                                                                                      Okay. Was Mr.
                                                                                                Mr. Biss
                                                                                                    Biss involved
                                                                                                         involved in
                                                                                                                  in any of that?
                                                                                                                     any of that?
 14 for
 14     the 2020
    for the 2020 campaign October of
                 campaign October of 2020,
                                     2020, so
                                           so that
                                              that was
                                                   was                   14
                                                                         14      A
                                                                                 A    II do
                                                                                         do not
                                                                                            not believe
                                                                                                believe he
                                                                                                        he was
                                                                                                           was involved in Nevada
                                                                                                               involved in Nevada
 15 sometimes
 15           after II had
    sometimes after    had been
                           been working
                                working for
                                        for General Flynn.
                                            General Flynn.               15 at all.
                                                                         15 at all.
 16
 16     Q And
        Q And II looked
                 looked it up on
                        it up    the Federal
                              on the Federal Election
                                             Election                    16
                                                                         16      Q
                                                                                 Q    Okay. Do
                                                                                      Okay. Do you
                                                                                               you think
                                                                                                   think he
                                                                                                         he was
                                                                                                            was involved
                                                                                                                involved
 17 Committee.
 17 Committee. You
               You got paid about
                   got paid about 2.2
                                  2.2 million
                                      million dollars
                                              dollars for
                                                      for                17
                                                                         17 somewhere
                                                                            somewhere else?
                                                                                      else?
 18 representing
 18 representing the
                 the President
                     President in litigation related
                               in litigation related                     18
                                                                         18      A
                                                                                 A    II wouldn't
                                                                                         wouldn't know.
                                                                                                  know.
 19 lawsuits;
 19 lawsuits; right?
              right?                                                     19
                                                                         19      Q
                                                                                 Q    Okay. All
                                                                                      Okay. All right.
                                                                                                right. Can
                                                                                                       Can we
                                                                                                           we just
                                                                                                              just take
                                                                                                                   take five
                                                                                                                        five
 20
 20     A
        A   During what
            During what period?
                        period? Over --
                                Over --                                  20 minutes
                                                                         20 minutes while
                                                                                    while II just
                                                                                             just run
                                                                                                  run to
                                                                                                      to the
                                                                                                         the bathroom
                                                                                                             bathroom and
                                                                                                                      and check
                                                                                                                          check on
                                                                                                                                on
 21
 21     Q
        Q   II guess
               guess from 20 --
                     from 20 -- shame
                                shame on me for
                                      on me     not --
                                            for not -- II                21 my
                                                                         21 my --
                                                                               -- my
                                                                                  my son's
                                                                                     son's cut? He injured
                                                                                           cut? He         his foot
                                                                                                   injured his      this morning.
                                                                                                               foot this morning.
 22 was
 22 was just
        just trying
             trying to
                    to cut
                       cut down
                           down on time --
                                on time -- basically
                                           basically from
                                                     from                22 And
                                                                         22 And I'll
                                                                                I'll be
                                                                                     be right
                                                                                        right back.
                                                                                              back. Give
                                                                                                    Give me
                                                                                                         me five minutes, I'll
                                                                                                            five minutes, I'll be
                                                                                                                               be

                                                                                                                        16 (Pages 58
                                                                                                                        16 (Pages 58 -- 61)
                                                                                                                                        61)
                                         Veritext Legal
                                         Veritext Legal Solutions
                                                        Solutions
                       215-241-1000 ~
                       215-241-1000 — 610-434-8588
                                      610-434-8588 -~ 302-571-0510
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                                                                                                                                              64
  11 right
     right back.
           back.                                                        11 aware
                                                                           aware of
                                                                                 of the
                                                                                    the work
                                                                                        work that
                                                                                             that he
                                                                                                  he had
                                                                                                     had done,
                                                                                                         done, and
                                                                                                               and II had
                                                                                                                      had read
                                                                                                                          read aa
  22    A
        A   Thank you.
            Thank you.                                                  22 number
                                                                           number of
                                                                                  of his
                                                                                     his cases. He's handled
                                                                                         cases. He's handled these
                                                                                                             these cases like
                                                                                                                   cases like
  33           THE
               THE VIDEOGRAPHER:
                   VIDEOGRAPHER: Okay. Going off
                                 Okay. Going off the
                                                 the                    33 these
                                                                           these all
                                                                                 all over
                                                                                     over the
                                                                                          the country.
                                                                                              country. And
                                                                                                       And where
                                                                                                           where it's -- it's
                                                                                                                 it's -- it's
  44 record
     record at
            at 11:05.
               11:05.                                                   44 reputational
                                                                           reputational harm
                                                                                        harm cases. Most times,
                                                                                             cases. Most times, of course, is
                                                                                                                of course, is
  55           (Off the
               (Off the record.)
                        record.)                                        55 defamation, but false
                                                                           defamation, but false light
                                                                                                 light is another way
                                                                                                       is another way that
                                                                                                                      that you
                                                                                                                           you
  66           THE
               THE VIDEOGRAPHER: We are
                   VIDEOGRAPHER: We are back
                                        back on
                                             on the
                                                the                     66 can bring those
                                                                           can bring those cases.
                                                                                           cases. Other states have
                                                                                                  Other states have other
                                                                                                                    other torts.
                                                                                                                          torts.
  7 record
  7 record at
           at 11:12.
              11:12.                                                    7
                                                                        7      Q
                                                                               Q    When you
                                                                                    When you reached
                                                                                             reached that
                                                                                                     that conclusion, were you
                                                                                                          conclusion, were you
  8 BY
  8 BY MS.
       MS. BOLGER:
           BOLGER:                                                      8 aware
                                                                        8 aware that
                                                                                that on
                                                                                     on November
                                                                                        November 26,
                                                                                                 26, 2008,
                                                                                                     2008, the
                                                                                                           the Circuit
                                                                                                               Circuit Court
                                                                                                                       Court of
                                                                                                                             of
  99    Q
        Q   Mr. Binnall,
            Mr. Binnall, when
                         when did you first
                              did you       meet Mr.
                                      first meet Mr.                    99 the
                                                                           the County
                                                                               County of
                                                                                      of Chesterfield had suspended
                                                                                         Chesterfield had           Mr. Biss's
                                                                                                          suspended Mr. Biss's
 10 Biss?
 10 Biss?                                                              10
                                                                       10 law
                                                                          law license
                                                                              license for one year
                                                                                      for one year and one day?
                                                                                                   and one day?
 11
 11     A
        A   First time
            First time II remember
                          remember talking
                                   talking to
                                           to him
                                              him on the
                                                  on the               11
                                                                       11      A
                                                                               A    Yes, ma'am.
                                                                                    Yes, ma'am.
 12 phone
 12 phone is
          is September of last
             September of      year, but
                          last year, but that
                                         that might
                                              might not
                                                    not be
                                                        be             12
                                                                       12    Q That
                                                                             Q That didn't
                                                                                    didn't change your expert
                                                                                           change your expert opinion of
                                                                                                              opinion of
 13 right.
 13 right. It's
           It's very
                very possible that our
                     possible that our --
                                       -- paths
                                          paths crossed
                                                crossed                13 his?
                                                                       13 his?
 14 before
 14 before that.
           that. But
                 But that's
                     that's from my recollection
                            from my              now, was
                                    recollection now, was              14
                                                                       14      A No,
                                                                               A No, ma'am.
                                                                                     ma'am. He's
                                                                                            He's --
                                                                                                 -- he's
                                                                                                    he's --
                                                                                                         -- since that time,
                                                                                                            since that time,
 15 actually,
 15 actually, II think,
                 think, August
                        August of
                               of last
                                  last year.
                                       year.                           15 he has
                                                                       15 he has continued
                                                                                 continued to
                                                                                           to practice
                                                                                              practice law and has
                                                                                                       law and has practiced
                                                                                                                   practiced all
                                                                                                                             all
 16
 16     Q And
        Q And what
              what do you recall
                   do you recall about
                                 about that
                                       that first
                                            first                      16 over the
                                                                       16 over the country
                                                                                   country with
                                                                                           with good
                                                                                                good results. And so,
                                                                                                     results. And so, no.
                                                                                                                      no. That
                                                                                                                          That
 17 conversation?
 17 conversation?                                                      17
                                                                       17 didn't -- that
                                                                          didn't -- that didn't
                                                                                         didn't affect
                                                                                                affect my
                                                                                                       my --
                                                                                                          -- my
                                                                                                             my analysis
                                                                                                                analysis --
                                                                                                                         --
 18
 18     A
        A   It was
            It was an
                   an unrelated
                      unrelated matter.
                                matter. We
                                        We had
                                           had aa                      18 negatively affect
                                                                       18 negatively        my analysis
                                                                                     affect my analysis on that.
                                                                                                        on that.
 19 privileged
 19 privileged conversation.
               conversation.                                           19
                                                                       19      Q
                                                                               Q    Were you
                                                                                    Were you aware
                                                                                             aware that
                                                                                                   that on
                                                                                                        on November
                                                                                                           November 3, 2019
                                                                                                                    3, 2019
 20
 20     Q
        Q   Sorry, you
            Sorry, you were
                       were co-counsel
                            co-counsel of
                                       of some kind?
                                          some kind?                   20 [sic],
                                                                       20 [sic], the
                                                                                 the disciplinary board of
                                                                                     disciplinary board    the Virginia
                                                                                                        of the Virginia State
                                                                                                                        State
 21
 21     A No,
        A No, ma'am.
              ma'am. It
                     It was
                        was --
                            -- it was aa discussion
                               it was    discussion                    21 Bar
                                                                       21 Bar Disciplinary
                                                                              Disciplinary Board
                                                                                           Board extended
                                                                                                 extended aa sanction
                                                                                                             sanction --
                                                                                                                      -- II just
                                                                                                                            just
 22 that
 22 that was
         was --
             -- that
                that was
                     was privileged.
                         privileged. We
                                     We were
                                        were --
                                             -- we
                                                we never
                                                   never               22 want
                                                                       22 want to
                                                                               to make
                                                                                  make sure
                                                                                       sure II say
                                                                                               say it
                                                                                                   it correctly -- suspending
                                                                                                      correctly -- suspending
                                                             Page
                                                             Page 63
                                                                  63                                                                     Page
                                                                                                                                         Page 65
                                                                                                                                              65
  11 entered
     entered our appearances as
             our appearances as co-counsel
                                co-counsel and
                                           and never -- but
                                               never -- but             11 Mr.
                                                                           Mr. Biss's
                                                                                Biss's license     for 30
                                                                                         license for     30 days
                                                                                                             days toto commence
                                                                                                                        commence at     at the
                                                                                                                                           the end
                                                                                                                                               end
  22 it was --
     it was -- it
               it was
                  was aa privileged
                         privileged --
                                    -- privileged
                                       privileged                       2 of
                                                                        2  of his, then, one
                                                                              his, then,   one year
                                                                                                  year suspension?
                                                                                                        suspension?
  33 conversation.
     conversation.                                                      33    A
                                                                              A I'm       sorry. The
                                                                                    I'm sorry.            date was
                                                                                                   The date     was -- --
  44    Q
        Q   Okay. And
            Okay. And how
                      how many
                          many conversations
                               conversations have
                                             have you
                                                  you                   44    Q I'll
                                                                              Q     I'll do
                                                                                         do it   again, 2009
                                                                                             it again,    2009 isis what
                                                                                                                     what II meant.
                                                                                                                              meant. II
  55 had
     had with
         with Mr.
              Mr. Biss
                  Biss since
                       since then?
                             then?                                      55 apologize,
                                                                           apologize, so     2009.
                                                                                         so 2009.
  66    A A
        A A handful.
            handful. II would
                        would venture to say
                              venture to     less than
                                         say less than                  6
                                                                        6     A
                                                                              A The        2009, II was
                                                                                    The 2009,        was aware
                                                                                                            aware of.of.
  7 ten.
  7 ten.                                                                7
                                                                        7     Q Okay.
                                                                              Q     Okay. Were Were youyou aware
                                                                                                             aware in in 2010
                                                                                                                          2010 thethe Virginia
                                                                                                                                       Virginia
  8
  8     Q
        Q   Have you
            Have you guys met in
                     guys met in person?
                                 person?                                8 State
                                                                        8        Bar Disciplinary
                                                                           State Bar    Disciplinary BoardBoard -- --
  99    A
        A   II don't
               don't think
                     think so.
                           so.                                          99             MR. BISS:
                                                                                       MR.    BISS: II heard
                                                                                                           heard 2019.
                                                                                                                   2019.
 10
 10     Q
        Q   When II went
            When    went to the University
                         to the University of
                                           of Virginia,
                                              Virginia,                10  BY MS.
                                                                       10 BY    MS. BOLGER:
                                                                                      BOLGER:
 11 there
 11 there was
          was aa big
                 big difference
                     difference between
                                between Alexandria
                                        Alexandria and
                                                   and                 11
                                                                       11     Q Right.
                                                                              Q     Right. And        then II correct
                                                                                               And then       correct -- --
 12 Charlottesville.
 12 Charlottesville. Not
                     Not necessarily
                         necessarily geographically, but
                                     geographically, but               12
                                                                       12     A
                                                                              A II heard       2019 originally
                                                                                      heard 2019       originally as as well.
                                                                                                                         well.
 13 in
 13 in spheres, those were
       spheres, those were different places. So
                           different places.    you've
                                             So you've                 13
                                                                       13     Q Yes.
                                                                              Q     Yes. And       then II meant
                                                                                             And then       meant to to correct
                                                                                                                          correct it   to
                                                                                                                                    it to
 14 never
 14 never been Mr. Biss's
          been Mr. Biss's co-counsel
                          co-counsel in anything?
                                     in anything?                      14  2009. It
                                                                       14 2009.       was certainly
                                                                                   It was                 not  intentional.
                                                                                             certainly not intentional.
 15
 15     A No,
        A No, ma'am.
              ma'am.                                                   15
                                                                       15     Okay. Did
                                                                              Okay.     Did youyou know
                                                                                                     know that
                                                                                                             that the
                                                                                                                   the Virginia
                                                                                                                         Virginia State      Bar
                                                                                                                                      State Bar
 16
 16     Q
        Q   In your
            In your expert
                    expert report,
                           report, you
                                   you say
                                       say "There are aa
                                           "There are                  16  Disciplinary Board
                                                                       16 Disciplinary      Board on      October 19,
                                                                                                     on October            2010, had
                                                                                                                      19, 2010,     had said   that
                                                                                                                                          said that
 17 few
 17 few attorneys in the
        attorneys in the country
                         country with
                                 with the
                                      the skills
                                          skills requisite
                                                 requisite             17  Stevens   Biss    need   to  receive
                                                                       17 Stevens Biss need to receive a public   a  public   reprimand
                                                                                                                              reprimand      for
                                                                                                                                             for
 18 to
 18 to properly perform the
       properly perform the legal
                            legal services
                                  services in
                                           in aa high
                                                 high                  18 his
                                                                       18  his misconduct?
                                                                               misconduct?
 19 profile
 19 profile false
            false light
                  light case,
                        case, such as this.
                              such as this. Mr.
                                            Mr. Biss
                                                Biss is
                                                     is                19
                                                                       19     A
                                                                              A ThatThat waswas inin --
                                                                                                     -- in
                                                                                                         in 2010?
                                                                                                            2010?
 20 one
 20 one of those lawyers."
        of those lawyers."                                             20
                                                                       20     Q Yes,
                                                                              Q     Yes, sir.
                                                                                            sir.
 21
 21     What was
        What was your
                 your basis
                      basis for
                            for saying that?
                                saying that?                           21
                                                                       21     A
                                                                              A You You know,
                                                                                           know, II don't
                                                                                                       don't remember
                                                                                                              remember if    if II knew
                                                                                                                                   knew about
                                                                                                                                           about
 22
 22     A
        A   Mr. Biss
            Mr. Biss is well known.
                     is well known. And
                                    And II certainly
                                           certainly was
                                                     was               22 that
                                                                       22  that one
                                                                                one oror not.
                                                                                          not. II did
                                                                                                   did know
                                                                                                        know that
                                                                                                                that there
                                                                                                                       there was
                                                                                                                              was aa couple
                                                                                                                                        couple

                                                                                                                     17 (Pages 62
                                                                                                                     17 (Pages 62 -- 65)
                                                                                                                                     65)
                                          Veritext Legal
                                          Veritext Legal Solutions
                                                         Solutions
                        215-241-1000 ~
                        215-241-1000 — 610-434-8588
                                       610-434-8588 -~ 302-571-0510
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                                                                                                                                                                         68
   11 back
       back inin that
                 that time
                       time frame.
                                frame. II don't
                                              don't remember
                                                     remember if     if II knew
                                                                           knew        11       Q So
                                                                                                Q    So ifif --
                                                                                                             -- if   the issue
                                                                                                                 if the  issue is   whether somebody
                                                                                                                                 is whether     somebody --    --
  22 about
       about that
               that one
                     one oror not.
                                not.                                                 22 thethe Virginia
                                                                                                Virginia Bar Bar hashas opined
                                                                                                                         opined on on this
                                                                                                                                       this recently
                                                                                                                                             recently about
                                                                                                                                                         about
   33      Regardless, it
           Regardless,          -- whether
                            it --  whether therethere was
                                                        was past
                                                               past                     33 when
                                                                                           when youyou cancan take
                                                                                                                take money
                                                                                                                        money outout of
                                                                                                                                      of aa trust
                                                                                                                                            trust account,
                                                                                                                                                    account, based
                                                                                                                                                                 based
   44 reprimand,
       reprimand, and and he      still is,
                             he still    is, you
                                             you know,
                                                   know, now, now, asas far
                                                                          far as
                                                                              as II 44 on  on when
                                                                                                when itsits earned.
                                                                                                            earned. And  And that
                                                                                                                                that is
                                                                                                                                     is aa different
                                                                                                                                           different issue
                                                                                                                                                       issue
   55 know,
       know, properly
                properly licensed
                             licensed to   to practice
                                               practice lawlaw properly,
                                                                  properly,             55 about
                                                                                           about whether
                                                                                                   whether or    or not
                                                                                                                     not you
                                                                                                                          you have
                                                                                                                                have toto put
                                                                                                                                           put benchmarks
                                                                                                                                                benchmarks in      in aa
  66 entitled    to receive
       entitled to   receive aa fee fee for
                                          for doing
                                               doing so.
                                                       so. And       one of
                                                               And one      of        66 engagement
                                                                                           engagement agreement,
                                                                                                             agreement, which which youyou dodo not.
                                                                                                                                                 not. ItIt just
                                                                                                                                                           just hashas
   77 the
       the --
            -- one
               one of
                    of the
                        the few
                              few people
                                     people thatthat --  that does
                                                      -- that   does this
                                                                        this            7 to
                                                                                        7  to deal   with when
                                                                                              deal with      when you  you --
                                                                                                                            -- can  take money
                                                                                                                               can take    money out out ofof aa trust
                                                                                                                                                                  trust
  8 8 and
       and does    this effectively.
             does this   effectively. So     So it  does not
                                                 it does     not --
                                                                  -- it
                                                                     it does
                                                                         does         8 8 agreement.
                                                                                           agreement.
    99 not  affect my
       not affect        analysis that
                    my analysis         that II laid
                                                laid out
                                                      out in in my
                                                                my report.
                                                                     report.            99      And that's
                                                                                               And    that's actually
                                                                                                              actually something
                                                                                                                           something that that there's
                                                                                                                                                there's been
                                                                                                                                                          been
 10
 10        Q Okay.
           Q     Okay. Did Did youyou knowknow that
                                                  that on
                                                        on March
                                                              March 9,     2022, 10
                                                                        9, 2022,    10 quite
                                                                                           quite aa bit
                                                                                                     bit of
                                                                                                          of debate      about in
                                                                                                              debate about          the Bar
                                                                                                                                 in the   Bar in
                                                                                                                                               in Virginia.
                                                                                                                                                   Virginia.
 11
 11 thethe Seventh      District Subcommittee
            Seventh District        Subcommittee of            the Virginia
                                                          of the    Virginia        11
                                                                                    11 You You know,
                                                                                                  know, and and lawyers
                                                                                                                   lawyers that
                                                                                                                              that are
                                                                                                                                    are well
                                                                                                                                         well versed
                                                                                                                                               versed and and the
                                                                                                                                                                the
 12
 12 State     Bar, again,
       State Bar,    again, agreed
                               agreed --   -- ordered
                                              ordered aa public
                                                             public reprimand
                                                                      reprimand 12  12 ethical      issues come
                                                                                           ethical issues     come down down on     different sides
                                                                                                                                 on different    sides ofof that
                                                                                                                                                            that
 13
 13 of of Mr.
          Mr. Biss?
                Biss?                                                               13
                                                                                    13 issue.
                                                                                           issue.
 14
 14        A
           A II don't
                  don't think
                          think II -- -- II knew
                                            knew about
                                                    about thatthat one.
                                                                    one.            14
                                                                                    14          So
                                                                                                So if  that in
                                                                                                   if that        fact is
                                                                                                             in fact       the issue
                                                                                                                        is the  issue atat stake
                                                                                                                                           stake in   this,
                                                                                                                                                   in this,
 15
 15 That      one II don't
       That one               think II did
                      don't think         did see.
                                               see. And       you'd have
                                                      And you'd       have to to    15
                                                                                    15 it     would not
                                                                                           it would     not change
                                                                                                             change my   my ---- my
                                                                                                                                 my analysis
                                                                                                                                      analysis at at all.
                                                                                                                                                     all. And
                                                                                                                                                           And
 16    tell me
 16 tell    me aa little   bit more
                   little bit   more aboutabout that
                                                  that if
                                                        if --  if --
                                                            -- if    to
                                                                  -- to             16
                                                                                    16 certainly,
                                                                                           certainly, it    wouldn't affect
                                                                                                         it wouldn't      affect whether
                                                                                                                                  whether Mr. Mr. Biss
                                                                                                                                                    Biss was
                                                                                                                                                           was -- --
 17
 17 askask me    whether it
            me whether           would affect
                              it would      affect my
                                                    my -- -- my    analysis.
                                                              my analysis.          17
                                                                                    17 was was qualified
                                                                                                 qualified to  to handle
                                                                                                                    handle aa reputational
                                                                                                                                reputational harmharm case
                                                                                                                                                        case such
                                                                                                                                                                such
 18
 18        Q Okay.
           Q     Okay. It  It is
                               is aa --
                                     -- actually,
                                         actually, you
                                                     you know,
                                                             know, what?
                                                                      what?         18
                                                                                    18 as  as this
                                                                                               this one.
                                                                                                    one.
 19
 19                MS. BOLGER:
                   MS.    BOLGER: This       This is   tab 26.
                                                    is tab    26. Can
                                                                   Can you,you,     19
                                                                                    19          Q For
                                                                                                Q    For the
                                                                                                           the record,
                                                                                                                 record, that
                                                                                                                            that actually
                                                                                                                                  actually was
                                                                                                                                             was notnot the
                                                                                                                                                         the
 20 Alexa
 20    Alexa andand Matt,
                      Matt, would
                               would you  you mind
                                                mind putting
                                                       putting it  it up
                                                                      up and
                                                                           and      20 issue.
                                                                                    20     issue. IfIf you
                                                                                                        you turn
                                                                                                              turn to to the
                                                                                                                         the fourth
                                                                                                                              fourth page,     you'll see
                                                                                                                                       page, you'll    see
 21 turning
 21    turning toto the
                     the third
                          third page?
                                   page?                                            21     that  the  Nature      of  Misconduct      charged
                                                                                    21 that the Nature of Misconduct charged -- scroll down       -- scroll  down --
 22
 22                MS. PASTOR:
                   MS.    PASTOR: Just       Just aa moment.
                                                     moment.                        22 -- is
                                                                                    22          that it
                                                                                             is that     was "A
                                                                                                      it was          lawyer shall
                                                                                                                "A lawyer             act with
                                                                                                                                shall act   with reasonable
                                                                                                                                                  reasonable
                                                                            Page
                                                                            Page 67
                                                                                 67                                                                                 Page
                                                                                                                                                                    Page 69
                                                                                                                                                                         69
  11 BY
     BY MS.
        MS. BOLGER:
            BOLGER:                                                                       11 diligence
                                                                                              diligence and
                                                                                                          and promptness
                                                                                                                 promptness in    in representing
                                                                                                                                      representing aa client,"
                                                                                                                                                          client,"
  22      Q
          Q     The third
                The third stipulation
                          stipulation of
                                      of fact, which II think
                                         fact, which    think                            22 and
                                                                                              and aa conclusion
                                                                                                     conclusion that that Mr.
                                                                                                                            Mr. Biss
                                                                                                                                  Biss had
                                                                                                                                         had notnot done    so.
                                                                                                                                                     done so.
  33 is relevant here
     is relevant      is: "On
                 here is: "On July 17, 2019,
                              July 17, 2019, Garrison
                                             Garrison and
                                                      and                                 33      Does that
                                                                                                  Does   that change
                                                                                                                change your
                                                                                                                          your opinion?
                                                                                                                                  opinion?
  44 Respondent,"
     Respondent," who
                  who is Mr. Biss,
                      is Mr. Biss, "signed
                                   "signed an
                                           an engagement
                                              engagement                                  44      A
                                                                                                  A No.No. No.No. That       doesn't change
                                                                                                                     That doesn't       change my  my opinion.
                                                                                                                                                        opinion.
  55 agreement.
     agreement. The agreement stated
                The agreement stated that
                                     that Respondent
                                          Respondent would
                                                     would                                55 And,    again, I'm
                                                                                              And, again,           only being
                                                                                                              I'm only    being shown
                                                                                                                                    shown --   -- parts  of this
                                                                                                                                                  parts of  this
  66 charge
     charge aa flat
               flat fee of $10,000,
                    fee of $10,000, plus
                                    plus aa contingency
                                            contingency fee
                                                        fee                              66 right
                                                                                              right now.
                                                                                                     now. I'll    tell you
                                                                                                             I'll tell you that
                                                                                                                             that it   doesn't change
                                                                                                                                    it doesn't    change my my ----
  7 of
  7 of twenty
       twenty thousand
              thousand [sic]
                       [sic] of
                             of any
                                any settlement or verdict.
                                    settlement or verdict.                                77 my
                                                                                              my opinion      because even
                                                                                                   opinion because        even if    there is
                                                                                                                                  if there   is an
                                                                                                                                                 an agreement
                                                                                                                                                    agreement in   in
  8 The
  8     agreement did
    The agreement did not
                      not identify an hourly
                          identify an        rate, nor
                                      hourly rate, nor did
                                                       did                               8 8 this
                                                                                              this part,  Mr. Biss
                                                                                                    part, Mr.   Biss isis still
                                                                                                                          still licensed
                                                                                                                                 licensed to  to practice
                                                                                                                                                  practice law.
                                                                                                                                                             law.
  99 it identify any
     it identify any benchmarks
                     benchmarks at
                                at which
                                   which Respondent
                                         Respondent would
                                                    would                                  99 So  properly practicing
                                                                                              So properly     practicing the the law
                                                                                                                                   law and
                                                                                                                                         and handles      these
                                                                                                                                                handles these
 10 earn
 10      all or
    earn all    part of
             or part of the
                        the flat fee." Do
                            flat fee." Do you
                                          you see
                                              see that?
                                                  that?                                 10
                                                                                        10 reputational
                                                                                              reputational harm        cases on
                                                                                                              harm cases        on aa --  on aa regular
                                                                                                                                       -- on               basis and
                                                                                                                                                 regular basis    and
 11
 11               (Exhibit 440
                  (Exhibit 440 was
                               was marked
                                   marked for
                                          for                                           11 is
                                                                                        11       -- he's
                                                                                              is --      very qualified
                                                                                                    he's very    qualified to to do    that.
                                                                                                                                  do that.
 12
 12               identification.)
                  identification.)                                                      12
                                                                                        12        Q Okay.
                                                                                                  Q    Okay. So       then --
                                                                                                                  So then    --
 13
 13       A
          A     Yes.
                Yes.                                                                    13
                                                                                        13                MS. BOLGER:
                                                                                                          MS.    BOLGER: You      You can can close    that down.
                                                                                                                                                close that   down.
 14
 14       Q That's
          Q That's similar to the
                   similar to the fee arrangement here;
                                  fee arrangement here;                                 14
                                                                                        14 BY BY MS.MS. BOLGER:
                                                                                                         BOLGER:
 15 right?
 15 right?                                                                              15
                                                                                        15        Q Do
                                                                                                  Q    Do youyou know
                                                                                                                   know whowho Svetlana          Lokhova is?
                                                                                                                                   Svetlana Lokhova          is?
 16
 16       A
          A     II believe
                   believe it is, yes.
                           it is, yes.                                                  16
                                                                                        16        A    Yes.
                                                                                                  A Yes.
 17
 17    Q The
       Q    The fee arrangement here
                fee arrangement here is $20,000 flat
                                     is $20,000 flat fee
                                                     fee                                17
                                                                                        17        Q And
                                                                                                  Q    And whowho is is Ms.
                                                                                                                        Ms. Lokhova?
                                                                                                                               Lokhova?
 18 plus
 18 plus 20
         20 percent --
            percent --                                                                  18
                                                                                        18        A
                                                                                                  A Ms.Ms. Lokhova
                                                                                                              Lokhova is   is aa individual
                                                                                                                                 individual who  who II believe
                                                                                                                                                         believe at at
 19
 19       A
          A     The --
                The -- the
                       the issue at stake
                           issue at stake is
                                          is aa little
                                                little bit
                                                       bit                              19
                                                                                        19 oneone point,
                                                                                                    point, II don't
                                                                                                              don't know
                                                                                                                     know if   if she
                                                                                                                                  she still
                                                                                                                                        still is
                                                                                                                                              is aa Russian
                                                                                                                                                    Russian
 20 different,
 20 different, ethically and legally
               ethically and         speaking. And
                             legally speaking. And II can
                                                      can                               20 national,
                                                                                        20                but she
                                                                                              national, but    she has
                                                                                                                     has --
                                                                                                                          -- she    was --
                                                                                                                              she was      -- her
                                                                                                                                              her name
                                                                                                                                                   name waswas
 21 explain
 21         more if
    explain more if you
                    you would
                        would like.
                              like.                                                     21 sullied
                                                                                        21    sullied in  the Mueller
                                                                                                       in the   Mueller investigation
                                                                                                                            investigation and   and the
                                                                                                                                                      the Crossfire
                                                                                                                                                          Crossfire
 22
 22       Q
          Q     Sure.
                Sure.                                                                   22 Razor
                                                                                        22    Razor investigation
                                                                                                      investigation when when it  it was
                                                                                                                                     was falsely
                                                                                                                                            falsely alleged
                                                                                                                                                      alleged that
                                                                                                                                                                that

                                                                                                                                              18 (Pages 66
                                                                                                                                              18 (Pages 66 -- 69)
                                                                                                                                                              69)
                                               Veritext Legal
                                               Veritext Legal Solutions
                                                              Solutions
                             215-241-1000 ~
                             215-241-1000 — 610-434-8588
                                            610-434-8588 -~ 302-571-0510
                                                            302-571-0510 ~ 202-803-8830
                                                                           202-803-8830
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                                                            Page
                                                            Page 70
                                                                 70                                                                Page
                                                                                                                                   Page 72
                                                                                                                                        72
  11 she had an
     she had an inappropriate relationship with
                inappropriate relationship with General
                                                General                11    Q
                                                                             Q    What is
                                                                                  What    the basis
                                                                                       is the       of your
                                                                                              basis of your understanding
                                                                                                            understanding of
                                                                                                                          of
  22 Flynn.
     Flynn.                                                            22 defamation
                                                                          defamation law
                                                                                     law in the United
                                                                                         in the United Kingdom?
                                                                                                       Kingdom?
  33           MS. BOLGER:
               MS. BOLGER: Alexa,
                           Alexa, I'm
                                  I'm sorry,
                                      sorry, but
                                             but can
                                                 can                   33    A
                                                                             A    I've advised
                                                                                  I've advised clients
                                                                                               clients in regards to
                                                                                                       in regards to that
                                                                                                                     that and
                                                                                                                          and
  44 you
     you put up tab
         put up tab 28
                    28 and
                       and we're
                           we're going
                                 going to
                                       to look at page
                                          look at page 267.
                                                       267.            44 II have
                                                                             have otherwise
                                                                                  otherwise have
                                                                                            have knowledge
                                                                                                 knowledge from
                                                                                                           from friends and
                                                                                                                friends and
  55           And II should
               And    should mark
                             mark this
                                  this as
                                       as an
                                          an Exhibit,
                                             Exhibit,                  55 colleagues about defamation
                                                                          colleagues about defamation law
                                                                                                      law and
                                                                                                          and the
                                                                                                              the Defamation
                                                                                                                  Defamation Act
                                                                                                                             Act
  66 so Exhibit 441
     so Exhibit     is the
                441 is the decision
                           decision in Lokhova vs.
                                    in Lokhova     Halper,
                                               vs. Halper,             66 in the United
                                                                          in the United Kingdom.
                                                                                        Kingdom. And
                                                                                                 And it's -- the
                                                                                                     it's -- the law
                                                                                                                 law on that
                                                                                                                     on that
  7 in
  7    the United
    in the United States District Court
                  States District Court for the Eastern
                                        for the Eastern                7 issue
                                                                       7       is --
                                                                         issue is -- is not as
                                                                                     is not as clear
                                                                                               clear as
                                                                                                     as that
                                                                                                        that judge
                                                                                                             judge who
                                                                                                                   who II know
                                                                                                                          know
  8 District
  8 District of
             of Virginia.
                Virginia.                                              8 and
                                                                       8 and respect, says and
                                                                             respect, says and II would
                                                                                                  would just
                                                                                                        just very respectively
                                                                                                             very respectively
  99           (Exhibit 441
               (Exhibit 441 was
                            was marked
                                marked for
                                       for                             99 disagree with her.
                                                                          disagree with her.
 10
 10             identification.)
                identification.)                                      10
                                                                      10     Q
                                                                             Q    Which judge
                                                                                  Which judge was
                                                                                              was it?
                                                                                                  it?
 11
 11             Can you turn
                Can you turn to
                             to page
                                page 267?
                                     267? Okay.
                                          Okay. And
                                                And                   11
                                                                      11     A
                                                                             A    II believe
                                                                                     believe it was Judge
                                                                                             it was       Brinkema.
                                                                                                    Judge Brinkema.
 12 can
 12     you make
    can you make that
                 that --
                      -- so the paragraph
                         so the paragraph that
                                          that I'm
                                               I'm going
                                                   going              12
                                                                      12     Q
                                                                             Q    Oh, this
                                                                                  Oh, this judge.
                                                                                           judge. I'm
                                                                                                  I'm sorry.
                                                                                                      sorry. II thought
                                                                                                                thought you
                                                                                                                        you
 13 to
 13 to focus on begins
       focus on begins "The record is
                       "The record is clear,"
                                      clear," if you can
                                              if you can              13 meant the
                                                                      13 meant the English
                                                                                   English judge.
                                                                                           judge. Yes, this was
                                                                                                  Yes, this was Judge
                                                                                                                Judge
 14 just
 14 just scroll down aa little.
         scroll down    little.                                       14 Brinkema.
                                                                      14 Brinkema.
 15 BY
 15 BY MS.
       MS. BOLGER:
           BOLGER:                                                    15
                                                                      15     A No,
                                                                             A No, no,
                                                                                   no, no.
                                                                                       no. II mean,
                                                                                              mean, it's -- II have
                                                                                                    it's --         no doubt
                                                                                                               have no doubt
 16
 16     Q
        Q     So it says:
              So it       "The record
                    says: "The record is
                                      is clear that Biss
                                         clear that Biss              16 that she
                                                                      16 that     accurately described
                                                                              she accurately described that
                                                                                                       that the
                                                                                                            the case
                                                                                                                case in
                                                                                                                     in the
                                                                                                                        the UK
                                                                                                                            UK
 17 filed
 17       an excessively
    filed an excessively long complaint and
                         long complaint and amended
                                            amended                   17 -- not
                                                                      17 -- not that
                                                                                that II don't
                                                                                        don't --
                                                                                              -- II don't
                                                                                                    don't know
                                                                                                          know for
                                                                                                               for sure what the
                                                                                                                   sure what the
 18 complaint
 18           on Lokhova's
    complaint on Lokhova's behalf
                           behalf directing
                                  directing unprofessional
                                            unprofessional            18
                                                                      18 status of the
                                                                         status of the UK
                                                                                       UK litigation was. But
                                                                                          litigation was. But to
                                                                                                              to say
                                                                                                                 say that
                                                                                                                     that --
                                                                                                                          --
 19 ad
 19 ad hominem
       hominem attacks
               attacks at
                       at Halper
                          Halper and
                                 and others. For example,
                                     others. For example,             19 that the
                                                                      19 that the UK,
                                                                                  UK, that
                                                                                      that the
                                                                                           the Defamation
                                                                                               Defamation Act
                                                                                                          Act is
                                                                                                              is --
                                                                                                                 -- is
                                                                                                                    is quite as
                                                                                                                       quite as
 20 the
 20 the complaint
        complaint calls Halper a,"
                  calls Halper a," assuming
                                   assuming we
                                            we can -- this
                                               can -- this            20 clear
                                                                      20       cut, is
                                                                         clear cut,    that is
                                                                                    is that    -- it's
                                                                                            is --      never simplification
                                                                                                  it's never                of
                                                                                                             simplification of
 21 says,
 21       "a ratfucker
    says, "a           and refers
             ratfucker and refers to
                                  to the
                                     the media
                                         media defendant
                                               defendant              21 the
                                                                      21 the law there.
                                                                             law there.
 22 as
 22 as 'stooges.'
       'stooges.' Such
                  Such language adds nothing
                       language adds nothing but
                                             but                      22
                                                                      22     Q
                                                                             Q    Okay.
                                                                                  Okay.
                                                            Page
                                                            Page 71
                                                                 71                                                                Page
                                                                                                                                   Page 73
                                                                                                                                        73
  11 unnecessary
     unnecessary heat to this
                 heat to this litigation. Moreover, the
                              litigation. Moreover, the                11           MS. BOLGER:
                                                                                    MS. BOLGER: You
                                                                                                You can put that
                                                                                                    can put that one
                                                                                                                 one down
                                                                                                                     down
  22 complaint exaggerates the
     complaint exaggerates the nature
                               nature and
                                      and the
                                          the content of
                                              content of               22 if you don't
                                                                          if you       mind. And
                                                                                 don't mind. And if you'll put
                                                                                                 if you'll put up
                                                                                                               up tab
                                                                                                                  tab 31.
                                                                                                                      31.
  33 the
     the allegedly
         allegedly defamatory
                   defamatory statements.
                              statements. In
                                          In addition,
                                             addition,                 33 BY
                                                                          BY MS.
                                                                             MS. BOLGER:
                                                                                 BOLGER:
  44 Biss
     Biss and
          and Lokhova have to
              Lokhova have to have
                              have known
                                   known that
                                         that most
                                              most of
                                                   of her
                                                      her              44    Q
                                                                             Q    This is
                                                                                  This    Exhibit 442.
                                                                                       is Exhibit 442. It
                                                                                                       It is
                                                                                                          is the
                                                                                                             the decision in
                                                                                                                 decision in
  55 claims were time-barred,
     claims were time-barred, as
                              as she had previously
                                 she had previously                    55 the
                                                                          the Anderson
                                                                              Anderson vs. School Board
                                                                                       vs. School Board of
                                                                                                        of Gloucester County
                                                                                                           Gloucester County
  66 filed an unrelated
     filed an unrelated defamation
                        defamation in the United
                                   in the United Kingdom,
                                                 Kingdom,              66 litigation
                                                                          litigation in the Eastern
                                                                                     in the Eastern District
                                                                                                    District of
                                                                                                             of Virginia,
                                                                                                                Virginia, dated
                                                                                                                          dated
  7 which
  7 which was
          was dismissed as untimely
              dismissed as          under the
                           untimely under the one-year
                                              one-year                 7 August
                                                                       7 August 2020.
                                                                                2020.
  8 statute
  8         of limitations
    statute of             applicable in
               limitations applicable in that
                                         that                          8
                                                                       8            (Exhibit 442
                                                                                    (Exhibit 442 was
                                                                                                 was marked
                                                                                                     marked for
                                                                                                            for
  99 jurisdiction."
     jurisdiction." Do
                    Do you
                       you see
                           see that?
                               that?                                   99           identification.)
                                                                                    identification.)
 10
 10     A
        A     Yes.
              Yes.                                                    10
                                                                      10            MS. BOLGER:
                                                                                    MS. BOLGER: And
                                                                                                And if you will
                                                                                                    if you will please
                                                                                                                please
 11
 11     Q
        Q     Did you
              Did you know about that?
                      know about that?                                11 turn to
                                                                      11 turn to the
                                                                                 the fifth page of
                                                                                     fifth page    the exhibit.
                                                                                                of the exhibit. Scroll
                                                                                                                Scroll down
                                                                                                                       down
 12
 12     A
        A     Yes.
              Yes.                                                    12 just aa smidge
                                                                      12 just           more. Thanks.
                                                                                 smidge more. Thanks. You'll
                                                                                                      You'll see -- just
                                                                                                             see -- just aa
 13
 13     Q
        Q     Okay. And
              Okay. And it
                        it did not change
                           did not        your opinion
                                   change your opinion                13
                                                                      13 smidge more.
                                                                         smidge more.
 14 here?
 14 here?                                                             14 BY MS.
                                                                      14 BY MS. BOLGER:
                                                                                BOLGER:
 15
 15     A No,
        A No, it doesn't. And
              it doesn't. And part
                              part of that is
                                   of that    because
                                           is because                 15
                                                                      15     Q
                                                                             Q    Okay. You'll
                                                                                  Okay.        see that
                                                                                        You'll see that the
                                                                                                        the final
                                                                                                            final paragraph
                                                                                                                  paragraph
 16 that
 16 that case
         case raised
              raised aa rather
                        rather interesting
                               interesting --
                                           -- some
                                              some rather
                                                   rather             16 on the
                                                                      16 on the page
                                                                                page reads:
                                                                                     reads: "Counsel
                                                                                            "Counsel for Plaintiff's," that's
                                                                                                     for Plaintiffs,"  that's
 17 interesting
 17 interesting issues
                issues in defamation law
                       in defamation law that
                                         that are
                                              are open
                                                  open                17 Mr. Biss,
                                                                      17 Mr. Biss, "objections
                                                                                   "objections contrary to settled
                                                                                               contrary to settled law are
                                                                                                                   law are
 18 questions
 18           about republication
    questions about               that II think
                    republication that    think are
                                                are                   18 particularly troubling
                                                                      18 particularly troubling given
                                                                                                given this
                                                                                                      this Court's
                                                                                                           Court's previous
                                                                                                                   previous
 19 important.
 19 important.                                                        19 admonishment, in
                                                                      19 admonishment, in its May 29,
                                                                                          its May 29, 2020
                                                                                                      2020 memorandum
                                                                                                           memorandum opinion,
                                                                                                                      opinion,
 20
 20     And quite
        And quite frankly, because of
                  frankly, because of my
                                      my knowledge
                                         knowledge of
                                                   of                 20 that
                                                                      20 that Mr.
                                                                              Mr. Biss
                                                                                  Biss 'ensure
                                                                                       'ensure that
                                                                                               that all
                                                                                                    all positions,
                                                                                                        positions, including
                                                                                                                   including
 21 defamation
 21 defamation law
               law in the United
                   in the United Kingdom,
                                 Kingdom, quite
                                          quite frankly,
                                                frankly, II           21 those
                                                                      21 those in briefing and
                                                                               in briefing and in support of
                                                                                               in support of discovery, 'are
                                                                                                             discovery, 'are
 22 think
 22 think the
          the judge's
              judge's conclusion there was
                      conclusion there was wrong.
                                           wrong.                     22 warranted
                                                                      22 warranted by
                                                                                   by existing
                                                                                      existing law
                                                                                               law or
                                                                                                   or by
                                                                                                      by aa nonfrivolous
                                                                                                            nonfrivolous

                                                                                                                 19 (Pages 70
                                                                                                                 19 (Pages 70 -- 73)
                                                                                                                                 73)
                                          Veritext Legal
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                                                         Solutions
                        215-241-1000 ~
                        215-241-1000 — 610-434-8588
                                       610-434-8588 -~ 302-571-0510
                                                       302-571-0510 ~ 202-803-8830
                                                                      202-803-8830
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                                                                     Page
                                                                     Page 74
                                                                          74                                                                         Page
                                                                                                                                                     Page 76
                                                                                                                                                          76
   11 argument
       argument forfor extending,
                       extending, modifying,
                                      modifying, or   or reversing
                                                         reversing           1 reasonable multiplication of proceedings by doing
  22 existing    law or
       existing law   or for
                          for establishing
                               establishing new       law'.[f]ailure
                                                 new law'.  Iflailure to to  2 things like, advancing positions that are unwarranted,
   33 do
       do so
           so would
              would result
                      result inin sanctions.'"
                                  sanctions.'" Do   Do you
                                                        you see
                                                              see that?
                                                                   that?     3 run up the bill and make the charges unreasonable?
   44      A   Yes, ma'am.
           A Yes,     ma'am.                                                 4     A Not necessarily. I mean, it could. There's
   55      Q Are
           Q         you aware
               Are you     aware of    that one?
                                    of that   one?                           5 certainly cases where that -- that does happen. But
  66       A   No. I'm
           A No.     I'm not.
                           not. I'm
                                  I'm not   aware of
                                      not aware         that
                                                     of that                 6 that doesn't necessarily mean that that's what
   77 particular
       particular case.
                   case.                                                     7 happened in that case.
  8 8      Q Does
           Q   Does it    change your
                      it change     your opinion
                                           opinion here?
                                                      here?                  8     Q I'm not asking about in that case. I'm
    99     A
           A That
               That paragraph?
                      paragraph? No,  No, it   does not
                                            it does  not change
                                                          change my  my      9 asking generally.
 10    opinion.
 10 opinion.                                                                10     A Generally, it's -- it would be improper for
 11
 11        Q Why
           Q   Why not?
                      not?                                                  11 me to guess as to whether such allegations would make
 12
 12        A
           A II mean,
                  mean, most
                          most ---- most    importantly, there's
                                     most importantly,       there's ----   12 litigation -- make the -- the bills higher if billed
 13    there's no
 13 there's        actual findings
               no actual    findings inin that
                                           that paragraph,
                                                  paragraph, one
                                                               one wayway 13 hourly. There's no way to know with just somebody
 14
 14 or or another.
          another.                                                          14 citing the text Rule 11, whether that's indeed the
 15
 15        And  second of
           And second     of all,
                              all, just
                                   just because
                                        because aa judge
                                                      judge used
                                                              used -- --    15 case.
 16
 16 might     use sharp
       might use           language in
                   sharp language       in --  in writing
                                            -- in  writing an
                                                            an --   an
                                                                -- an       16     And in fact -- in fact, if that was the case, I
 17    opinion on
 17 opinion     on something,       doesn't tell
                    something, doesn't         tell me  what the
                                                    me what    the actual
                                                                     actual 17 wouldn't expect a Rule 11 citation. I'd expect a
 18    allegations  and   issues   particularly
 18 allegations and issues particularly may be.     may  be.                18 Section 1927 citation.
 19
 19        And
           And most
                most importantly,
                       importantly, it   it does
                                            does not   tell me
                                                   not tell me              19     Q So of course you're here as an expert today.
 20 regarding
 20                the factors
       regarding the   factors that
                                  that have
                                       have to  to be
                                                   be considered,
                                                      considered, that that 20 So you're not here as Jesse Birmall.
                                                                                                              Binnall. You're here as
 21 whether
 21    whether this
                 this is
                      is aa --
                            -- how   that   would    affect
                               how that would affect this    this           21 an  expert on  reasonable  attorneys' fees and you just
 22 specific
 22    specific case,
                case, and
                        and the
                              the reasonableness
                                   reasonableness of   of rates
                                                          rates --   for
                                                                  -- for    22 said you didn't want to guess.
                                                                     Page
                                                                     Page 75
                                                                          75                                                                         Page
                                                                                                                                                     Page 77
                                                                                                                                                          77
   11 instance,
       instance, in in the
                        the particular
                             particular market
                                            market at at stake
                                                         stake and
                                                                 and how
                                                                       how an an 11         I'm
                                                                                            I'm not   asking you
                                                                                                 not asking    you toto guess.
                                                                                                                         guess. I'm      asking you
                                                                                                                                    I'm asking    you aa
  22 attorney
       attorney is     expected to
                   is expected     to --
                                      -- toto make
                                              make aa living.
                                                         living.                   22 hypothetical.
                                                                                        hypothetical.
   33      Q Isn't
           Q            it the
                 Isn't it  the case
                                case though
                                      though thatthat making
                                                        making                      33      A    Yes.
                                                                                            A Yes.
   44 frivolous
       frivolous arguments
                    arguments for  for extending,
                                        extending, modifying,
                                                         modifying, or   or         44      Q And
                                                                                            Q    And youyou have
                                                                                                             have to to answer
                                                                                                                        answer thosethose as
                                                                                                                                           as an
                                                                                                                                               an expert;
                                                                                                                                                   expert;
   55 reversing      existing law
       reversing existing             would mean
                                law would       mean thatthat you
                                                               you --   the
                                                                    -- the          55 right?
                                                                                        right?
  66 lawyer
       lawyer charged
                 charged hourly
                             hourly rates     for something
                                      rates for     something thatthat was
                                                                         was -- -- 66       A
                                                                                            A That's
                                                                                                 That's right.
                                                                                                          right.
   77 according
       according to   to this
                         this judge's
                               judge's opinion,
                                          opinion, inappropriate?
                                                      inappropriate?                77      Q Hypothetically,
                                                                                            Q    Hypothetically, isn't isn't it
                                                                                                                             it the
                                                                                                                                the case
                                                                                                                                      case that
                                                                                                                                            that if
                                                                                                                                                  if aa
  8 8               MR. BISS:
                    MR.    BISS: Object
                                     Object to to the
                                                   the form.
                                                        form.                      8 8 attorney
                                                                                        attorney takes
                                                                                                   takes positions,
                                                                                                           positions, including
                                                                                                                         including those
                                                                                                                                       those in   briefing
                                                                                                                                               in briefing
    99              THE WITNESS:
                    THE     WITNESS: II don't  don't ---- II don't
                                                             don't see
                                                                   see               99 in
                                                                                        in support
                                                                                           support of of discovery
                                                                                                         discovery thatthat are
                                                                                                                             are unwarranted
                                                                                                                                   unwarranted by    by
 10    that in
 10 that        that particular
            in that    particular paragraph.
                                    paragraph. If        you could
                                                      If you   could point
                                                                       point 10   10 existing      law or
                                                                                        existing law    or by
                                                                                                            by nonfrivolous        argument for
                                                                                                                nonfrivolous argument           for
 11
 11 me     to the
       me to   the exact
                     exact language
                             language that that would
                                                would suggest
                                                           suggest that
                                                                     that I'll
                                                                            I'll 11
                                                                                  11 extending,
                                                                                        extending, modifying,
                                                                                                      modifying, or   or reversing      existing law,
                                                                                                                          reversing existing             that
                                                                                                                                                   law, that
 12
 12 look     at it.
       look at        But II don't
                 it. But      don't --
                                     -- II don't
                                           don't see    that in
                                                  see that    in there.
                                                                 there.           12    those actions
                                                                                  12 those      actions would
                                                                                                         would necessarily
                                                                                                                  necessarily be    be multiplicative
                                                                                                                                       multiplicative of  of aa
 13
 13 BY BY MS.
            MS. BOLGER:
                   BOLGER:                                                        13    bill for
                                                                                  13 bill    for no  warranted reason?
                                                                                                 no warranted       reason?
 14
 14        Q Oh,
           Q     Oh, II didn't   suggest     that  it  was   there.
                         didn't suggest that it was there. I'm        I'm         14
                                                                                  14        A
                                                                                            A    No, that's not correct.
                                                                                                 No,   that's not   correct.
 15    asking aa question.
 15 asking         question. I'm I'm saying     this says,
                                      saying this              essentially, 15
                                                       says, essentially,         15        Q Why
                                                                                            Q    Why not?
                                                                                                        not?
 16    that you
 16 that    you shouldn't
                   shouldn't go go ahead
                                    ahead and and file
                                                    file --  that Mr.
                                                          -- that Mr. Biss
                                                                         Biss 16  16        A    Because you
                                                                                            A Because        you said
                                                                                                                   said "would
                                                                                                                          "would necessarily."
                                                                                                                                     necessarily." CouldCould
 17    was  supposed       to ensure    that
 17 was supposed to ensure that all positions,all  positions,    including
                                                                 including        17    they   be?  Perhaps.     It  would   --  it  would
                                                                                  17 they be? Perhaps. It would -- it would determine on     determine     on
 18    those in
 18 those     in briefing
                  briefing andand inin support
                                       support of  of discovery
                                                       discovery are are          18 aa number
                                                                                  18      number of  of -- of other
                                                                                                        -- of other factors.
                                                                                                                       factors. ButBut would
                                                                                                                                         would it it
 19    warranted; right?
 19 warranted;         right? That's      what it
                                That's what          says? My
                                                 it says?     My question
                                                                   question 19    19 necessarily
                                                                                        necessarily result
                                                                                                       result in  that? No,
                                                                                                               in that?    No, not
                                                                                                                                 not necessarily.
                                                                                                                                       necessarily.
 20 to
 20    to you
          you isis --
                    --                                                            20
                                                                                  20        Q Well,
                                                                                            Q    Well, if   you were
                                                                                                         if you   were going
                                                                                                                          going to to opine
                                                                                                                                      opine onon whether
                                                                                                                                                   whether
 21
 21        A     Okay.
           A Okay.                                                                21 someone's
                                                                                  21    someone's attorneys'
                                                                                                      attorneys' fees
                                                                                                                    fees were
                                                                                                                          were reasonable,        wouldn't
                                                                                                                                  reasonable, wouldn't
 22
 22        Q My
           Q     My question
                       question to to you
                                      you is    wouldn't the
                                             is wouldn't      the                 22 you
                                                                                  22    you like   to know
                                                                                              like to  know if   they took
                                                                                                              if they   took positions
                                                                                                                                positions including
                                                                                                                                             including

                                                                                                                                 20 (Pages
                                                                                                                                 20 (Pages 74
                                                                                                                                           74 -- 77)
                                                                                                                                                 77)
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                                            Veritext Legal Solutions
                                                           Solutions
                          215-241-1000 ~
                          215-241-1000 — 610-434-8588
                                         610-434-8588 -~ 302-571-0510
                                                         302-571-0510 ~ 202-803-8830
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                                                                          Page 78
                                                                               78                                                                              Page
                                                                                                                                                               Page 80
                                                                                                                                                                    80
  11 those
     those inin briefing
                briefing in    support of
                            in support     of discovery
                                               discovery that that were
                                                                    were          11 call
                                                                                      call for  their production.
                                                                                           for their    production.
  2 unwarranted
  2  unwarranted by    by existing
                           existing lawlaw oror nonfrivolous
                                                 nonfrivolous law   law         22       AA LetLet me me ---- and
                                                                                                               and II don't
                                                                                                                      don't ---- II don't    want to
                                                                                                                                    don't want      to
  33 extending,
     extending, modifying,
                    modifying, or   or revising      existing law?
                                        revising existing        law?              33 misspeak.
                                                                                      misspeak. II believe
                                                                                                       believe --  -- it may have
                                                                                                                      it may    have beenbeen an an oral
                                                                                                                                                    oral
  44     A
         A II mean,       certainly in
                 mean, certainly       in the
                                           the litigation
                                                litigation at at                 44 summary
                                                                                      summary that  that II was
                                                                                                            was given.
                                                                                                                  given. II want
                                                                                                                               want to  to double
                                                                                                                                            double check       that
                                                                                                                                                      check that
  55 issue,   that's something
     issue, that's   something that  that you
                                           you would
                                                 would look look at
                                                                  at that
                                                                     that          55 and
                                                                                      and --
                                                                                           -- given    that this
                                                                                              given that      this was
                                                                                                                    was about
                                                                                                                          about six six months
                                                                                                                                         months ago,ago, II
  6 would
  6  would be  be proper
                  proper forfor aa court
                                    court toto consider
                                               consider in   in --
                                                                -- in
                                                                   in aa         66 will
                                                                                      will --
                                                                                           -- I'll
                                                                                              I'll be
                                                                                                    be very     clear to
                                                                                                        very clear     to --
                                                                                                                           -- to
                                                                                                                              to let   you know
                                                                                                                                  let you     know
  7 particular
  7  particular case.
                   case.                                                           7 whether
                                                                                   7  whether it it was
                                                                                                     was aa oral
                                                                                                              oral summary
                                                                                                                    summary or         some sort
                                                                                                                                   or some            of written
                                                                                                                                                sort of  written
  8
  8      But if
         But      you're looking
               if you're   looking at  at some
                                          some sortsort of
                                                         of character
                                                             character            88 summary.
                                                                                      summary.
  99 evidence
     evidence on  on that,
                      that, just
                             just because
                                   because aa court       found --
                                                  court found      -- found
                                                                      found 99           QQ That's
                                                                                               That's fine.       Well obviously,
                                                                                                          fine. Well      obviously, if   if it  was aa
                                                                                                                                              it was
 10  that in
 10 that       another case,
           in another    case, it   would not
                                 it would     not necessarily
                                                    necessarily impact
                                                                    impact 10         written summary,
                                                                               10 written       summary, I'm    I'm obviously
                                                                                                                     obviously entitled
                                                                                                                                     entitled to to it.
                                                                                                                                                    it.
 11 the
 11  the reasonableness
         reasonableness in         this case.
                               in this   case. And,
                                                  And, like
                                                          like II said,
                                                                  said,        11
                                                                               11        AA Okay.
                                                                                               Okay.
 12
 12 especially     when you
     especially when        you say
                                  say it  wouldn.t necessarily
                                       it wouldn.t      necessarily result
                                                                        result 12
                                                                               12        QQ Okay.
                                                                                               Okay. Wouldn't
                                                                                                           Wouldn't you  you like
                                                                                                                               like toto know
                                                                                                                                          know before
                                                                                                                                                   before you
                                                                                                                                                            you
 13
 13 in
     in --
        -- in
            in higher   bills. So
               higher bills.          that's something
                                 So that's    something that  that in
                                                                    in         13     opined --
                                                                               13 opined       -- as
                                                                                                   as II think
                                                                                                         think youyou just
                                                                                                                        just did
                                                                                                                              did ---- that
                                                                                                                                       that Mr.
                                                                                                                                              Mr. Biss's
                                                                                                                                                    Biss's
 14
 14 every    particular case,
     every particular      case, you
                                   you would
                                         would have have toto look   at the
                                                               look at   the 14       behavior in
                                                                               14 behavior            this litigation
                                                                                                   in this                was reasonable
                                                                                                             litigation was      reasonable because
                                                                                                                                                  because you you
 15
 15 individual      facts and
     individual facts      and see.
                                see.                                           15
                                                                               15 said      that the
                                                                                      said that   the Plaintiffs
                                                                                                       Plaintiffs wantwant aa couple        things. Before
                                                                                                                                couple things.         Before
 16
 16      Q Did
         Q     Did you
                     you do    that here?
                           do that    here?                                    16
                                                                               16 you you reached
                                                                                           reached the the conclusion
                                                                                                             conclusion that that that
                                                                                                                                    that conduct
                                                                                                                                           conduct was was
 17
 17      A
         A II -- -- I've
                    I've seen
                          seen the
                                the litigation.
                                      litigation. II haven't
                                                        haven't                17     reasonable, wouldn't
                                                                               17 reasonable,         wouldn't you  you have
                                                                                                                          have liked
                                                                                                                                  liked to to have
                                                                                                                                               have seen     how
                                                                                                                                                      seen how
 18  seen   anything    that  I think    has  been    duplicative
 18 seen anything that I think has been duplicative or has 18          or has  18 longlong hehe took
                                                                                                took on on it?
                                                                                                             it?
 19
 19 needlessly
     needlessly increased
                    increased the the cost
                                       cost ofof litigation.     Matter
                                                  litigation. Matter           19
                                                                               19        AA II mean,
                                                                                                 mean, when when youyou -- -- when
                                                                                                                              when you you look
                                                                                                                                              look atat the
                                                                                                                                                        the
 20 of
 20  of fact,
        fact, II think
                 think there's,
                         there's, you
                                    you know,
                                          know, a   a number
                                                       number of  of issues
                                                                      issues 2020 docket       itself, there's
                                                                                      docket itself,     there's aa lot   that an
                                                                                                                     lot that   an experienced
                                                                                                                                     experienced
 21  that  have   gone   before    the  court
 21 that have gone before the court that -- that that  --  that                21     attorney   can    see   about
                                                                               21 attorney can see about how much workhow    much      work thatthat goes
                                                                                                                                                     goes into
                                                                                                                                                             into it
                                                                                                                                                                  it
 22 Plaintiffs
 22  Plaintiffs have
                  have ---- have    won.
                             have won.                                         22 and
                                                                               22     and how     much value
                                                                                           how much                 the client
                                                                                                            value the    client is    getting out
                                                                                                                                   is getting          of it.
                                                                                                                                                  out of  it.
                                                                          Page
                                                                          Page 79
                                                                               79                                                                              Page
                                                                                                                                                               Page 81
                                                                                                                                                                    81
  11      So
          So if -- if
             if -- if there
                      there are
                            are specific
                                specific issues,
                                         issues, I'd
                                                 I'd be
                                                     be                                 11     And at
                                                                                               And at the
                                                                                                      the end
                                                                                                          end of
                                                                                                              of the
                                                                                                                 the day, that's really
                                                                                                                     day, that's        what
                                                                                                                                 really what
  22 happy
     happy to
           to --
              -- to
                 to be
                    be asked
                       asked about
                             about those.
                                   those. But
                                          But from what
                                              from what                                 22 we're
                                                                                           we're looking at is
                                                                                                 looking at is how
                                                                                                               how much
                                                                                                                   much effort,
                                                                                                                        effort, what
                                                                                                                                what is being put
                                                                                                                                     is being put
  33 I've
     I've seen, there's been
          seen, there's been no
                             no unnecessary
                                unnecessary or duplicative
                                            or duplicative                              33 in, what is
                                                                                           in, what is the
                                                                                                       the value to the
                                                                                                           value to the client?
                                                                                                                        client? Is
                                                                                                                                Is this
                                                                                                                                   this
  44 litigation here.
     litigation here.                                                                   44 something that is
                                                                                           something that is --
                                                                                                             -- that
                                                                                                                that is helping advance
                                                                                                                     is helping advance the
                                                                                                                                        the case?
                                                                                                                                            case?
  55      Q
          Q    Have you
               Have you seen Mr. Biss's
                        seen Mr. Biss's bills?
                                        bills?                                          55 And
                                                                                           And that's
                                                                                               that's especially important in
                                                                                                      especially important in aa contingency
                                                                                                                                 contingency fee
                                                                                                                                             fee
  66      A
          A    I've been
               I've been --
                         -- II --
                               -- previously,
                                  previously, II think
                                                 think I've
                                                       I've                             66 arrangement
                                                                                           arrangement where
                                                                                                       where you
                                                                                                             you have
                                                                                                                 have to
                                                                                                                      to take
                                                                                                                         take into
                                                                                                                              into consideration
                                                                                                                                   consideration
  7 been
  7 been given
         given aa summary. But no.
                  summary. But no. II have not seen
                                      have not seen all
                                                    all of
                                                        of                              7 things
                                                                                        7 things like
                                                                                                 like opportunity cost and
                                                                                                      opportunity cost and the
                                                                                                                           the fact that while
                                                                                                                               fact that while
  8 his
  8 his bills
        bills to
              to date.
                 date. II anticipate
                          anticipate when
                                     when that
                                          that --
                                               -- we'll
                                                  we'll                                 8 lawyers
                                                                                        8         working on
                                                                                          lawyers working on that
                                                                                                             that case and has
                                                                                                                  case and has risk involved in
                                                                                                                               risk involved in
  99 see something more
     see something more specific
                        specific as
                                 as the
                                    the litigation
                                        litigation                                      99 advancing
                                                                                           advancing that
                                                                                                     that case,
                                                                                                          case, aa lawyer
                                                                                                                   lawyer can be working
                                                                                                                          can be working on
                                                                                                                                         on other
                                                                                                                                            other
 10 continues.
 10 continues.                                                                        10 matters as
                                                                                      10 matters as --
                                                                                                    -- as
                                                                                                       as well.
                                                                                                          well.
 11
 11       Q
          Q    Have you
               Have you seen time entries?
                        seen time          Mr. Biss's
                                  entries? Mr. Biss's time
                                                      time                            11
                                                                                      11       So -- so
                                                                                               So -- so II looked at the
                                                                                                           looked at the information that II
                                                                                                                         information that
 12 entries?
 12 entries?                                                                          12 thought was
                                                                                      12 thought was necessary
                                                                                                     necessary in order to
                                                                                                               in order to render
                                                                                                                           render an expert
                                                                                                                                  an expert
 13
 13       A
          A    II have
                  have only
                       only seen
                            seen aa summary at this
                                    summary at this point,
                                                    point,                            13 opinion. And
                                                                                      13 opinion. And to
                                                                                                      to the
                                                                                                         the extent,
                                                                                                             extent, as
                                                                                                                     as litigation
                                                                                                                        litigation continues,
                                                                                                                                   continues,
 14 which
 14 which is -- is
          is --    not --
                is not -- is not inconsistent
                          is not inconsistent with
                                              with aa case
                                                      case                            14
                                                                                      14 in
                                                                                         in aa case like this,
                                                                                               case like this, it certainly is
                                                                                                               it certainly    going to
                                                                                                                            is going to be
                                                                                                                                        be aa
 15 such
 15      as this,
    such as this, that
                  that is
                       is mostly
                          mostly --
                                 -- you
                                    you know,
                                        know, this
                                              this blend
                                                   blend                              15
                                                                                      15 case where --
                                                                                         case where -- where
                                                                                                       where litigation
                                                                                                             litigation is continuing. And
                                                                                                                        is continuing. And II --
 16 flat
 16      fee contingency
    flat fee contingency type
                         type arrangement
                              arrangement for where you're
                                          for where you're                            16
                                                                                      16 -- II anticipate
                                                                                               anticipate it would be
                                                                                                          it would be for those reasons
                                                                                                                      for those         -- to
                                                                                                                                reasons -- to
 17 at
 17 at at
       at this
          this stage
               stage in
                     in aa case
                           case like
                                like this.
                                     this.                                            17
                                                                                      17 supplement my report
                                                                                         supplement my        as time
                                                                                                       report as time goes
                                                                                                                      goes on.
                                                                                                                           on. And
                                                                                                                               And of
                                                                                                                                   of course,
                                                                                                                                      course,
 18
 18       Q
          Q    So where did
               So where did you
                            you get
                                get those
                                    those summaries?
                                          summaries?                                  18
                                                                                      18 should that be
                                                                                         should that be necessary,
                                                                                                        necessary, II will
                                                                                                                      will do that.
                                                                                                                           do that.
 19
 19       A
          A    From Mr.
               From Mr. Biss.
                        Biss.                                                         19
                                                                                      19       Q
                                                                                               Q     Just to be
                                                                                                     Just to be clear,
                                                                                                                clear, as
                                                                                                                       as of right now
                                                                                                                          of right     you have
                                                                                                                                   now you have
 20
 20       Q
          Q    II think
                  think those
                        those documents,
                              documents, which
                                         which would
                                               would be
                                                     be                               20 not
                                                                                      20 not seen
                                                                                             seen or
                                                                                                  or have
                                                                                                     have any
                                                                                                          any understanding of how
                                                                                                              understanding of how long Mr.
                                                                                                                                   long Mr.
 21 documents
 21           you relied
    documents you relied on
                         on in
                            in reaching your expert
                               reaching your expert                                   21 Biss
                                                                                      21 Biss did or did
                                                                                              did or     not spend
                                                                                                     did not spend on
                                                                                                                   on any
                                                                                                                      any portion of this
                                                                                                                          portion of this
 22 opinion
 22 opinion should have been
            should have been produced to me,
                             produced to me, so
                                             so II will
                                                   will                               22 litigation;
                                                                                      22             correct?
                                                                                         litigation; correct?

                                                                                                                                          21 (Pages
                                                                                                                                          21 (Pages 78
                                                                                                                                                    78 -- 81)
                                                                                                                                                          81)
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                                                                       Page 82
                                                                            82                                                                          Page
                                                                                                                                                        Page 84
                                                                                                                                                             84
  11     A As
         A As far
              far as time entries,
                  as time          no.
                          entries, no.                                              11 case,
                                                                                       case, very -- very
                                                                                             very -- very possibly could have
                                                                                                          possibly could have exceeded 20,000
                                                                                                                              exceeded 20,000
  22     Q
         Q     Okay. In
               Okay. In your
                        your expert
                             expert report, you say
                                    report, you     that
                                                say that                            22 hours.
                                                                                       hours. And
                                                                                              And some
                                                                                                  some of
                                                                                                       of the
                                                                                                          the other Dominion cases
                                                                                                              other Dominion       that are
                                                                                                                             cases that are
  33 "Mr. Biss projects
     "Mr. Biss          that he
               projects that    will devote
                             he will devote well
                                            well over
                                                 over                               33 out
                                                                                       out there.
                                                                                           there. And
                                                                                                  And again,
                                                                                                      again, that's
                                                                                                             that's not
                                                                                                                    not just
                                                                                                                        just form one --
                                                                                                                             form one -- one
                                                                                                                                         one
  44 20,000
     20,000 hours
            hours to
                  to this
                     this litigation."
                          litigation." It's
                                       It's on
                                            on page
                                               page 7 of
                                                    7 of                            44 timekeeper,
                                                                                       timekeeper, but
                                                                                                   but from all timekeepers
                                                                                                       from all timekeepers combined
                                                                                                                            combined from --
                                                                                                                                     from --
  55 your
     your report.
          report. Do
                  Do you
                     you remember writing that?
                         remember writing that?                                     55 for
                                                                                       for instance,
                                                                                           instance, doc reviewers combined
                                                                                                     doc reviewers combined and
                                                                                                                            and if
                                                                                                                                if it's
                                                                                                                                   it's aa
  66     A
         A     Can II --
               Can    -- can
                         can II see that report?
                                see that report?                                    66 document heavy case,
                                                                                       document heavy case, for
                                                                                                            for instance, it would
                                                                                                                instance, it would not
                                                                                                                                   not be
                                                                                                                                       be
  7
  7      Q
         Q     Of course
               Of course you
                         you can.
                             can. That
                                  That was
                                       was Exhibit
                                           Exhibit 430,
                                                   430,                             7 unusual
                                                                                    7 unusual for the amount
                                                                                              for the amount of
                                                                                                             of hours
                                                                                                                hours to
                                                                                                                      to be,
                                                                                                                         be, you
                                                                                                                             you know,
                                                                                                                                 know, in
                                                                                                                                       in
  8 potentially
  8 potentially 431.
                431.                                                                8 the
                                                                                    8 the five
                                                                                          five digits when you
                                                                                               digits when you --
                                                                                                               -- when
                                                                                                                  when you
                                                                                                                       you look
                                                                                                                           look at
                                                                                                                                at --
                                                                                                                                   -- at
                                                                                                                                      at all
                                                                                                                                         all
  99     Alexa will
         Alexa will keep me honest.
                    keep me honest.                                                 99 that.
                                                                                       that.
 10
 10              MS. PASTOR:
                 MS. PASTOR: Exhibit 430. Just
                             Exhibit 430. Just aa                                 10
                                                                                  10       Q And
                                                                                           Q And did
                                                                                                 did you
                                                                                                     you --
                                                                                                         -- are
                                                                                                            are you
                                                                                                                you aware
                                                                                                                    aware of
                                                                                                                          of whether
                                                                                                                             whether Mr.
                                                                                                                                     Mr.
 11 moment.
 11 moment.                                                                       11 Biss has
                                                                                  11 Biss has any
                                                                                              any other timekeepers, as
                                                                                                  other timekeepers, as you
                                                                                                                        you put
                                                                                                                            put them,
                                                                                                                                them, in
                                                                                                                                      in
 12
 12              MS. BOLGER:
                 MS. BOLGER: Okay. It's the
                             Okay. It's the 77 out
                                               out of
                                                   of                             12 his shop
                                                                                  12 his shop that
                                                                                              that work
                                                                                                   work on
                                                                                                        on this
                                                                                                           this litigation?
                                                                                                                litigation?
 13 10.
 13 10. Sorry,
        Sorry, keep
               keep going. Keep going
                    going. Keep       to where
                                going to where it
                                               it says
                                                  says                            13
                                                                                  13       A
                                                                                           A    Sitting here
                                                                                                Sitting here now,
                                                                                                             now, II --
                                                                                                                     -- II don't
                                                                                                                           don't know
                                                                                                                                 know that.
                                                                                                                                      that.
 14 at
 14 at the
       the top
           top left,
               left, page
                     page 7 out of
                          7 out of 10. Sorry, Alexa.
                                   10. Sorry, Alexa.                              14 And that's
                                                                                  14 And that's something that, again,
                                                                                                something that,        when II actually
                                                                                                                again, when    actually do
                                                                                                                                        do
 15 Okay.
 15 Okay. Perfect.
          Perfect.                                                                15 review the
                                                                                  15 review the actual
                                                                                                actual time
                                                                                                       time records, will --
                                                                                                            records, will -- will
                                                                                                                             will have
                                                                                                                                  have an
                                                                                                                                       an
 16 BY
 16 BY MS.
       MS. BOLGER:
           BOLGER:                                                                16
                                                                                  16 impact on the
                                                                                     impact on the actual
                                                                                                   actual effort,
                                                                                                          effort, you
                                                                                                                  you know,
                                                                                                                      know, taken
                                                                                                                            taken in this
                                                                                                                                  in this
 17
 17      Q
         Q     You'll see
               You'll     there's aa paragraph
                      see there's    paragraph right
                                               right there,
                                                     there,                       17
                                                                                  17 case. And --
                                                                                     case. And -- but
                                                                                                  but as
                                                                                                      as of
                                                                                                         of right
                                                                                                            right now,
                                                                                                                  now, I've
                                                                                                                       I've just
                                                                                                                            just been
                                                                                                                                 been
 18 Mr.
 18 Mr. Birmall.
        Binnall. In
                 In which
                    which you
                          you say:
                              say: "Fifth, the time
                                   "Fifth, the time                               18 given that
                                                                                  18 given that summary.
                                                                                                summary. And
                                                                                                         And II believe
                                                                                                                believe so
                                                                                                                        so far, the summary
                                                                                                                           far, the summary
 19 limitation
 19            imposed by
    limitation imposed by the
                          the client and circumstances
                              client and               are
                                         circumstances are                        19
                                                                                  19 is mostly Mr.
                                                                                     is mostly Mr. Biss's
                                                                                                   Biss's time,
                                                                                                          time, and
                                                                                                                and my
                                                                                                                    my memory
                                                                                                                       memory is
                                                                                                                              is not
                                                                                                                                 not clear
                                                                                                                                     clear
 20 substantial.
 20 substantial. This
                 This case has almost
                      case has almost taken
                                      taken two
                                            two years
                                                years to
                                                      to                          20 enough
                                                                                  20        to say
                                                                                     enough to say if there are
                                                                                                   if there are any
                                                                                                                any other
                                                                                                                    other support
                                                                                                                          support personnel
                                                                                                                                  personnel
 21 prosecute.
 21 prosecute. Thousands
               Thousands of hours have
                         of hours have been
                                       been put
                                            put in by Mr.
                                                in by Mr.                         21 that
                                                                                  21 that are
                                                                                          are working
                                                                                              working on
                                                                                                      on that.
                                                                                                         that.
 22 Biss
 22 Biss to
         to date. Ultimately, Mr.
            date. Ultimately, Mr. Biss
                                  Biss projects that he
                                       projects that he                           22
                                                                                  22       Which, on
                                                                                           Which, on aa contingency
                                                                                                        contingency fee case, you
                                                                                                                    fee case, you know,
                                                                                                                                  know, may
                                                                                                                                        may
                                                                       Page
                                                                       Page 83
                                                                            83                                                                          Page
                                                                                                                                                        Page 85
                                                                                                                                                             85
  11 will
     will devote
            devote wellwell over
                               over twenty
                                     twenty thousand
                                               thousand (20,000)
                                                             (20,000) hourshours 11 or or may
                                                                                          may notnot include
                                                                                                      include people      that are
                                                                                                                 people that   are --
                                                                                                                                    -- are
                                                                                                                                       are actually
                                                                                                                                            actually
  2 to
  2  to the
         the litigation."
               litigation." Do   Do you
                                     you see
                                           see that?
                                                that?                             22 entering      time into
                                                                                       entering time      into some
                                                                                                               some sort    of platform.
                                                                                                                       sort of platform.
  33      A
          A II do  do see
                        see that.
                             that. And     that was
                                     And that    was an an estimate
                                                            estimate II             33     Q Who
                                                                                           Q     Who else     would be
                                                                                                         else would        paid? Who
                                                                                                                       be paid?    Who else     would be
                                                                                                                                          else would     be
  44 got,
     got, II believe,
              believe, fromfrom Mr.Mr. Biss.
                                        Biss. And       obviously, it
                                                 And obviously,         it will
                                                                           will 44 working
                                                                                       working on  on the
                                                                                                       the case
                                                                                                            case if
                                                                                                                  if he wasn't entering
                                                                                                                     he wasn't               time into
                                                                                                                                 entering time      into
  55 be
     be --   we'll need
          -- we'll    need toto see   exactly how
                                 see exactly     how many
                                                        many hours
                                                                 hours              55 some
                                                                                       some kind
                                                                                               kind of    platform? II don't
                                                                                                      of platform?              understand --
                                                                                                                         don't understand      --
  6 actually
  6  actually are are litigated.
                        litigated. ButBut that
                                           that was
                                                  was thethe estimate
                                                             estimate              66      A Oh,
                                                                                           A     Oh, I'm
                                                                                                       I'm just
                                                                                                            just saying,
                                                                                                                 saying, for
                                                                                                                           for instance,
                                                                                                                               instance, onon aa
  7 that
  7  that Mr.
            Mr. Biss
                  Biss gave
                          gave me.me. II --
                                         -- II anticipate
                                               anticipate thatthat that
                                                                     that           7 contingency
                                                                                    7  contingency fee   fee case,  paralegals, law
                                                                                                             case, paralegals,          clerks, legal
                                                                                                                                  law clerks,     legal
  8 includes
  8                20,000 timekeeper
     includes 20,000          timekeeper hours.
                                              hours. ThatThat may
                                                                may include
                                                                       include 8    8 assistants
                                                                                       assistants would
                                                                                                     would notnot necessarily
                                                                                                                   necessarily bebe expected
                                                                                                                                     expected to  to enter
                                                                                                                                                     enter
  99 other
     other support
              support personnel,
                          personnel, other
                                         other attorneys,
                                                 attorneys, et      cetera,
                                                                et cetera,          99 time
                                                                                       time into
                                                                                              into aa timekeeping
                                                                                                      timekeeping platform.
                                                                                                                       platform. Summaries
                                                                                                                                    Summaries from        them
                                                                                                                                                    from them
 10
 10 et  cetera.
     et cetera.                                                                  10
                                                                                 10 areare something
                                                                                            something that that would
                                                                                                                would be     appropriate in
                                                                                                                         be appropriate     in that
                                                                                                                                               that case
                                                                                                                                                     case
 11
 11       Q As
          Q           you sit
                 As you     sit here,
                                 here, have
                                       have youyou ever
                                                      ever litigated
                                                            litigated a  a       11
                                                                                 11 of,of, you
                                                                                            you know,
                                                                                                 know, whatwhat different    work that
                                                                                                                 different work     that they
                                                                                                                                          they worked
                                                                                                                                                worked on  on
 12  false light
 12 false    light claim       that took
                      claim that    took 20,000
                                           20,000 hours
                                                      hours to to litigate?
                                                                  litigate?      12
                                                                                 12 andand when.
                                                                                             when. That      would be
                                                                                                      That would      be something
                                                                                                                          something thatthat would
                                                                                                                                              would bebe fully
                                                                                                                                                          fully
 13
 13       A
          A No,  No, II have
                         have not.
                                 not.                                            13    appropriate when
                                                                                 13 appropriate        when you're
                                                                                                               you're looking
                                                                                                                       looking atat contingency
                                                                                                                                     contingency or   or in
                                                                                                                                                         in
 14
 14       Q Are
          Q            you    aware   of anybody
                 Are you aware of anybody who has ever  who   has   ever         14
                                                                                 14    flat
                                                                                       flat  fee
                                                                                            fee  arrangements
                                                                                                 arrangements       and
                                                                                                                    and  hybrid
                                                                                                                         hybrid  agreements.
                                                                                                                                 agreements.
 15
 15 litigated
     litigated a   a defamation
                      defamation claim        that took
                                      claim that    took over
                                                            over 20,000
                                                                    20,000       15
                                                                                 15        Q But
                                                                                           Q     But asas you
                                                                                                           you sit
                                                                                                                sit here,
                                                                                                                    here, you
                                                                                                                           you don't
                                                                                                                                don't know
                                                                                                                                       know if if any
                                                                                                                                                   any
 16
 16 hours
     hours to to litigate?
                   litigate?                                                     16    people other
                                                                                 16 people       other than
                                                                                                         than Mr.
                                                                                                               Mr. Biss
                                                                                                                     Biss actually
                                                                                                                           actually have
                                                                                                                                     have ever
                                                                                                                                            ever worked
                                                                                                                                                   worked
 17
 17       A
          A Yeah.Yeah. Probably.
                           Probably. II can can ---- II can  think
                                                        can think of  of         17
                                                                                 17    on
                                                                                       on  this
                                                                                           this  case;
                                                                                                 case;   right?
                                                                                                         right?
 18 some
 18  some highhigh profile       defamation cases
                      profile defamation        cases where
                                                          where thethe --
                                                                        -- the
                                                                            the 18
                                                                                 18        A No,
                                                                                           A     No, nono II do
                                                                                                             do not.
                                                                                                                 not.
 19  total staff,
 19 total    staff, timekeeper
                      timekeeper billing
                                      billing almost
                                                almost certainly
                                                           certainly             19
                                                                                 19        Q I'm
                                                                                           Q     I'm sorry?
                                                                                                      sorry?
 20 exceeds
 20               20,000 hours.
     exceeds 20,000          hours.                                              20
                                                                                 20        A II do
                                                                                           A       do not.
                                                                                                       not.
 21
 21       Q Who
          Q      Who werewere those?
                                 those? What
                                          What are are those
                                                         those litigations?
                                                                 litigations? 21 21        Q And
                                                                                           Q     And youyou don't
                                                                                                             don't know
                                                                                                                    know howhow many      hours Mr.
                                                                                                                                  many hours       Mr. Biss
                                                                                                                                                        Biss
 22
 22       A
          A II would
                   would anticipate
                             anticipate that
                                          that inin the
                                                     the Dominion
                                                           Dominion Fox   Fox 22 22 hashas spent
                                                                                            spent onon this
                                                                                                         this case?
                                                                                                              case?

                                                                                                                                    22 (Pages
                                                                                                                                    22 (Pages 82
                                                                                                                                              82 -- 85)
                                                                                                                                                    85)
                                             Veritext Legal
                                             Veritext Legal Solutions
                                                            Solutions
                           215-241-1000 ~
                           215-241-1000 — 610-434-8588
                                          610-434-8588 -~ 302-571-0510
                                                          302-571-0510 ~ 202-803-8830
                                                                         202-803-8830
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                                                                  86                                                                       Page
                                                                                                                                           Page 88
                                                                                                                                                88
  11    A
        A     Yeah. Today,
              Yeah. Today, II --
                              -- II could
                                    could not
                                          not tell
                                              tell you
                                                   you as
                                                       as               11 behavior
                                                                           behavior 'adds
                                                                                    'adds nothing
                                                                                          nothing but
                                                                                                  but unnecessary
                                                                                                      unnecessary heat
                                                                                                                  heat to
                                                                                                                       to this
                                                                                                                          this
  22 of
     of today
        today how
              how many.
                  many.                                                 22 litigation.' But in
                                                                           litigation.' But    the end,
                                                                                            in the      the district
                                                                                                   end, the          court
                                                                                                            district court
  33    Q
        Q     Okay.
              Okay.                                                     33 elected
                                                                           elected not to sanction
                                                                                   not to sanction Biss
                                                                                                   Biss at
                                                                                                        at this
                                                                                                           this point and denied
                                                                                                                point and denied
  44            MS. BOLGER:
                MS. BOLGER: Finally
                            Finally --
                                    -- will
                                       will you
                                            you put
                                                put                     44 the
                                                                           the motion
                                                                               motion to
                                                                                      to sanction
                                                                                         sanction without
                                                                                                  without prejudice. We agree
                                                                                                          prejudice. We agree
  55 up,
     up, please
         please --
                -- Alexa,
                   Alexa, you
                          you can take that
                              can take that down.
                                            down. Thank
                                                  Thank                 55 with
                                                                           with the
                                                                                the district
                                                                                    district court's
                                                                                             court's observations and endorse
                                                                                                     observations and         the
                                                                                                                      endorse the
  66 you
     you very much. And
         very much. And put
                        put up
                            up tab
                               tab 33,
                                   33, please.
                                       please.                          66 court's
                                                                           court's reprimands
                                                                                   reprimands citing
                                                                                              citing inappropriate ad hominem
                                                                                                     inappropriate ad hominem
  7 BY
  7 BY MS.
       MS. BOLGER:
           BOLGER:                                                      7 attacks.
                                                                        7 attacks. We
                                                                                   We conclude, however, that
                                                                                      conclude, however, that the
                                                                                                              the district
                                                                                                                  district
  8
  8     Q
        Q     Okay. Tab
              Okay.     33, which
                    Tab 33, which is Exhibit 443,
                                  is Exhibit 443, is the
                                                  is the                8 court
                                                                        8       acted within
                                                                          court acted within its
                                                                                             its discretion because we
                                                                                                 discretion because we are
                                                                                                                       are not
                                                                                                                           not
  99 decision of the
     decision of the Fourth
                     Fourth Circuit Court of
                            Circuit Court of Appeals
                                             Appeals in the
                                                     in the             99 'left
                                                                           'left with
                                                                                 with the
                                                                                      the definite
                                                                                          definite and
                                                                                                   and firm
                                                                                                       firm conviction that aa
                                                                                                            conviction that
 10 Lokhova
 10 Lokhova vs. Halper matter.
            vs. Halper matter. We
                               We looked
                                  looked earlier at aa
                                         earlier at                    10 mistake had
                                                                       10 mistake had been
                                                                                      been committed.'" And it
                                                                                           committed." And     remands the
                                                                                                            it remands the case
                                                                                                                           case
 11 decision
 11          in the
    decision in the District
                    District Court;
                             Court; this
                                    this is the Fourth
                                         is the Fourth                 11 to decide
                                                                       11 to decide if the district
                                                                                    if the district court wants there
                                                                                                    court wants there to
                                                                                                                      to be
                                                                                                                         be
 12 Circuit.
 12 Circuit.                                                           12
                                                                       12 sanctions. Were you
                                                                          sanctions. Were you aware
                                                                                              aware of this decision
                                                                                                    of this          when you
                                                                                                            decision when you
 13
 13             (Exhibit 443
                (Exhibit 443 was
                             was marked
                                 marked for
                                        for                            13
                                                                       13 drafted your expert
                                                                          drafted your expert opinion?
                                                                                              opinion?
 14
 14             identification.)
                identification.)                                       14
                                                                       14      A
                                                                               A    Yes.
                                                                                    Yes.
 15
 15             MS. BOLGER:
                MS. BOLGER: Alexa,
                            Alexa, if you wouldn't
                                   if you wouldn't                     15
                                                                       15      Q And
                                                                               Q And II assume
                                                                                        assume it didn't change
                                                                                               it didn't change your
                                                                                                                your opinion?
                                                                                                                     opinion?
 16 mind,
 16 mind, go to the
          go to the ninth
                    ninth page
                          page of
                               of the
                                  the exhibit.
                                      exhibit.                         16
                                                                       16      A
                                                                               A    It did
                                                                                    It     not.
                                                                                       did not.
 17 BY
 17 BY MS.
       MS. BOLGER:
           BOLGER:                                                     17
                                                                       17      Q
                                                                               Q    Why not?
                                                                                    Why not?
 18
 18     Q
        Q     Okay. If
              Okay. If you'll
                       you'll scroll
                              scroll down
                                     down aa little
                                             little                    18
                                                                       18      A
                                                                               A    Same reason
                                                                                    Same reason that
                                                                                                that I've
                                                                                                     I've --
                                                                                                          -- I've
                                                                                                             I've already
                                                                                                                  already said.
                                                                                                                          said.
 19 there's
 19 there's "D", see "Appellee
            "D", see           Halper's Motion
                     "Appellee Halper's Motion for
                                               for                     19 It's, you
                                                                       19 It's, you know,
                                                                                    know, first of all,
                                                                                          first of all, they
                                                                                                        they actually
                                                                                                             actually affirm
                                                                                                                      affirm the
                                                                                                                             the
 20 Sanctions"
 20 Sanctions" and
               and it reads "Appellee
                   it reads           Halper contends
                            "Appellee Halper contends the
                                                      the              20 decision
                                                                       20          if II --
                                                                          decision if    -- memory
                                                                                            memory serves
                                                                                                   serves right
                                                                                                          right in
                                                                                                                in reading
                                                                                                                   reading this.
                                                                                                                           this.
 21 district
 21 district court abused its
             court abused its discretion
                              discretion in denying his
                                         in denying his                21 They
                                                                       21      affirm the
                                                                          They affirm the decision not to
                                                                                          decision not to sanction Mr. Biss.
                                                                                                          sanction Mr. Biss.
 22 motion
 22 motion for
           for sanctions against Appellant
               sanctions against Appellant and
                                           and attorney
                                               attorney                22
                                                                       22      And so,
                                                                               And     affirming aa decision
                                                                                   so, affirming             not to
                                                                                                    decision not to sanction
                                                                                                                    sanction
                                                             Page
                                                             Page 87
                                                                  87                                                                       Page
                                                                                                                                           Page 89
                                                                                                                                                89
  11 Biss."
     Biss."                                                             11 someone,
                                                                           someone, certainly         wouldn't affect
                                                                                        certainly wouldn't          affect mymy -- -- my  decision
                                                                                                                                      my decision
  22    And if
        And    you look
            if you      at the
                   look at the top,
                               top, if you scroll
                                    if you        up to
                                           scroll up to                 2 on
                                                                        2  on that.
                                                                               that.
  33 the
     the top
         top of
             of the
                the ninth
                    ninth page, you'll see
                          page, you'll     the paragraph
                                       see the paragraph                33     Whether
                                                                               Whether theythey thought
                                                                                                  thought that that the
                                                                                                                      the language
                                                                                                                           language usedused waswas
  44 that
     that begins:
          begins: "Of note, this
                  "Of note, this is not the
                                 is not the first time
                                            first time                  44 appropriate
                                                                           appropriate and and whether
                                                                                                whether that  that was
                                                                                                                     was helpful
                                                                                                                           helpful forfor the
                                                                                                                                          the
  55 attorney
     attorney Biss's
              Biss's litigation conduct has
                     litigation conduct has earned
                                            earned                      55 litigation,
                                                                           litigation, might
                                                                                         might bebe helpful
                                                                                                      helpful if  if this
                                                                                                                     this attorneys'
                                                                                                                           attorneys' feefee
  66 reprimand.
     reprimand. His
                His history
                    history of
                            of unprofessional
                               unprofessional conduct
                                              conduct is
                                                      is                6 dispute
                                                                        6  dispute was
                                                                                     was in    that case
                                                                                           in that   case in     that litigation.
                                                                                                             in that   litigation. But But it
                                                                                                                                            it
  7 long."
  7        And it
    long." And    cites the
               it cites the Nunes
                            Nunes case and the
                                  case and the Steele
                                               Steele                   7 tells
                                                                        7  tells me
                                                                                 me nothing      about the
                                                                                     nothing about         the issues
                                                                                                                issues in in this
                                                                                                                              this case   and
                                                                                                                                    case and
  8 case,
  8       which we
    case, which we actually
                   actually hadn't
                            hadn't talked
                                   talked about,
                                          about, and
                                                 and says:
                                                     says:              8 whether
                                                                        8  whether they
                                                                                      they were
                                                                                             were litigated        through --
                                                                                                     litigated through         -- through
                                                                                                                                  through similar
                                                                                                                                              similar
  99 "In
     "In fact, attorney Biss
         fact, attorney Biss had
                             had his
                                 his license suspended in
                                     license suspended in               99 conduct.
                                                                           conduct.
 10 2009
 10 2009 for
         for unprofessional
             unprofessional conduct
                            conduct including breaching
                                    including breaching                10
                                                                       10      And   so, it
                                                                               And so,    it just
                                                                                             just says
                                                                                                   says as as character
                                                                                                               character evidence,
                                                                                                                             evidence, it  it
 11 fiduciary
 11 fiduciary duties and violating
              duties and violating federal securities law.
                                   federal securities law.             11 would
                                                                       11  would ---- it  would not
                                                                                       it would     not mean
                                                                                                         mean that that those
                                                                                                                         those --    that the
                                                                                                                                  -- that the
 12 And,
 12 And, even
         even during
              during his
                     his suspension
                         suspension period, attorney Biss
                                    period, attorney Biss              12  attorneys' fees
                                                                       12 attorneys'     fees were
                                                                                               were unreasonable
                                                                                                       unreasonable because because that
                                                                                                                                       that court
                                                                                                                                              court
 13 failed
 13        to be
    failed to be forthright about his
                 forthright about his suspension
                                      suspension status
                                                 status                13  opined. And
                                                                       13 opined.            what is,
                                                                                      And what       is, II think,
                                                                                                            think, quite     frankly, dicta,
                                                                                                                     quite frankly,      dicta,
 14 with
 14 with an
         an opposing
            opposing party when engaged
                     party when engaged in
                                        in negotiations on
                                           negotiations on             14  about   Mr.   Biss's  conduct       in
                                                                       14 about Mr. Biss's conduct in another case.another    case.
 15 behalf
 15 behalf of
           of the
              the client, resulting in
                  client, resulting    an additional
                                    in an additional 30
                                                     30                15
                                                                       15      Q Have
                                                                               Q    Have you you talked
                                                                                                   talked to to Mr.
                                                                                                                 Mr. Biss
                                                                                                                        Biss about
                                                                                                                               about this
                                                                                                                                       this
 16 day
 16 day suspension of his
        suspension of his license."
                          license."                                    16  decision?
                                                                       16 decision?
 17
 17             MS. BOLGER:
                MS. BOLGER: It
                            It goes
                               goes on
                                    on if you scroll
                                       if you scroll                   17
                                                                       17      A
                                                                               A No,No, ma'am.
                                                                                           ma'am.
 18 down.
 18       Keep going.
    down. Keep going.                                                  18
                                                                       18      Q Wouldn't
                                                                               Q    Wouldn't you  you have
                                                                                                         have liked
                                                                                                                 liked toto have     asked him
                                                                                                                             have asked           a
                                                                                                                                              him a
 19 BY
 19 BY MS.
       MS. BOLGER:
           BOLGER:                                                     19  couple questions,
                                                                       19 couple    questions, like,
                                                                                                   like, "Hey,
                                                                                                           "Hey, whatwhat did      you say
                                                                                                                             did you    say there?
                                                                                                                                              there?
 20
 20     Q
        Q     "The district
              "The district court chastised attorney
                            court chastised attorney Biss
                                                     Biss              20 Have
                                                                       20  Have you
                                                                                  you said
                                                                                         said anything
                                                                                               anything like        that here?"
                                                                                                             like that    here?"
 21 for
 21     'directing unprofessional
    for 'directing                ad hominem
                   unprofessional ad hominem attacks
                                             attacks at
                                                     at                21
                                                                       21      A
                                                                               A Well,
                                                                                    Well, II don't
                                                                                               don't think
                                                                                                       think that
                                                                                                                that would
                                                                                                                       would be  be
 22 [Appellee]
 22 [Appellee] Halper
               Halper and
                      and others,' noting that
                          others,' noting that such
                                               such                    22 particularly
                                                                       22  particularly helpful.
                                                                                           helpful. II mean,
                                                                                                           mean, whatwhat II -- -- what
                                                                                                                                   what II did
                                                                                                                                            did

                                                                                                                       23 (Pages
                                                                                                                       23 (Pages 86
                                                                                                                                 86 -- 89)
                                                                                                                                       89)
                                          Veritext Legal
                                          Veritext Legal Solutions
                                                         Solutions
                        215-241-1000 ~
                        215-241-1000 — 610-434-8588
                                       610-434-8588 -~ 302-571-0510
                                                       302-571-0510 ~ 202-803-8830
                                                                      202-803-8830
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                                                                                                                                         92
  11 look at and
     look at and what
                 what II did
                         did talk
                             talk to
                                  to him about was
                                     him about was                       11   A
                                                                              A    Yes.
                                                                                   Yes.
  22 specifically about this
     specifically about this case.
                             case. And
                                   And this
                                       this case
                                            case is what
                                                 is what                 22    Q And
                                                                               Q And were
                                                                                     were you
                                                                                          you aware
                                                                                              aware of
                                                                                                    of that
                                                                                                       that when
                                                                                                            when you
                                                                                                                 you wrote
                                                                                                                     wrote
  33 I'm
     I'm opining
         opining on. You know,
                 on. You know, this
                               this isn't -- II wasn't
                                    isn't --    wasn't                   33 your
                                                                            your expert opinion?
                                                                                 expert opinion?
  44 writing
     writing aa --
                -- aa biography
                      biography on his legal
                                on his legal career;
                                             career; II was
                                                        was              44   A
                                                                              A    II read
                                                                                      read the
                                                                                           the opinion.
                                                                                               opinion.
  55 writing
     writing about
             about the
                   the appropriateness of legal
                       appropriateness of legal fees
                                                fees in
                                                     in                  55    Q
                                                                               Q   Okay. If
                                                                                   Okay. If you
                                                                                            you give me two
                                                                                                give me two seconds,
                                                                                                            seconds, II think
                                                                                                                        think
  66 this
     this case. And on
          case. And on that,
                       that, II didn't see anything
                                didn't see anything that
                                                    that                 66 I'm
                                                                            I'm done.
                                                                                done. So just give
                                                                                      So just give me
                                                                                                   me --
                                                                                                      -- let's go off
                                                                                                         let's go off the
                                                                                                                      the records
                                                                                                                          records
  7 would
  7 would --
          -- would
             would raise my --
                   raise my -- raise
                               raise my
                                     my attention
                                        attention that
                                                  that II                7 for
                                                                         7     two minutes
                                                                           for two minutes and
                                                                                           and then
                                                                                               then we'll
                                                                                                    we'll come
                                                                                                          come back
                                                                                                               back on.
                                                                                                                    on.
  8 would
  8 would need
          need to
               to question anything further.
                  question anything further.                             8
                                                                         8    A
                                                                              A    Yes, ma'am.
                                                                                   Yes, ma'am.
  99    Q
        Q    But wouldn't
             But wouldn't you
                          you want
                              want to
                                   to say
                                      say in words or
                                          in words or                    99    Q
                                                                               Q   Thanks.
                                                                                   Thanks.
 10 substance,
 10 substance, "Hey, you know,
               "Hey, you       Mr. Biss,
                         know, Mr. Biss, II know that this
                                            know that this              10
                                                                        10             THE
                                                                                       THE VIDEOGRAPHER:
                                                                                           VIDEOGRAPHER: Okay. Going off
                                                                                                         Okay. Going off the
                                                                                                                         the
 11 court
 11       in the
    court in the Fourth
                 Fourth Circuit said that
                        Circuit said that your
                                          your behavior
                                               behavior                 11 record at
                                                                        11 record at 11:47.
                                                                                     11:47.
 12 was
 12 was --
        -- there
           there were
                 were allegations of improper
                      allegations of          behavior and
                                     improper behavior and              12
                                                                        12             (Off the
                                                                                       (Off the record.)
                                                                                                record.)
 13 that
 13 that you
         you should
             should have been chastised."
                    have been chastised." They
                                          They                          13
                                                                        13             THE
                                                                                       THE VIDEOGRAPHER: Back on
                                                                                           VIDEOGRAPHER: Back on the
                                                                                                                 the record
                                                                                                                     record
 14 specifically
 14              say "We
    specifically say     agree with
                     "We agree with the
                                    the district
                                        district court's
                                                 court's                14 at 11:49.
                                                                        14 at 11:49.
 15 observation
 15 observation and
                and endorse the court's
                    endorse the court's reprimands
                                        reprimands                      15
                                                                        15             MS. BOLGER:
                                                                                       MS. BOLGER: Mr.
                                                                                                   Mr. Binnall,
                                                                                                       Binnall, II have
                                                                                                                   have no
                                                                                                                        no
 16 concerning
 16 concerning inappropriate ad hominem
               inappropriate ad hominem attacks."
                                        attacks." Right?
                                                  Right?                16
                                                                        16 further questions this
                                                                           further questions this morning
                                                                                                  morning and
                                                                                                          and II thank
                                                                                                                 thank you
                                                                                                                       you for
                                                                                                                           for
 17 So
 17    that's not
    So that's not dicta.
                  dicta.                                                17 your time.
                                                                        17 your time.
 18
 18     "We
        "We agree with the
            agree with the court's
                           court's observation
                                   observation and
                                               and                      18
                                                                        18             THE WITNESS: Thank
                                                                                       THE WITNESS:       you, ma'am.
                                                                                                    Thank you, ma'am.
 19 endorse
 19         the court's
    endorse the court's reprimands
                        reprimands concerning
                                   concerning                           19
                                                                        19             MR. BISS:
                                                                                       MR. BISS: No
                                                                                                 No questions.
                                                                                                    questions. He'll
                                                                                                               He'll read.
                                                                                                                     read.
 20 inappropriate
 20               ad hominem
    inappropriate ad hominem attacks."
                             attacks." Wouldn't
                                       Wouldn't you
                                                you want
                                                    want                20
                                                                        20             THE
                                                                                       THE VIDEOGRAPHER:
                                                                                           VIDEOGRAPHER: Okay. If that
                                                                                                         Okay. If that is
                                                                                                                       is
 21 to
 21 to say,
       say, "Hey,
            "Hey, Steve,
                  Steve, II know you got
                            know you got in
                                         in trouble
                                            trouble for
                                                    for                 21 everything
                                                                        21            -- I'm
                                                                           everything -- I'm sorry. Go ahead,
                                                                                             sorry. Go ahead, Counsel.
                                                                                                              Counsel.
 22 this
 22 this once before, have
         once before, have you
                           you made
                               made any
                                    any inappropriate
                                        inappropriate ad
                                                      ad                22
                                                                        22             MS. BOLGER:
                                                                                       MS. BOLGER: II said that was
                                                                                                      said that was it.
                                                                                                                    it. II was
                                                                                                                           was
                                                              Page
                                                              Page 91
                                                                   91                                                               Page
                                                                                                                                    Page 93
                                                                                                                                         93
  11 hominem
     hominem attacks
             attacks here," before opining
                     here," before opining that
                                           that you
                                                you thought
                                                    thought              11 just
                                                                            just going  to say,
                                                                                 going to       thank you,
                                                                                           say, thank  you, again,
                                                                                                            again, Mr.
                                                                                                                    Mr. Binnall.
                                                                                                                         Binnall.
  22 his
     his fees were reasonable?
         fees were reasonable?                                           2
                                                                         2             THE WITNESS:
                                                                                       THE   WITNESS: Thank        you very
                                                                                                           Thank you    very much.
                                                                                                                             much.
  33    A
        A    So first of
             So first of all,
                         all, it would still
                              it would still probably
                                             probably                    33 Have
                                                                            Have aa wonderful
                                                                                    wonderful day.
                                                                                                 day.
  44 take
     take issue that it's
          issue that      dicta because
                     it's dicta because endorsing
                                        endorsing aa                     44            THE VIDEOGRAPHER:
                                                                                       THE   VIDEOGRAPHER: Okay.    Okay. That
                                                                                                                            That is
                                                                                                                                  is
  55 reprimand
     reprimand is
               is not
                  not something
                      something that's
                                that's necessary
                                       necessary to
                                                 to the
                                                    the                  55 everything.
                                                                            everything. We     are going
                                                                                          We are   going off
                                                                                                          off the
                                                                                                              the record
                                                                                                                  record on
                                                                                                                          on June  26,
                                                                                                                             June 26,
  66 court's ultimate holding.
     court's ultimate holding. And
                               And so, that's why
                                   so, that's why II think
                                                     think               6 2023,
                                                                         6  2023, at
                                                                                   at 11:49  a.m. Eastern
                                                                                      11:49 a.m.  Eastern time
                                                                                                           time zone.
                                                                                                                 zone.
  7 that
  7 that it's -- it
         it's -- it is dicta.
                    is dicta.                                            7
                                                                         7             (Signature reserved.)
                                                                                       (Signature  reserved.)
  8
  8     Nevertheless, like
        Nevertheless, like II said, this is
                              said, this is --
                                            -- this
                                               this was
                                                    was                  8
                                                                         8             (Whereupon, at
                                                                                       (Whereupon,    at 11:49  a.m., the
                                                                                                         11:49 a.m.,  the
  99 not
     not an
         an art
            art in
                in either character support
                   either character support or
                                            or character
                                               character                 99            proceeding was
                                                                                       proceeding   was concluded.)
                                                                                                         concluded.)
 10 assassination.
 10 assassination. It's
                   It's looking
                        looking at the reasonableness
                                at the reasonableness of
                                                      of                10
                                                                        10
 11 attorneys'
 11 attorneys' fees in this
               fees in this case.
                            case. And
                                  And whether
                                      whether or
                                              or not
                                                 not                    11
                                                                        11
 12 there
 12 there were
          were phrasing used in
               phrasing used in another
                                another case that aa court
                                        case that    court              12
                                                                        12
 13 had
 13 had disagreed with is
        disagreed with    not helpful
                       is not helpful for me as
                                      for me as an
                                                an expert
                                                   expert               13
                                                                        13
 14 in
 14 in opining whether there
       opining whether there was
                             was reasonableness of fees
                                 reasonableness of      in
                                                   fees in              14
                                                                        14
 15 this
 15 this case.
         case.                                                          15
                                                                        15
 16
 16              MS. BOLGER:
                 MS. BOLGER: Okay.
                             Okay. Just
                                   Just go to the
                                        go to the next
                                                  next                  16
                                                                        16
 17 page
 17 page of
         of this
            this one,
                 one, Alexa.
                      Alexa.                                            17
                                                                        17
 18 BY
 18 BY MS.
       MS. BOLGER:
           BOLGER:                                                      18
                                                                        18
 19
 19     Q
        Q    You'll see
             You'll     that the
                    see that the very top it
                                 very top it says
                                             says "We
                                                  "We                   19
                                                                        19
 20 leave
 20       it to
    leave it to the
                the district
                    district court whether it
                             court whether    will
                                           it will                      20
                                                                        20
 21 ultimately
 21 ultimately join
               join the
                    the chorus
                        chorus in sanctioning attorney
                               in sanctioning attorney                  21
                                                                        21
 22 Biss."
 22 Biss." Do
           Do you
              you see that?
                  see that?                                             22
                                                                        22

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                                                                                                                24 (Pages 90
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  11        CERTIFICATE OF
            CERTIFICATE OF DEPOSITION
                           DEPOSITION OFFICER
                                      OFFICER                            11 Flynn,
                                                                            Flynn, John P. "Jack"
                                                                                   John P.        Et Al
                                                                                           "Jack" Et Al v. Cable News
                                                                                                        v. Cable News Network
                                                                                                                      Network Inc.
                                                                                                                              Inc.
  22       I, MATTHEW
           I, MATTHEW YANCEY, the officer
                      YANCEY, the officer before
                                          before whom
                                                 whom                    22                  Jesse Binnall
                                                                                             Jesse Binnall
  33 the
     the foregoing proceedings were
         foregoing proceedings were taken,
                                    taken, do
                                           do hereby
                                              hereby                     33   INSTRUCTIONS TO
                                                                              INSTRUCTIONS TO THE WITNESS
                                                                                              THE WITNESS
  44 certify that any
     certify that any witness(es)
                      witness(es) in
                                  in the
                                     the foregoing
                                         foregoing                       44     Please read
                                                                                Please read your
                                                                                            your deposition
                                                                                                 deposition over
                                                                                                            over
  55 proceedings,
     proceedings, prior
                  prior to
                        to testifying,
                           testifying, were
                                       were duly
                                            duly sworn;
                                                 sworn;                  55 carefully
                                                                            carefully and
                                                                                      and make
                                                                                          make any
                                                                                               any necessary
                                                                                                   necessary corrections.
                                                                                                             corrections.
  66 that
     that the
          the proceedings were recorded
              proceedings were          by me
                               recorded by me and
                                              and                        66 You
                                                                            You should
                                                                                should state the reason
                                                                                       state the reason in
                                                                                                        in the
                                                                                                           the
  7 thereafter
  7 thereafter reduced
               reduced to
                       to typewriting
                          typewriting by
                                      by aa qualified
                                            qualified
                                                                         7 appropriate
                                                                         7 appropriate space
                                                                                       space on
                                                                                             on the
                                                                                                the errata
                                                                                                    errata sheet for any
                                                                                                           sheet for any
  8 transcriptionist;
  8 transcriptionist; that
                      that said
                           said digital
                                digital audio
                                        audio recording
                                              recording of
                                                        of
                                                                         8 corrections
                                                                         8 corrections that
                                                                                       that are
                                                                                            are made.
                                                                                                made.
  99 said
     said proceedings are aa true
          proceedings are    true and
                                  and accurate
                                      accurate record
                                               record to
                                                      to the
                                                         the
                                                                         99     After doing
                                                                                After doing so,
                                                                                            so, please
                                                                                                please sign
                                                                                                       sign the
                                                                                                            the errata
                                                                                                                errata
 10 best
 10 best of my knowledge,
         of my knowledge, skills, and ability;
                          skills, and ability; that
                                               that II am
                                                       am
                                                                        10 sheet and
                                                                        10 sheet and date
                                                                                     date it.
                                                                                          it.
 11 neither
 11 neither counsel
            counsel for,
                    for, related
                         related to,
                                 to, nor
                                     nor employed by any
                                         employed by any
                                                                        11
                                                                        11      You are signing
                                                                                You are signing same subject to
                                                                                                same subject to the
                                                                                                                the
 12 of
 12 of the
       the parties to the
           parties to the action
                          action in which this
                                 in which this was
                                               was taken;
                                                   taken;
                                                                        12 changes you
                                                                        12 changes you have
                                                                                       have noted
                                                                                            noted on
                                                                                                  on the
                                                                                                     the errata
                                                                                                         errata sheet,
                                                                                                                sheet,
 13 and,
 13 and, further, that II am
         further, that    am not
                             not aa relative or employee
                                    relative or          of
                                                employee of
                                                                        13 which will
                                                                        13 which will be
                                                                                      be attached
                                                                                         attached to
                                                                                                  to your
                                                                                                     your deposition.
                                                                                                          deposition.
 14 any
 14 any counsel or attorney
        counsel or attorney employed
                            employed by the parties
                                     by the parties
                                                                        14
                                                                        14      It is
                                                                                It is imperative that you
                                                                                      imperative that you return the
                                                                                                          return the
 15 hereto,
 15 hereto, nor
            nor financially
                financially or otherwise interested
                            or otherwise interested in
                                                    in the
                                                       the
 16 outcome
    outcome of this act'
                    action.                                             15 original errata
                                                                        15 original errata sheet
                                                                                           sheet to
                                                                                                 to the
                                                                                                    the deposing
                                                                                                        deposing
 16         of this      —
                           <%29511,Signature%>                          16 attorney within
                                                                        16 attorney within thirty
                                                                                           thirty (30)
                                                                                                  (30) days
                                                                                                       days of
                                                                                                            of receipt
                                                                                                               receipt
 17
 17                             MATTHEW YANCEY
                                MATTHEW YANCEY                          17 of the
                                                                        17 of the deposition
                                                                                  deposition transcript
                                                                                             transcript by
                                                                                                        by you.
                                                                                                           you. If
                                                                                                                If you
                                                                                                                   you
 18
 18                    Notary Public
                       Notary Public in and for
                                     in and     the
                                            for the                     18 fail to
                                                                        18 fail to do
                                                                                   do so,
                                                                                      so, the
                                                                                          the deposition
                                                                                              deposition transcript
                                                                                                         transcript may
                                                                                                                    may
 19
 19                           State
                              State of New York
                                    of New York                         19 be deemed
                                                                        19 be deemed to
                                                                                     to be
                                                                                        be accurate
                                                                                           accurate and
                                                                                                    and may
                                                                                                        may be
                                                                                                            be used
                                                                                                               used in
                                                                                                                    in
 20
 20                                                                     20 court.
                                                                        20 court.
 21 [X]
 21 [X] Review
        Review of
               of the
                  the transcript
                      transcript was
                                 was requested.
                                     requested.                         21
                                                                        21
 22
 22                                                                     22 5974792
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  11          CERTIFICATE OF
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                             TRANSCRIBER                                 11 Flynn,
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                                                                                                        v. Cable News Network
                                                                                                                      Network Inc.
                                                                                                                              Inc.
  22       I, BRITTANY-TIANA
           I, BRITTANY-TIANA AMOROSO,
                             AMOROSO, do
                                      do hereby
                                         hereby certify
                                                certify 22                                   Jesse Binnall
                                                                                             Jesse Binnall
  33 that
     that this
          this transcript
               transcript was
                          was prepared from the
                              prepared from the digital
                                                digital                  33         ERRATA
                                                                                    ERRATA
  44 audio
     audio recording
           recording of the foregoing
                     of the foregoing proceeding, that said
                                      proceeding, that said              44          -----
  55 transcript
     transcript is
                is aa true
                      true and
                           and accurate
                               accurate record
                                        record of
                                               of the
                                                  the                    55 PAGE
                                                                            PAGE LINE
                                                                                 LINE CHANGE
                                                                                      CHANGE
  66 proceedings
     proceedings to
                 to the
                    the best
                        best of
                             of my
                                my knowledge,
                                   knowledge, skills,
                                              skills, and
                                                      and                66 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
  7 ability;
  7 ability; that
             that II am
                     am neither
                        neither counsel
                                counsel for, related to,
                                        for, related to,                 7 Reason:
                                                                           Reason:_______________________________________
                                                                         7
  8 nor
  8 nor employed
        employed by any of
                 by any of the
                           the parties to the
                               parties to the action
                                              action in
                                                     in
                                                                         8 ___ ___ ________________
                                                                         8
  99 which
     which this
           this was
                was taken;
                    taken; and,
                           and, further, that II am
                                further, that    am not
                                                    not aa
                                                                         99 Reason:
                                                                            Reason:_______________________________________
 10 relative or
 10 relative or employee
                employee of any counsel
                         of any counsel or attorney
                                        or attorney
                                                                        10
                                                                        10 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
 11
 11 employed by the
    employed by the parties
                    parties hereto,
                            hereto, nor
                                    nor financially
                                        financially or
                                                    or
                                                                        11 Reason:_______________________________________
                                                                        11 Reason:
 12 otherwise interested
 12 otherwise interested in
                         in the
                            the outcome
                                outcome of this action.
                                        of this action.
                                                                        12
                                                                        12 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
 13
 13
                                                                        13 Reason:_______________________________________
                                                                        13 Reason:
 14
 14
                                                                        14
                                                                        14 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                      <%29712,Signature%>
 15
 15                       BRITTANY-TIANA AMOROSO
                          BRITTANY-TIANA AMOROSO                        15 Reason:_______________________________________
                                                                        15 Reason:

 16
 16                                                                     16
                                                                        16 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

 17
 17                                                                     17 Reason:_______________________________________
                                                                        17 Reason:
 18
 18                                                                     18
                                                                        18 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
 19
 19                                                                     19 Reason:_______________________________________
                                                                        19 Reason:
 20
 20                                                                     20 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                        20
 21
 21                                                                     21
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 22                                                                     22 5974792
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     Flynn, John P. "Jack"
            John P.        Et Al
                    "Jack" Et Al v. Cable News
                                 v. Cable News Network
                                               Network Inc.
                                                       Inc.
  22           Jesse Binnall
               Jesse Binnall
  33      ACKNOWLEDGMENT OF
          ACKNOWLEDGMENT    DEPONENT
                         OF DEPONENT
  44          I, ______________________,, do
              I,                          do
  55 hereby
     hereby certify that II have
            certify that    have read the foregoing
                                 read the foregoing
  66 pages
     pages and
           and that
               that the
                    the same
                        same is
                             is aa correct
                                   correct
  7 transcription
  7 transcription of
                  of the
                     the answers
                         answers given
                                 given by
                                       by
  8 me
  8 me to
       to the
          the questions
              questions therein
                        therein propounded,
                                propounded,
  99 except
     except for the corrections
            for the             or changes
                    corrections or changes in
                                           in form
                                              form
 10 or
 10 or substance,
       substance, if any, noted
                  if any, noted in
                                in the
                                   the attached
                                       attached
 11 Errata
 11 Errata Sheet.
           Sheet.
 12
 12
 13 __________
 13                     ________________________
 14 DATE
 14 DATE                SIGNATURE
                        SIGNATURE
 15
 15
 16
 16
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 20
 20
 21
 21
 22 5974792
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                                        Veritext Legal Solutions
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[1 -- 45]
      45]                                                                          Page
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            1
            1                    2
                                 2            212 2:17
                                              212   2:17                      44
 1 5:13
 1         6:4
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                       2.2  59:17             21st 2:14
                                              21st   2:14            44 17:5
                                                                         17:5
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                       20          67:18
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 10,000    67:6        200 21:9
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                                                                          17:18 29:15
 1001 31:14
 1001    31:14         20005 1:15
                       20005   1:15 3:7
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                   Federal Rules of
                   Federal Rules of Civil
                                    Civil Procedure
                                          Procedure

                                   Rule 30
                                   Rule 30




      (e) Review
      (e)        By the
          Review By the Witness;
                        Witness; Changes.
                                 Changes.

      (1) Review;
      (1)         Statement of
          Review; Statement    Changes. On
                            of Changes. On request by the
                                           request by the

      deponent or
      deponent or a
                  a party
                    party before the deposition
                          before the deposition is
                                                is

      completed, the
      completed,     deponent must
                 the deponent must be
                                   be allowed
                                      allowed 30 days
                                              30 days

      after being notified
      after being          by the
                  notified by the officer
                                  officer that
                                          that the
                                               the

      transcript or
      transcript or recording is available
                    recording is available in
                                           in which:
                                              which:

      (A) to
      (A)    review the
          to review the transcript
                        transcript or
                                   or recording;
                                      recording; and
                                                 and

      (B) if
      (B) if there
             there are changes in
                   are changes    form or
                               in form or substance,
                                          substance, to
                                                     to

      sign a
      sign   statement listing
           a statement listing the
                               the changes
                                   changes and
                                           and the
                                               the

      reasons for making
      reasons for making them.
                         them.

      (2) Changes
      (2) Changes Indicated
                  Indicated in the Officer's
                            in the Officer's Certificate.
                                             Certificate.

      The
      The officer must note
          officer must note in the certificate
                            in the certificate prescribed
                                               prescribed

      by Rule
      by Rule 30(f)(1)
              30(f) (1) whether
                        whether a
                                a review
                                  review was
                                         was requested
                                             requested

      and, if so,
      and, if     must attach
              so, must attach any changes the
                              any changes the deponent
                                              deponent

      makes during
      makes        the 30-day
            during the        period.
                       30-day period.




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      DISCLAIMER:      THE
                       THE FOREGOING
                           FOREGOING FEDERAL PROCEDURE RULES
                                     FEDERAL PROCEDURE RULES

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                      ARE CURRENT AS OF
                          CURRENT AS    APRIL 1,
                                     OF APRIL 1,

      2019.
      2019.    PLEASE REFER
               PLEASE REFER TO
                            TO THE APPLICABLE FEDERAL
                               THE APPLICABLE         RULES
                                              FEDERAL RULES

      OF
      OF CIVIL PROCEDURE FOR
         CIVIL PROCEDURE     UP-TO-DATE INFORMATION.
                         FOR UP-TO-DATE INFORMATION.
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                                                       under
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                                      and Accountability
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 Act  (HIPAA), as
                as amended
                   amended with
                            with respect   to protected
                                  respect to   protected
 health  information and
 health information        the Gramm-Leach-Bliley
                      and the  Gramm-Leach-Bliley Act,Act, asas
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                 respect to  Personally Identifiable
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                      Physical transcripts     and exhibits
                                                    exhibits
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                     strict facility   and personnel
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